Case 6:12-CV-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 1 of 137 Page|D 6

NOTICE OF REMOVAL
EXHIBIT A

Ce§e 6:12-CV-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 2 of 137 Page|D 7

 

 

 

 

AEEDAM|];C_L&EB¥|_QE
State of Florida County of Son\inolo Circuit Court
Case Nurnber: 12-CA~2139~08-L
Plaintiff. ||| |l“|\ ||| |||“|"|“| ll l ||" "
KAREN D- GEHL Psv2012004226
vs.
Defendanis:

BRAND TRUCKlNG, LTD. , a For Proflt Buelnoeo Cerpemtlon and WARREN
W. LYMAN, individually

Fen

W. Deug Martin

Deitec.kervlilson King Mci<enna & Ruiiier. L.LP.
719 Vassar Street

orlando. FL 32804

Raceived by ProSarvo USA on the 27th day of Aprii. 2012 et 228 pm to be served on Werron W. Lymnn, 14355 111\\ S\.
SE, Ayr, Cass County. ND 68007.

i. Jcn Hennings, being duty ewom. depose end say that on the Gth day of Mey, 2012at 8:33 pm, l:

SUBSTITUTE served by delivering a true copy ot the 20~Day Summons and Compialntwtth the date and hour el service
endorsed thereon by me, to: Elleen Lyrnan as Wlie et the address of: 14365 21th St. SE. Ayr. Cass County. ND 58007. the
within named person's usual place of Abodo, who resides therein. who is fifteen (15) years of age or older and informed said
person of the contents therein. in compliance with state stetutos.

Descrlption of Person Served: Age: 64. Sex; F. Racelskin Coior. White. Helght: 5'2". Welght: 165. Hair: Brown,
Glasses: -

t am over the age el 18. have no interest in the above action. and am a Certifred Process Server. in good stendlng. |n the
judicial circuit in which the process was served.

julia db l\loriit(hiioh
O/OU-n+@% ms "+h KiilL. ‘

Subscribed and Swom to before me o e 16th day ot Jon hinge
= ~ \. known to me. #546

ProServo USA

601 North Magnelin Avonuo
Orlnndo, FL 32801

(401) 072-0707

 

      
   

DlANA M CARLSRUD

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fagg 62155
Suv and worn to before me on the Blh day of May. Jon onn| ge

Case 6:12-CV-501869_-GAP-DAB Document 1-1 Filed 12/14/12 Page 3 of 137 Page|D _8

.v AEEIDAM!]'_QE§_§BM|§§

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Btato of Fiorida County of Semlnoie Circuit Ccurr
Cese Numbor: 12~€~2139-084. nn

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KAREN D. GEHL

vs.

De|‘endants:

BRAN_D TRUCK|NG. LTD. . a Fer Profit Buelnoea Corporetton and WARREN
W. LYMAN, individually

 

For'

W. Ooug Martin

pelledtorwls_¢_>n King McKen'na 8 Rufiler. L.t..P.
719 Vt\esar'$treetl

Ortando, FL 32804

Recolved by ProSewe USA on the 27th day of Aprii. 2012 al 2.26 pm to be served on Brand Trucklng LTb do Bruce
Brond, se Ronietered Agent. 5817 19th Avo. N.. Fargo. Cess County. ND 58102

l. Jon Honnlngs, being duly sworn. depose and say that on the 1st day of Nlay. 2012 al 10:17 am, i:

served a LLc/Lp‘(:`|'€- by delivering a true copy el the 20.Day Summone end Completnt with the date _and hour ot
service endorsed thereon by me, to: Lult_e Brand as Shop Ma negor, authorized to accept service in absence of the
Roglotorod Agant at the address 01:5611 19th Avo. N., Fargo. Caes County. ND 58102on behalf of Brand 'l'ruclting LTD,
and informed said person of the contents therern. in comp|rance with state statutes

l am over the age of 18, have no interest in the above action. and am a Certfiied Process Server, in good standing. in the
|udtclal circuit in which the process was served

  

012 by the amant -- s personally know o me. Pr

    
   
      

ProSorvo USA

501 North Maguol|a Avenue
Orlendo, Fl.. 32801

[407) 872-0101

Our Job Senai Numbec PSV»2012004227

 

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Case 6:12-CV-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 4 of 137 Page|D 9

IN THE CIRCUI'I` COURT OF THE
ElGH'l`EENTH JUDICIAL CiRCUlT, IN AND FOR
SEMINOLE COUNTY, Fl.ORIDA
KAREN D. GEHL,
Plaintil`l`,
vs. CASE NO: l2CA2139-08L

BRAND TRUCKING, LTD.,
A For Profit Business Corporation, and
WARREN W. LYMAN, individuaiiy,

Dcfendants.
/

AFFlDAVIT OF BRUCE BRAND

BEFORE ME, the undersigned authority, personally appeared BRUCE BRAND,
who first being duly swom, dcposcs and says as follows:

l. My name is Bruce Brand. I am more than 18 years of age and have
personal knowledge of the matters set forth herein. i have been the Registered Agent for
service of process on Brand 'i`rucking, Ltd. under North Dakota Law since before May,
2012.

2. On May l, 2012, I was served with the attached papers as registered agent
for Brand 'l`rucking, Ltd. A true, correct, and complete copy of thc papers with which l
was served is attached hereto as Exhibit “A.”

3. Nonc of thc papers with which l was served contained any notation of the

time of service or identity of the process scrvcr.

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 5 of 137 Page|D 10

4. 'I'he document entitled “Complaint” served with the Summons consisted
of only three pages and contained only l count against Warren Lyman'and no claims

against Brand 'l`rucking, Ltd.

5. No additional papers have been served on Brand Trueking, l.,td. in this

matter.

FURTHER AFFIAN'I` SAYE'I'H NAUGH'I`

By’ n.

BRUCE BRAND
STATE OF NORTI~I DAKOTA )
' )
coUNTY or cASs )

I I'lEREBY CERTIFY that on this day, BEl"ORE ME, the undersigned authority,
an officer duly authorized in the State and in the County aforesaid to take
acknowledgements, personally appeared FWl/KU BVZLl/\Ol , this day, who
executed the foregoing instrument and acknowledged to and before me that he or she

executed the same for the purposes therein expressed. H
WITNESS my hand and seal in the County and State last aforesaid this l g 3

day of be (l/()/ m bar ,2012

Yi/w 2a diaz

(Stgnatur¢ ofNatary i'nhli¢, Slate of HorMa)
=WW`_..__`M_.`

 

 

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Mv Commlsston Explres Ocl 29 2013

Personally Known X _Q_R Produeed Idcntification___

 

 

 

 

Type of Identi|ication Produced:

 

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 6 of 137 Page|D 11

AFFIDAVIT OF BRUCE BRAND
EXHIBIT A

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 7 of 137 Page|D 12

lt\‘ 'l`lll'f Cll{(`.`lll'l` COURT ()l" 'l`lll". l§l(ill'l`l-§lf`.i\"l'll .llll)l(.`l.'\lJ
Cll{CUl'l` lN AND l"()R Sl-f\'lll\'()l.l€ C()lh\"l`\’, l"l,()l{ll)A

CASE N()

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l’laint ilT,
-"s.

l!l{:\Nl) 'l`RUCl\’lN(i, l.'I`l)., a l"or l’t'al`it
anin ess Cat'pt)t'ation, and
\\’,\R|ll"`.t\‘ W. L\"t\'l.‘\i ‘, intli\'itlm\ll_\',

l)et`cntlan ts.
/

Sl h\'ll\'l()NS
'|`lll`€ S'l`/\'l`l~l OF l'~`l .()Rtlf)A:
`l`o |£aeh Sherift`ot`t|te Stale:

\'t)l,l AR|.‘I l~ll£Rl~IBY (`.TOt\'ll\-‘l.»\i\'l)l£l) to serve this Stamnons and a copy ot`the (‘um/)/uin!.
lt’eqm'sl_/i)r.'t¢llm'.s'.\'lon.r. !)u¢.-l')'c)gulm'r’e.s' and lt’¢.'qm»r.vl m l’mdm'e in this action on l')el`entlant

Brand Trucktng L'I'D
c/o Regtstered Agent
BRUCE BRAND

5617 19TH AVE N
FARGO, ND 58102~6918

liach l)e|`endanl is hereby required to serve written defenses lo the Complaint on W. l)ong
t\'ltn'tin. lilorida liar Ntanher 002»'|248. the l’laintifl‘s attorney. whose address is 719 Vassar Strect,
()rl:tntlo, l"ltn'ida 328(|-| (4()7) 244-3000 within twenty (20) days after service of this Summons on
that l)efentlant. exclusive of the date of serviee. and to tile the original ot` the defenses with the
C.`lerk of this (,`otnt either before service on. l’laintitl‘s attomey or immediately therea|`tcr. |f a
l)efendant fails lo do so. a default will he entered against that |)el`endant for tlte reliefdemanded in
the C`otnplaint or l’etition.

ll" \’OU ¢\Rl€ A l’l€l(S()N \\"l'l`ll A l)l!~i.»\BlLl'l`Y Wl'l() Nl€l".l)S
.»\CC():\'I()|)ATI()N lN ORl)l‘fR 'l`() |’AR'l`lCll’A'l`l€ IN 'l'l‘llS l’R()Cl'Il€l)lNG. \"()U ARl'l
l'lt'\"l`l'l`l.l€l), A'l` i\'() C()S'l` 'l`() \"()U, `l`() 'l`l'il'l l’ll()\’l$l()i\' ()l" (.`I'lR'l`AlN ASS|S']`ANCI€.
l’l,l".ASl\`. (!()N'I`AC'I' (T()llR'l` Al)t\'llNlS'l`R/\'l`l()t\l:

JL!C;Qr

. y Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 8 of 137 Page|D 13

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l `.` a~`

C() UR'l` /\l)t\rllNlS'l`R/\'l`lON A'l` 'l`lll". Sl".t\'llN()l.l". ClVll. C()Ul{'l`l~lOUSErN_,_§M.LAKlL
,\Vl€i\'lll§. Slll'l`l€ 301, SANl"()R|), l"l,, 3277|-|292, (4(\7)(_§§:}227»¥\‘|’?|'1 W()RK|N(}
l)A\’S ()l\` \'()UR RECEll"l` Ol" ‘l`lllS§§)flfl(?l€~:”lF'\?f)ll ARI", lll",ARlN('i ()R VO|CE
lt\'ll’)\llll'll). (.`Al.l, l-8£!L255=87?~l'6i"`7l l.

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. f/’-")."' . .
I)/\l l;l) on tlns.'»_:§ -- day ot Aprtl. 20|2.

MAR¥ANNI;' iv'lOi`iE~`.li, Cl-l;'RK
(`LERK ()l" 'l`l'll~f C.`OUR`I`

( BY: [. ~`___.>C(.' `e=/t;.'.r., / ~' (_9°“>-\¢7.\_<>(__/

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((.`t)UR`l` SlZ./\l.)

Dl~ILLl€CKER Wll,SON KlNG Mel\'|'}Ni\'/\
Rlll"l"ll€ll & SO.S`, A Litnltcd Lia|)iiit_\' l’artnership
W. l)ottg Martin

l"lorida liar No. 0()24248

Rohert ll. Dellcckcr

l"loritla Bar No. 03 7958|

719 Vassar Strect

()rlando. l’lorida 32804

407/244-300()

Attorneys for l’|aittti|`f

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 9 of 137 Page|D 14

lN 'l`l'll{ C.`ll{(.`lll‘l' (.‘(.)UR'|` ()l"'t`| ll€ l€l(}ll'l`El",N'l`li .ll}l)l(`.`l)\l..
(.`lRCUl`l' lN AND l~`OR Sl€r\‘llN()l.l\`. ('.`()l lN'l`\', l"l.(.)l{ll)t\

(.`r\Sl!`, N().

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l’laitttiff,
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liit,\t\'l) `l`RUCl{lNG, l.'l`l)., a l"t)t' l’rtttit
lirtsiness Cat'paratioa, and
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l)et`endants.
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l’laittti|`f. |\'ARIZN l). til€lll.. sues l)e|'eadants. lil{r\Nl) 'l`llll(.?l(|t\'(.`, l.'l`l)., a liar

l’roftt liasiaess L`orporation, and \\'ARREN W. l,\'i\'lAN, individttal|y. ttad alleges:
l. 'l'ltis is an action for damages in excess of |~`it'teen 'l'housatrd ($ t 5.(|()(|.()(]} Dollars.
,`

-. .'\t all times relevant hereto. l)e|`endattt. \\’Al{l{lZN \\'. l,.\'.\l/\N, individtarlly,

(Itereina|`lcr referred to as “l.,\'l\'lt\§\'") was the operator of a 200-t international

cotnntereitil/transport track in .\`»t.'tninole ('ottnt_\'. l~`lot‘ida with a North l)al;ola State license plate
. . . . hereinafter referred to as tlte ‘°SU|!.||~`.(."I` 'l'i{r\(`.°'l‘()l{".
3. .t\t all times relevant hereto. l)efettdant |.Yr\'l/\N was itt the business o|‘ transporting

goods using the Sl,|lt.lli(."l' 'l`R/\(."l"()l{.

'i. /\t all times relevant herett). l)e|`emltatt, BRANH 'l`t`tUCl(|N(.`, l.'l`l). (het'einatier

referred to as “BR,\ND") was/is a l"or l‘rotit l)usiness Corporatioo engaged itt the business of
transporting goods throughout the Stnte of |"lorida with its principal place of business located at

5617 l‘)"" A\’etttte .\’. |~'argo. Notth l)akota SS|t)I’.. and whose registered agent is liruee l,'trantl.

’ .\ ~/.i

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 10 of 137 Page|D 15

5. At all times relevant ltcrcto, Defendant LYMAN was an employee. agent or

apparent agent of Defendant BRAND.

6. At all times relevant hereto. SUBJECT TRAC'|`OR was owned by Del'endant
BRAND.

7. At all times relevant heteto. SUB.IECT TRACTOR was leased by Defendant
BRAND.

8. At all times relevant hereto. Defcndant LYMAN had a duty to use reasonable care
in the operation of the SUB.|ECT TRACTOR.

9. At all times relevant hereto, Det`endant BRAND had a duty to use reasonable care
in the hiring and/or retention ot` hs driving personnci. including Defertdant LYMAN.

lO. At ali times relevant hereto. Defeodant BRAND had a duty to use reasonable care
in tire entrustment of the SUB]ECT TRACTOR to driving personnel, including Dei'endant
LYMAN.

‘r ~ 'l't~. "~ 'On‘or about Febmary 24, 2009, at approximately 7:16 am, Dei`cndant LYMAN was
operating tire SUBJECT TRACTOR in the westbound center lane of interstate 4 and SR 434,
Sernirroie County, Florlda. At that time and piacc, Dci`endant LYMAN was using the SUB.|ECT
TRACTOR with the express or implied consent oftite Defendant BRAND.

12. On or about February 24. 2009. at approximately 7:|6 arn. i’iaintit`l' KAREN D.

GEH|.. (hereinttlier referred to as “GEli L") was the driver of rt 1996 Chrysler Scbrlng (herei rather
referred to as the "SEBR|NG“) that was travelling westbound, in the outside lane of interstate 4 in

_ Seminole County. Ftorida. At that time and plaoe. Defendant LYMAN negligently operated the
SUBJECT TRACTOR so that the passengcr's side of the SUBJECT TiftACTOR collided with the

driver’s side of the SEBRING, causing the plaintiff GEHL to spin counter elocltwise across

7893

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 11 of 137 Page|D 16

interstate 4 and impact tlte guardrail (hereinalier referred to as the “SUBJECT ACClDENT").

l3. As a result of the aforementioned SUB.|ECT ACCIDENT, Plaintiff GEHL suffered
bodily injury and resulting pain end suifering. disability, disfigurement, mental anguish. loss of
capacity for the enjoyment of life, expense ol` ltospltailzatlon. medical and nursing care and b
treatment, loss of earnings, loss of ability to eartt money, and/or aggravation of a previously existing

condition. 'i'he losses are either permanent or continuing and Piaintiif will suffer the losses in the

future.
wm
CI¢AlM FQR E§§iL]§§N§E AQA!E§[ DEFF=NQANI L¢YMAN

\4. ’l`he allegations numbered l - 13 in the foregoing paragraphs are incorporated by
reference as if litily restated herein, and Plaintllf further statcs:

l5. On or about liebmary 24, 2009. Defendant LYMAN was operating the SUBJECT
TRACTOR. westbound, in the center lane of interstate 4 and SR 434 in Seminoie County, Florida
when he negligently operated the SUBJECT TRAC'l`OR so that the SUBJECT TRACTOR
collided with the SEBRINO, in which GEHL was the driver.

16. As a direct and proximate result of tlte aforesaid negligence ol' Del`endant LYMAN,
i’laintii!` GEHL. suffered bodily injury and resulting pain and suffering, disability, disiigurement.
mental anguish, loss of capacity for the enjoyment of lli`e, expense of hospitalization medical and
nursing care and treatment. loss of earnings loss of ability to eam money, and/or aggravation of a
previously existing condition. 'i`he losses are either permanent or continuing and Plaintiif will
suffer the losses in the htture.

WHEREFORE, Plaintiff GEHL sues Det’endant LYMAN. for damages, together with

costs. interest and such other and iirrther relief as this Court deems just and proper and demands a

trial byjury on ali issues so triable.
mr

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 12 of 137 Page|D 17

NOTICE OF REMOVAL
EXHIBIT B

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 13 of 137 Pa§@l 19{2

Westley Lockwood

 

From: Richard Anderson [richard.p.anderson@hotmai|.com]

Sent: Tuesday, December 11, 2012 2:12 PM

To: west|ey.lockwood@bromagen|aw.com

Subject: FW: GEHL, Karen D. v. Brand Trucking Ltd.. et a|. - 7895: Gehl vs Lyman et al
FYI

Richard P. Anderson

Anderson, Bottre||, Sanden & Thompson
4132 30th Avenue SW, Suite 100

P.O. Box 10247

Fargo, ND 58106-0247

(701) 235-3300 (Phone)

(701) 237-3154 (Fax)

E-mai|: richard.p.anderson@hotmai|.com

 

From: DMartin@dwkiaw.com

To: richard.p.anderson@hotmail.com

Date: Tue, 11 Dec 2012 13:17:18 -0500

Subject: RE: GEHL, Karen D. v. Brand Trucking Ltd., et a|. - 7895: Gehl vs Lyman et al

Not yet, Dick. Again, we have 2 out of 7 guys in month long trial and l am buried covering for both of them. |
will let you know when it is filed. Thanks.

m Doug Martin Attorney at Law

 

|DElJ.ECl<ER|WH_‘SON||<Il\iG|N|d<El\iNA|RUH:IER|&SOSi

| 719 Vassar Street Or|ando, FL 32804 l
| P: 407.244.3000 F: 407.244.3033 l
| www.dwk|aw.com |

From: Richard Anderson [mai|to:richard.p.anderson@hotmail.com]
Sent: Tu&sday, December 11, 2012 11:10 AM

To: Doug Martin

Subject: RE: GEHL, Karen D. v. Brand Trucking Ltd., et al. - 7895: Gehl vs Lyman et al

Anything done yet?

Richard P. Anderson

Anderson, Bottre|l, Sanden & Thompson
4132 30th Avenue SW, Suite 100

P.O. Box 10247

Fargo, ND 58106-0247

(701) 235-3300 (Phone)

(701) 237-3154 (Fax)

E-mai|: richard.p.anderson@hotmail.com

12/12/2012

ease 6:12-cv-01369-GAP-DAB Documem 1-1 Filed 12/14/12 Page 14 of 137 Pa§esez_af 2

 

From: DMartin@dwk|aw.com

To: richard.p.anderson@hotmail.com

CC: 58rac078@direcl:trans.com

Date: Fri, 7 Dec 2012 11:47:43 -0500

Subject: RE: GEHL, Karen D. v. Brand Trucking Ltd., et al. - 7895: Gehl vs Lyman et al

Give me til Monday. Thanks.

M/. Doug Martin Attorney at Law

 

|DE.|_EG<El?t|V\/II.SON|l<Il\lG|Md<E\iN/\|RUH:IEZ|&SOSI

| 719 Vassar Street Or|ando, FL 32804 |
| P: 407.244.3000 F: 407.244.3033 |
| www.dwk|aw.com |

 

From: Richard Anderson [mailto:richard.p.anderson@hotmai|.com]
Sent: Friday, December 07, 2012 11:44 AM

To: Doug Martin

Cc: 58rac078@directtrans.com

Subject: Gehl vs Lyman et al

Doug:

Have you yet filed the Motion to Dismiss Brand Trucking and , if so, could you kindly provide me with a copy. If
not yet filed, as promised, when will the filing be made?

Thanks.
Dick

Richard P. Anderson

Anderson, Bottre||, Sanden &Thompson
4132 30th Avenue SW, Suite 100

P.O. Box 10247

Fargo, ND 58106-0247

(701) 235-3300 (Phone)

(701) 237-3154 (Fax)

E-mai|: richard.p.anderson@hotmail.com

Message Security: Check Authenticig¢
Message Security: Check Authenticit_:y

12/12/2012

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 15 of 137 Page|D 20

From: DMggig@dwklaw.com

To: wes;|ey@bromagen|aw.com; richard,g.angerson@hotm§i[,com
Date: Fri, 3 Aug 2012 12:15:26 -0400

Subject: RE: GEHL, Karen D. v. Brand Trucking Ltd., et al. - 7895:

West|ey - | will set aside the default against Lyman after | get an Answer to the Amended Comp|aint
from Lyman and DTL. After l get the Answers, l will dismiss Brand Trucking from the lawsuit so the
default against Brand Trucking will be a moot point.

Best regards,
Doug

W. DOUg Martin Attorney at Law

 

|DELLEG<ER|WILSON|KINGlMd<Ei\iNAIRUFFIER|&SOS|

l 719 Vassar Street Or|ando, FL 32804 |
| P: 407.244.3000 F: 407.244.3033 |
l mdnmm.cami

 

From: DMartin@dwklaw.com

To: westley@brom§ggn!§\_y,cgm; richard.g.andgrson@_hotmgi|.gom
Date: Wed, 15 Aug 2012 10:44:10 -0400

Subject: RE: GEHL, Karen D. v. Brand Trucking Ltd., et al. - 7895:

Westley,

l will voluntarily set aside the default against Lyman if you will accept service of the Amended Comp|aint
on behalf of Lyman.

Bestregards,
Doug

W. DUUg Maf'f'l'f) Attorney at Law

 

IDEEGGR|MEON|NNG|WUMM|RUFFH|&SOSI

l 719 Vassar Street Orlando, FL 32804 l
l P: 407.244.3000 F: 407.244.3033 I

l www.dwg|aw.cg[g f

 

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 16 of 137 PagelD 21

To:ylestlel@lzl;om§genlmsem; ' 0 'l am

.SBMQZ&@QlLe§ttLans.st
Date: Thu, 2 Aug 2012 11:50:56 -0400
Subject: RE: GEHL, Karen D. v. Brand Trucking Ltd., et al. ~ 7895:

West|ey,

DTL isn’t a party to the current lawsuit so whether they object to the filing of an amended complaint is
moot. Once the amended complaint is deemed filed then there is no need for a second amended
complaint, but rather, a notice of voluntary dismissal.

lf Lyman does not object to the filing of the amended complaint and both DTL and Lyman file an Answer
to the Amended Comp|aint, then l will dismiss Brand Trucking from the lawsuit. At that point we
proceed forward with litigation against Lyman & DTL on liability and damages = once l get the answers
from Lyman & DTL l will set aside the default. l am not trying to play games.

Best rega rds,
Doug

W. DGUg Mal'l'/n Attorney at Law

|DEu£o<ER|\/l/ILSON|KING|Md<ENNA|RuFFlEz|&soS|

| 719 Vassar Street Orlando, FL 32804 |
| P: 407.244.3000 F: 407.244.3033 |
l Mwlslala.som l

 

From: Doug Martin [ ' '
Sent: Thursday, August 02, 2012 7:09 AM

T°= Richard AnderSOn; westlex@tzmmagenlmsom
Cc: 58 0 8 ’
Subject: RE: GEHL, Karen D. v. Brand Trucking Ltd., et al. - 7895:

Dick,

l think the next step is Defendant Warren Lyman needs to state that he does not have an objection to
my client's amended complaint that was previously filed, or alternative|y, if Lyman won’t agree, then we
have the matter set for hearing for November 14, 2012. lt is my understanding that West|ey Lockwood’s
client, Warren Lyman, has either not responded or has not given the green light to the filing of the
Amended Comp|aint. l candidly cannot think of a valid legal basis to oppose the filing of the Amended
Comp|aint unless it is for the sole purpose of delay. lf anyone is aware of a valid legal basis, please
enlighten me. l have been wrong before and lam sure it will happen again, but in my humble opinion
there is a 100% chance the judge grants leave to amend the complaint as there is not any prejudice to
Lyman, or any party for that matter. Especial|y in light of the fact that Lyman contends that he was not
properly served. Once l get an Answer to the Amended Comp|aint from Lyman and DTL, l will dismiss
Brand Trucking.

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 17 of 137 PagelD 22

l spoke to my client last night and she continues to live with the effects of this accident every single day.

Best regards,
Doug

W. DOUg Maft/I) Attorney at Law

|DELLEO<ER|WILSON|K[NG|Md<ENNA|RUFFIERI&SOS|

l 719 Vassar Street Orlando, FL 32804 |
| P: 407.244.3000 F: 407.244.3033 |

lww..dmlslm..com|

 

From: DMagin@dwk|aw.com

To: _r_ichard,g,ange§gn@hotmail.com
CC: o

nestl§x@bmmagenlam
Date: Wed, 19 Sep 2012 13:23:05 -0400
Subject: RE: GEHL, Karen D. v. Brand Trucking Ltd., et al. - 7895: Gehl vs Lyman et al: Amended
Comp|aint

Correct.

W. DUUg Martin Attorney at Law

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| 719 Vassar Street Or|ando, FL 32804 l
l P: 407.244.3000 F: 407.244.3033 |

lm.dlals|am;.om|

From: Richard Anderson |mailto:richard.p.anderson@hotmai|,ggml
$ent: Wednesday, September 19, 2012 1:17 PM

To: Doug Martin

Cc: we§t|ey@promagen|aw.com
Subject: GEHL, Karen D. v. Brand Trucking Ltd., et al. - 7895: Gehl vs Lyman et a|: Amended Comp|aint

Hi Doug:

I am advised by Direct Transport that they have been served with the Amended Comp|aint which has
since been forwarded to attorney Wes Lockwood for submission of an Answer. I note that Brand Trud<ing
was not or as of yet has not been served. I understand from our prior communications that you will be
seeking to dismiss Brand Trucking after you have received Answers from Direct Transport and Lyman and
would ask that you kindly confirm those intentions. Thank you.

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 18 of 137 PagelD 23

Dick

Richard P. Anderson

Anderson, Bottrell, Sanden & Thompson
4132 30th Avenue SW, Suite 100

P.O. Box 10247

Fargo, ND 58106-0247

(701) 235-3300 (Phone)

(701) 237-3154 (Fax)

E-mail: [j§bagd,p,anggrsgn@hotmail.com
Message Secul'itY! QDLKACMM

 

From: QMa.din@dwlslaw.com

To: richard.p.anderson@hotmail.com; west|ey@bromagen|aw.com
CC: i&@sgl$@di;egt;ans.g)m

Date: Thu, 2 Aug 2012 07:08:39 -0400

Subject: RE: GEHL, Karen D. v. Brand Trucking Ltd., et al. - 7895:

Dick,

l think the next step is Defendant Warren Lyman needs to state that he does not have an objection to
my client's amended complaint that was previously filed, or alternatively, if Lyman won’t agree, then we
have the matter set for hearing for November 14, 2012. lt is my understanding that West|ey Lockwood’s
client, Warren Lyman, has either not responded or has not given the green light to the filing of the
Amended Comp|aint. l candidly cannot think of a valid legal basis to oppose the filing of the Amended
Comp|aint unless it is for the sole purpose of delay. lf anyone is aware of a valid legal basis, please
enlighten me. l have been wrong before and | am sure it will happen again, but in my humble opinion
there is a 100% chance the judge grants leave to amend the complaint as there is not any prejudice to
Lyman, or any party for that matter. Especially in light of the fact that Lyman contends that he was not
properly served. Once l get an Answer to the Amended Comp|aint from Lyman and DTL, l will dismiss
Brand Trucking.

l spoke to my client last night and she continues to live with the effects of this accident every single day.

Best regards,
Doug

W. DOUg Maftl'fl Attorney at Law

|DELl_EO<ER|VVIl$O|\||KIl\lG|Md<El\lNA|RUFFIE?l&SOSI

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l P: 407.244.3000 F: 407.244.3033 l
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Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 19 of 137 PagelD 24

NOTICE OF REMOVAL
EXHIBIT C

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 20 of 137 PagelD 25

lN THE ClRCUlT COURT OF THE ElGHTEENTH JUDICIAL
CIRCUIT IN AND FOR SEMINOLE COUN'I`Y, FLORIDA

CASE NO. lZ-CA-2139-08
KAREN D. GEHL, 3
f -__.
P:aimirr, /]//Q_C/{/*/M /Dl‘§
_vs-
DIRECT TRANSPORT, LTD., a For Prol`il
Business Corporation; BRAND TRUCKINC.
LTD., a For Prolit Business Corpomlion;
and WARREN W. LYMAN, individually,

Defendanls.
l

AMEN|_)ED COMPLAINT

Plaintif`f`, KAREN D. GEHL, sues Defendants, DIREC'I` TRANSPORT, LTD., a For
Prof`lt Business Corporation, BRAND TRUCKING, LTD., a For Profit Busincss Corporation,
and WARREN W. LYMAN, individually, and alleges:

l. This is an action for damages in excess of` Fifteen Thousand (315,000.00) Dol]ars.

2. At all time relevant hcrelo, I’laintifi`, Karen D. Gehl, is and was a resident of
Seminole Counly, Florida.

3. At all times relevant hereto, Defendant, WARREN W. LYMAN, individually,
(hereinafler referred to as “LYMAN") was the operator of a 2004 International
commercialftransporl truck in Seminole Counly, Florida with a North Dakota State license plate
#45933, VIN IFUJBBAVX4LM93?53, hereinafter referred to as the “SUBJECT TRACTOR".

4. At all times relevant hcreio, Defendant LYMAN was in the business of transporting

goods using the SUBJECT TRACTOR.

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Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 21 of 137 PagelD 26

5. At all times relevant hereto, Defendant, DIRECT TRANSPORT, LTD.
(hereinalter referred to as “DlREC'l`") was/is a For Protit Business Corporation engaged in the
business of transporting goods throughout the State of Florida with its principal place of` business
located at 460 7"' Avenue NE, West Fargo, Nonh Dakota 58078, and whose registered agent is
raul oenan¢va. 1325 14"' sr, Fargo, ND 58103.

6. At all times relevant hereto, Defendant, BRAND TRUCKING, L'I`D. (hereinaiier
referred to as “BRAND") was/is a For Protit Business Corporation engaged in the business of
transporting goods throughout the State of Florida with its principal place of business located at
56l7 19m Avenue N, Fargo, Nonh Dakota 58102, and whose registered agent is Bruce Brand.

7. At all times relevant hereto, Defendant LYMAN was an employee, agent or
apparent agent of Defendant DlRECT.

8. At all times relevant hereto, Defenth LYMAN was an employee. agent or
apparent agent of Defendant BRAND.

9. At all times relevant hereto, SUBJECT TRACTOR was owned by Defendant
DiRECT.

10. At all times relevant hereto, SUBJECT TRACTOR was leased by Defendant
DlREC'l`.

ll. At all times relevant hereto, SUBJECT TRACTOR was owned by Defendant
BRAND.

12. At all times relevant herelo, SUBJECT 'I'RACTOR was leased by Defendant
BRAND.

13. At all times relevant hereto, Defendant LYMAN had a duty to use reasonable care
in the operation of the SU BJECT 'I`RAC'I`OR. l

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Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 22 of 137 PagelD 27

l4. At all times relevant hereto, Defendant BRAND had a duty to use reasonable care
in the hiring and/or retention of its driving personnel, including Defendant LYMAN.

15. At all times relevant hereto, Defendant BRAND had a duty to use reasonable care
in the entrustment of the SUBJECT TRACTOR to driving personnel, including Defendant
LYMAN.

16. At all times relevant hereto, Defendant DIRECT had a duty to use reasonable care
in the hiring and/or retention of its driving personnel, including Defendant LYMAN.

17. At all times relevant hereto, Defendant DIRECT had a duty to use reasonable care
in the entrustment of the SUBJECT TRACTOR to driving personnel, including Defendant
LYMAN.

18. On or about i~`ebruary 24, 2009, at approximately 7: 16 am, Defendant LYMAN was
operating the SUBJECT TRACTOR in the westbound center lane of interstate 4 and SR 434,
Serninole County, Florida. At that time and place, Defendant LYMAN was using the SUBJECT
TRACTOR with the express or implied consent of the Defendant DIRECT and/or Defendant
BRAND.

19. On or about February 24, 2009, at approximately 7:16 am, Plaintif`f KAREN D.
GEHL (hereinafter referred to as “GEHL”) was the driver of a 1996 Chrysler Sebring (hereinafier
referred to as the “SEBRING”) that was travelling westbound, in the outside lane of Interstale 4 in
Seminole County, Florida. At that time and place, Defendant LYMAN negligently operated the
SUBJECT TRAC'I`OR so that the passenger’s side of the SUBJECT TRACTOR collided with the
driver‘s side of the SEBRING, causing the Plaintif'f` GEHL to spin counter clockwise across

Interstate 4 and impact the guardrail (hereina|ter referred to as the “SUBJECT ACCIDENT").

7895

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 23 of 137 Page|D 28

20. As a result of the aforementioned SUBJECT ACCIDENT, Plaintiff GEHL suli`ered
bodily injury and resulting pain and suffering, disability, disfigurement, mental anguish, loss of
capacity for the enjoyment of life, expense of hospitalization, medical and nursing care and
treatman loss of earnings, loss of ability to earn money, and/or aggravation of a previously existing
condition. ‘I`he losses are either permanent or continuing and Plaintiff will suffer the losses in the

futttre.

COUNT l
CLAIM FOR E§GLIGENCE AGAlNST DEFENDANT LYMAN

21. The allegations numbered l - 20 in the foregoing paragraphs are incorporated by
reference as if fully restated herein, and Plaintiff timber states:

22. On or about February 24, 2009, Defendant LYMAN was operating the SUBJECT
TRACTOR, westbound, in the center lane of Interstate 4 and SR 434 in Seminole County, Florida
when he negligently operated the SUBJECT TRACTOR so that the SUBJECT TRACTOR
collided with the SBBRING, in which GEHL wm the driver.

23. As a direct and proximate result of the aforesaid negligence of Defendant LYMAN,
P\aintiff GEHL, suffered bodily injury and resulting pain and sufl`ering, disability, disfigurement,
mental anguish, loss of capacity for the enjoyment of life, expense of hospitalization, medical and
nursing care and treatment, loss of eamings, loss of ability to earn money, and/or aggravation of a
previously existing condition. The losses are either permanent or continuing and Plaintifl` will
suffer the losses in the future.

WHEREFORE, Plaintiff GEHL sues Defendant LYMAN, for damages, together with
costs, interest and such other and further relief as this Court deems just and proper and demands a

trial byjury on all issues so triable.

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Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 24 of 137 Page|D 29

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24, The allegations numbered l - 20 in the foregoing paragraphs are incorporated by
reference as if fully restated herein, and Plaintiii` further states:

25. At all times material hereto, Defendant DlRECT was in legal possession of the
SUBJECT TRACTOR and had control of the SUBJECT TRACTOR being operated by Defendant
LYMAN with the knowledge, permission and consent of Defendant DIRECT.

26. At all times material hereto, and more particularly while Defendant DlREC'l` gave
permission and consent for Defendant LYMAN to use the SUBJECT TRAC'I`OR, Defendant
LYMAN negligently and carelessly operated and controlled the SUBJECT TRACTOR causing it
to collide with the vehicle in which Plaintifi'GEl-IL was the driver.

27. At all times material hereto, Defendant DIRECT, having possession and control
over the SUBJECT TRAC‘TOR, is vicariously liable for Defendant LYMAN’s negligent operation
of the SUBJECT TRAC'I`OR.

28. As a direct and proximate result of the aforesaid vicarious negligence of Defendant
DIRECT, Plaintiff GEHL, suffered bodily injury and resulting pain and suffering, disability,
disligurement, mental anguish, loss of capacity for the enjoyment of life, expense of hospitalization,
medical and nursing care and treatrnent, loss of earnings, loss of ability to earn money, and/or
aggravation of a previously existing condition. The losses are either permanent or continuing and
Plaintiff will suffer the losses in the future.

WHEREFORE, Plaintifi` GEHL sues Defendant DIRECT for damages, together with costs,
interest and such other and further relief as this Court deems just and proper and demands a trial by

jury on all issues so triable.

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Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 25 of 137 Page|D 30

COQ§T Ill
CLAlM FOR VIQARIOUS LlABlLI:!:! OF DEFENDANT DIRECT
OWNERSHIP AND/OR LEASOR OF T OR

29. The allegations numbered l - 20 in the foregoing paragraphs are incorporated by
reference as if fully restated herein, and Plaintiff funher states:

30. At all times material hereto, Defendant DlREC'l` owned and/or leased the
SUBJECT TRACTOR.

31. At all times material hereto, and more particularly while Defendant DIREC'I` gave
permission and consent for Defendant LYMAN to use the SUBJECT TRAC'I`OR, Defendant
LYMAN negligently and carelessly operated and controlled the SUBJECT TRACTOR causing it
to collide with the vehicle in which Plaintiff GEHL was the driver.

32. At all times material hereto, Defendant DlRECT, having possession and control
over the SUBJECT TRACTOR, is vicariously liable for Defendant LYMAN’s negligent operation
of the SUBJECT TRACTOR.

33. As a direct and proximate result of the aforesaid vicarious negligence of Defendant
DIRECT. Plaintifi` GEHL, suffered bodily injury and resulting pain and suffering, disability,
disiigurement, mental anguish, loss of capacity for the enjoyment of life, expense of hospitalization
medical and nursing care and treatment, loss of earnings, loss of ability to earn money, and/or
aggravation of a previously existing condition 'l'he losses are either permanent or continuing and
Plaintifl` will suffer the losses in the future.

WHEREFORE, Plaintiff GEHL sues Defendant DlRECT for damages, together with costs,
interest and such other and further relief as this Court deems just and proper and demands a trial by

jury on all issues so triable.

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Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 26 of 137 Page|D 31

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CLA|M FOR GLlGENT HlRlNG TE lON/ENTRUS'I`MENT AS 'I'O
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34. The allegations numbered l - 20 in the foregoing paragraphs are incorporated by
reference as if fully restated herein, and Plaintiff further states:

35. d That Defendant DlRECI`, was at all times material to this cause of action engaged in
the operation of transporting goods.

36. That Defendant DIRECT, had a duty to use reasonable care in the hiring and/or
retention of its driving personnel of which Defendant LYMAN, was one.

37. That Defendant DIRE.CT, had a duty to use reasonable care in the entrustment of the
SUBJECT TRACTOR to its driving personnel of which Defendant LYMAN, was one.

38. That Defendant DIRECT, breached its duty of reasonable care in the hiring of its
driving personnel, including Defendant LYMAN, in that:

a. Defendant DIRECT, was undertaking to operate a business requiring
transporting goods and materials by Defendant DIRECT employees and vehicles, and as a
result, Defenth DIRECT was required to make an appropriate investigation/screening of
all potential driving personnel, including Defendant LYMAN, which was not done;

b. an appropriate investigation and/or screening by Defendant DlREC’l`, would
have revealed that Defendant LYMAN, had a poor driving record which reflected his
propensity for driving in a careless manner;

c. it was unreasonable for Defendant DIR.ECT, to hire Defendant LYMAN, in
light of the information that would have surfaced had a competent investigation/screening

been conducted.

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Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 27 of 137 Page|D 32

39. That Defendant DIRECT, breached its duty of reasonable care in the retention of
driving personnel, including Defendant LYMAN, by retaining Defendant LYMAN, alter becoming
aware of his careless driving. That Defendant DIRECT, knew or should have known of such
instances but took no steps to stop or prevent timber driving by Defendant LYMAN.

40. That Defendant DlRECT, breached its duty of care concerning the Plaintiff by not
using reasonable care to provide for the safety of people on public roads and/or by not properly
supervising its personnel. Said Defendant had a duty either to relieve Defendant LYMAN, of his
duties or to set out specific and clear guidelines governing his conduct. That Defendant DIRECT,
failed to do either or take other required or appropriate action.

41. That on or before the aforesaid time and place, Defendant DlREC'I`, negligently or
carelessly entrusted the SUBJECT TRACTOR to Defendant LYMAN; that Defendant DlRECT
knew or should have known that Defendant LYMAN:

a. was not a safe, lawful and prudent driver; and/or

b. had been involved in previous vehicular accidents; and/or

c. was known or reputed to be an unsafe driver and/or employee; and/or

d. was incompetent at the time of Defendant LYMAN’s application for
employment

42. That as a proximate cause of Defendant DlRECT's breach of its duty to use
reasonable care when: hiring and/or retaining Defendant LYMAN, and/or entrusting the SUBJECT
TRACTOR to Defendant LYMAN by Defendant DlRECT, Plaintiff GEHL was injured in the
SUBJECT ACCIDENT.

7893

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 28 of 137 Page|D 33

43. As a direct and proximate result of the aforesaid negligent hiring and/or retention
and/or entrustment of the SUBJECT TRACTOR to Defendant LYMAN by Defendant DIRECT, as
to Defendant DlRE,CT, Plaintiff GEHL, suffered bodily injury and resulting pain and sui’l`ering,
disability, disiigurement, mental anguish, loss of capacity for the enjoyment of life, expense of
hospitalization, medical and nursing care and treatman loss of earnings, loss of ability to earn
money, and/or aggravation of a previously existing condition. The losses are either permanent or
continuing and Plaintiff will suffer the losses in the future.

WHEREFORE, Plaintiff GEHL sues Defendant DIRECT for damages, together with costs,
interest and such other and further relief as this Court deems just and proper and demands a trial by
jury on all issues so triable

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cLArM sort vtcAmou§ LlABlr.r'rY 0F DEFENDANT BRAND

44. The allegations numbered l - 20 in the foregoing paragraphs are incorporated by
reference as if fully restated herein, and Plaintiff further states:

45. At all times material hereto, Defendant BRAND was in legal possession and
control of the SUBJECT TRACTOR being operated by Defendant LYMAN with the knowledge,
permission and consent of Defendant BRAND.

46. At all times material hereto, and more particularly while Defendant BRAND gave
permission and consent for Defendant LYMAN to use the SUBJECT TRAC'I`OR, Defendant
LYMAN negligently and carelessly operated and controlled the SUBJECT TRACTOR causing it
to collide with the vehicle in which PlaintiffGEHL was the driver.

47. At all times material hereto, Defendant BRAND, having possession and control
over the SUBJECT TRACTOR, is vicariously liable for Defendant LYMAN’s negligent operation

of the SUBJECT TR.ACTOR.
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Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 29 of 137 Page|D 34

48. As a direct and proximate result of the aforesaid vicarious negligence of Defendant
BRAND, Plaintiff GEHL, suffered bodily injury and resulting pain and suti`ering, disability,
distigurement, mental anguish, loss of capacity for the enjoyment of life, expense of hospitalization,
medical and nursing care and treatment, loss of earnings, loss of ability to earn money, and/or
aggravation of a previously existing condition. The losses are either permanent or continuing and
Plaintiff will suffer the losses in the future.

WHEREFORE, Plaintiff GEHL sues Defendant BRAND for damages, together with costs,

interest and such other and further relief as this Court deems just and proper and demands a trial by

jury on all issues so triable.
COUNT Vl
CLAIM FOR VlC RIOUS LlABlLlTY OF DEFENDANT B ND
WNERSHIP OF TRACTOR

49. The allegations numbered l - 20 in the foregoing paragraphs are incorporated by
reference as if fully restated herein, and PlaintitT further states:

50. At all times material hereto, Defendant BRAND owned and/or leased the
SUBJECT TRACTOR.

51. At all times material hereto, and more particularly while Defendant BRAND gave
permission and consent for Defendant LYMAN to use the SUBJECT TRACTOR, Defendant
LYMAN negligently and carelessly operated and controlled the SUBJECT TRACTOR causing it
to collide with the vehicle in which PlaintiffGEHL was the driver.

52. At all times material hereto, Defendant BRAND, having possession and control

over the SUBJECT TRACTOR, is vicariously liable for Defendant LYMAN’s negligent operation
of the SUBJECT TRACTOR.

7895

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 30 of 137 Page|D 35

53. As a direct and proximate result of the aforesaid vicarious negligence of Defendant
BRAND, Plaintiff GEHL, suffered bodily injury and resulting pain and suffering, disability,
disfigurement, mental anguish, loss of capacity for the enjoyment of life, expense of hospitalization,
medical and nursing care and treatment, loss of eamings, loss of ability to eam money, and/or
aggravation of a previously existing condition. The losses are either permanent or continuing and
Plaintiff will suffer the losses in the future.

Wl-IEREFORE, Plaintil'f GEHL sues Defendant BRAND for damages, together with costs,
interest and such other and further relief as this Court deems just and proper and demands a trial by
jury on all issues so triable.

w_vN_ulr
CLAIM FOR NEGLIGENT lilRING/RET lON NTRUSTMENT AS TO
DEFENDANT B ND

54. The allegations numbered l - 20 in the foregoing paragraphs are incorporated by
reference as if fully restated herein, and Plaintiff further states:

55. That Defendant BRAND, was at all times material to this cause of action engaged in
the operation of transporting goods.

56. That Defendant BRAND, had a duty to use reasonable care in the hiring and/or
retention of its driving personnel of which Defendant LYMAN, was one.

$7. That Defendant BRAND, had a duty to use reasonable care in the entrrrsuncnt of the
SUBJECT TRACTOR to its driving personnel of which Defendant LYMAN, was one.

58. That Defendant BRAND, breached its duty of reasonable care in the hiring of its
driving personnel, including Defendant LYMAN, in that:

a. Defendant BRAND, was undertaking to operate a business requiring

transporting goods and materials by Defendant BRAND employees and vehicles, and as a

7895

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 31 of 137 Page|D 36

result, Defendant BRAND was required to make an appropriate investigation/screening of

all potential driving personnel, including Defendant LYMAN, which was not done;

b. an appropriate investigation and/or screening by Defendant BRAND, would
have revealed that Defendant LYMAN, had a poor driving record which reflected his
propensity for driving in a careless manner;

c. it was unreasonable for Defendant BRAND, to hire Defendant LYMAN, in
light of the information that would have surfaced had a competent investigation/screening
been conducted.

59. That Defendant BRAND, breached its duty of reasonable care in the retention of
driving personnel, including Defendant LYMAN, by retaining Defendant LYMAN, alter becoming
aware of his careless driving That Defendant BRAND, knew or should have known of such
instances but took no steps to stop or prevent further driving by Defendant LYMAN.

60. That Defendant BRAND, breached its duty of care conceming the Plaintiff by not
using reasonable care to provide for the safety of people on public roads and/or by not properly
supervising its personnel. Said Defendant had a duty either to relieve Defendant LYMAN, of his
duties or to set out specific and clear guidelines governing his conduct. That Defendant BRAND,
failed to do either or take other required or appropriate action.

6l. That on or before the aforesaid time and place, Defendant BRAND, negligently or
carelessly entrusted the SUBJECT TRAC'I`OR to Defendant LYMAN; that Defendant BRAND
knew or should have known that Defendant LYMAN:

a. was not a safe, lawful and prudent driver; and/or

b. had been involved in previous vehicular accidents; and/or

c. was known or reputed to be an unsafe driver and/or employee; and/or

7895

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 32 of 137 Page|D 37

d. was incompetent at the time of Defendant LYMAN’$ application for
employment

62. 'litat as a proximate cause of Defendant BRAND’s breach of its duty to use
reasonable care when: hiring and/or retaining Defendant L¥MAN, and/or entrusting the SUBJECT
TRACTOR to Defendant LYMAN by Defendant BRAND, Plaintiff GEHL was injured in the
SUBJECT ACC|DENT.

63. As a direct and proximate result of the aforesaid negligent hiring and/or retention
and/or entrustment of the SUBJECT TRACTOR to Defendant I..YMAN by Defendant BRAND, as
to Defendant BRAND, Plaintifl` GEHL, suffered bodily injury and resulting pain and suffering,
disability, disliguremcnt, mental anguish, loss of capacity for the enjoyment of life, expense of
hospitalization, medical and nursing care and treatment, loss of camings, loss of ability to earn
money, and/or aggravation of a previously existing condition. The losses are either permanent or
continuing and Plaintiff will suffer the losses in the future.

WliEREFORE, Plaintil`f GEHL sues Defendant BRAND for damagcs, together with costs,
interest and such other and further relief as this Court deemsjust and proper and demands a trial by
jury on all issues so triablc.

DATED this merely ofruly, 2012.

DELLECKER WiLSON KING McKENNA
RUFFlER & SOS, LLP

BY: d § 2 g §¢>
W. Doug Martin

Florida Bar No. 0024248
Robcrt I‘I. Dellecker
Florida Bnr No. 0379581
719 Vassar Street
Orlando, Florida 32804
407/244-3000
Attomeys l`or l’laintiff
ms

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 33 of 137 Page|D 38

NOTICE OF REMOVAL
EXHIBIT D

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 34 of 137 Page|D 39

lN THE ClRCUI'l` COURT OF 'l`liE EIGH'I`EENTH JUl)lClAL
ClRCUlT lN AND FOR SEMINOLE COUNTY, FLOR|DA
ClVIL DlVlSION

KAREN D. GEHL,
Plnintiff,

-vs- CASE NO. 2012-CA-0002139, Civil Div. K

DlRECT TRANSPORT, LTD., a For Prolit
Busincss Corporation; BRAN|) TRUCKING,
LTD., n liar Profrt Busincss Corporntion;
and WARREN W. LYMAN, indi\'idunlly,
Defendants. `
/

PLMNT[FF’S RESPONSE 'l`() RE UEST FOR ADMlSSlON
Plaintiff, KAREN D. GEl'lL by and through thc undersigned attorneys, and. in Rcsponse to
the chuest for Admissions lilcd by Defendant, DIRECT TRANSPORT. LTD., dated October 9,

2012, states ns follows:

REQUEST l"OR ADMISSION NO. l:

Admit you arc seeking damages in excess of $75.000.00, exclusive of interests and costs.

RESPONSE: Admittcd that l)cfendnnts only offered 335,000.00 to settle this case and
l’laintiff believes it lms n value in excess of 575,000.00

l HEREBY CERTlFY that a true and correct copy of the foregoing has been
electronically filed with the Clcrl< ol` Court by using thc F|oritln Courts cFiling Portal system
& furnished via E-Mttil Scrvicc on thc int day oi`Novcmbcr. 20l2 to: Westlcy F. Lockwood,
Esq.. (cservice@bromngcnlaw.com) Bromagen & Rat|ret, 201 E. Kcnncdy Blvd., Ste. 500,
Tampa, FL 33602.

DELLECKER WlLSON KlNG
Mcl(ENNA RUFF|ER & SOS
A Limitcd Linl)ility Pnrtnership

%Z/'

W. Doug Martin. lilorida Bar No. 0024248
719 Vassar Street

Orlando, F|orida 32804

407/244~3000

dmnrtin@dwklaw.com

Attomey for Plaintifl`

BY:

 

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 35 of 137 Page|D 40

NOTICE OF REMOVAL
EXHIBIT E

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 36 of 137 Page|D 41

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CAS|‘I NO. ZIllZ~CA-(lllllll3‘), Civil l)iv. K

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nnrl WARRI'§N W. l.\’MAN, intli\’idunlly,
l)cfcndnnts.
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ANSWERS 'l`() lN'l`l‘il{l{()(iA'l`()RlES

'l`lrc undersigned ccrtilics that thc original r)l` l’lnintil'l`, Karen l). Gchl`s Vcri lied Answch to
|rttcrr'ogutor'ics propounded by l)cl`cntlrn\ts on Octol)cr 9. 20|2 have bccn served in accordance with

Rulc 1.34(). l"lorida Rulcs ol` Civil l’roccdurc, with copies to rrl| other prrrtics.

l lllil{lil}Y CliR'I`ll"Y that a true rrrrd correct copy ol`thc foregoing has been
electronically lilcd with the Clcrk of Court by using thc lilr)r'idn Courts cl"iling l’ortnl system
& furnished vin l€-Mull Scr'vlcc on thc _1_5_1h drry ol`Novcrnbcr, 2012 to: West|ey l~`. |.ockwoorl.
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W. l)oug Martin

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Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 37 of 137 Page|D 42

lNTlFF'S VER] Fl ERS T l (OCATOR|ES
INTERROGATORY NO. l:

List your full name and any other name by which you have ever been known, your date of
birth, social security number, drivcr’s license number, occupation, all addresses where you have
lived for the past ten (10) years and the dates you lived at each address, and i f you arc or have ever
been mam'cd, the names of each spousc, the date and place ol" each marriage, and list any children
born of each marriage

RESPONSE:

Karen D. Gehl aka Karen Dec Bast Malden namc)
DOB:

SSN:

Driver’s license No.:
Occupation: Reeeptionist at WKMG Local 6

 

Livcd for thc past 21 ycars:

 
  

Spouse: Bob Gehl (since June 3, 1967)
Plnce of marriage: Glenvicw, lL
Cltildren: Tracl D. Gehl

Shcri Lynn Gehl

lNTERRQGA l OBY EO, 2a

List the names, business addresses, dates of employment and rates of pay regarding all
cmployers, including sclf`-cmployment, for whom you have worked in the past twenty (20) ycars.

RESPONSE: WKMG Local 6, 4466 John Young Parkway, Orlando, FL 32804
(\vorked here for over 20 years). Rate of pay: $l().20/hr.

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 38 of 13_7 Page|D 43

lNTERROGA'I`ORY HO, 3',

List the names, addresses. degrees obtained and dates ot` attendance for all high schools,
junior coileges, vocational schools or technical schools which you have ever attended.

RESPONSE; G|cnbrook South High School, 4000 W. Lake Avc., G|envicw, ll. 60026 (847~
729-2000).

INTERROGATORY NO. 4:

Dcscribe in detail how the accident described in the Complaint happened, including all
actions taken by you to prevent the aecident. Additionally, please state whether you were wearing
your seat belt at the time of the subject alleged accident.

RE§POESE l was driving down i-4 in the right hand lane on my way to work. There was
an iii-wheeler on the left of me in the center lane. l heard a grinding noise and l didn’t know
where the noise was coming from so l turned my head in the direction of the noise and that’s
when l saw my windows shatter. My car was being pushed to the right shoulder of the road
that is when my car started to turn sideways across the lane and the lS-whcelcr hit me in my
driver door the impact jolting me. There was nothing l could do to prevent the lncident.

INTERROGATORY NO. 5:

Desen'be in detail each actor omission on the part of any party or nonparty to this lawsuit
that you contend constituted negligence that was a contributing legal cause of the incident in
question.

RESPONSE: Please see Complaint filed in this action.

l E OG TO 6:

Describe each injury for which you arc claiming damages in this casc, specifying the part of
your body that was injured, the nature of the injury, and, as to any injuries you contend are
permanent, the effects on you that you claim are pcrmanent. P|case include every pre-existing
condition you believe was aggravated by the subject accident.

RESPQ§S ; Plcasc refer to the medical records provided in Responsc to Reques¢ to I’roduce
as to my injuries sustaincd. My neck, shoulder and hip were in pain after the incident. l did
not have any pre-existing conditions with regard to these areas. My doctors are best able to
describe my injuries and treatment.

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 39 of 137 Page|D 44

lNTERROGATORY NO. 7:

List each item of expense or damage, other than loss of income or earning capacity, that you
claim to have incurred as a result of the incident described in the Comp|aint, giving for each item
the date ineurred, the name and business address to whom each was paid or is owcd, and the goods
or services for which each was ineurred; please include in this answer an itemized statement of all
monetary losses sustained by you to date as a result of the alleged accident, and the method by
which you completed or otherwise determined each such amount.

RESPONSE: Please refer to the medical bills provided in Response 10 Request 10 Produce:

Dr. Michael Broom / Florida Spine Care Center
$37].00
4/23/2009

Central Florida Pathology Assoc.
$30.00
2/24/2009

Cyrus Diagnostie Imaging/ Roger Nash
5150.00
8/30/2011

Dr. P. Phillips Hospital
850,472.00
8/22/2011

Florida Emcrgcncy I’hysicians
$531.00
2I24l2009

Florida Hospital
$l,692.00
204/2009

Florida lnjury & Rehab Ccntcrs
5,057.00
3/2/2009

Florida Orthopaedic Clinie
$5,410.00
2/24/2009

South Seminole Primary Carel Dr. Thomas Kellcy
3817.00
2/2/2010

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 40 of 137 Page|D 45

Medical Ccnter Radiology Group
$64.00
8/16!2011, 8/22/2011

Ncuro iOM Scrv|ecs
82,425.00
8/22/201 l

Pathoiogy Specialists, PA
5120.63
8/22/20|1

Monica Perry, MS LMi"l`
5300.00
4/13!2009

Dr. Razaek l Spine & Brain Neurosurgcry
328,922.00
7/14/20|1

Stand Up MRI
$2,025.00
4/4/2009; 9/4/2010

Dr. Jose 'I`orres
512,997.77
6/10/2009

Wolverine Anesthesia
32,178.00
8/22/2011

INTERROGATORY NO. 8:

Do you contend that you have lost any income, compensation, benefits or earning capacity
in the past or fixture as a result of the subject aecident‘? li`so, state the nature of the income,
compensation, benefits or eaming capacity, the amount and the method that you used in computing
the amount, the period during which it was iost, and the employers name and address for whom you
were working at the time of the subject accident.

RE§PONS it Undetermincd at this time as to loss of future eamings. l have missed work as
a result ol' this accident and medical trcatment.

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 41 of 137 Page|D 46

lNTERROGAT O. 9:

Has anything been paid or is anything payable from any third party l`or the damages listed in
your answers to these lnten~ogatories? if so, state the amounts paid or payable, the name and
business address of the person or entity who paid or owes said amounts, and which of` those third
parties have or claim a right ol`subrogation. in so doing, please describe any and all policies of
insurance which you contend cover or may cover you for the allegations set l`orth in the Comp|aint,
detailing as to such policies: the name of the insurcr, number of the poliey, the available limits of
liability, the name and address of the custodian of the policy, the amount paid or payable, and which
insurance companies claim or have a right to subrogation. Please include in this answer all sourccs,
ineluding. but not limited to, compensation f`rom any governmental agency.

RESPONSE: Ves. Related insurance benefits have been paid by:

GElCO

P.O. Box 909|

Macon, GA 31208

Poliey No.:

A final determination of the amount of their claim has not been made as of this date

Aetna

e/o The Rawlings Company
PO Box 2000

LaGrange, KY 40031-2000
Fnc #_

A final determination of the amount of their claim has not been made as of this date

lNTL.`.!_I_ROGATO!§V NO. 10:

List the names and business addresses of each health care or mental health provider who has
treated or examined you. and each medical or mental health facility where you have received any
treatment or examination for the injuries for which you seek damages in this case; and state as to
each thc date of ueatment or examination and the injury or condition l`or which you were examined
or trcatcd.

RESPOESE: Pleasc refer to the medical records provided in Response to Requcst to Produce.
The Plaintil'f"s primary medical providers for the subject injuries are:

Dr. P. Phillips Hospital

9400 Turkey Lake Road
Orlando, FL 32819

Florida Hospital
701 East Altamonte Drive
Altamonte Springs, FL 3270|

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 42 of 137 Page|D 47

Florida injury & Rehabilitation Centers
1040 E. Osceola Pkwy.
Kissimmee, Fl.. 34744

Florida Orthopedic Clinie
1479 Gene Street
Winter Park, FL

Dr. Thomas Kelly

South Seminole Primary Carc
587 East S. R. 434, Ste. 1071
Longwood, Fl.. 32750

Mcdical Ccntcr Radiology Group
20 Wes Kaley Street
Orlando, FL 32806

Neuro IOM Services
1926 10"' Av¢. Nonh, s¢e. 105
Lnkewor¢h,r¢r. 33461

Monica Perry, M.S., LMFT

165 Sabal Palm Dr., Ste. 101
Longwood, FL 32779

Dr. Nizam Razack

Spine & Brain Neurosrugery Ccntcr
7460 Doe’s Grove Circle

Orlando, FL 32819

Stand Up MRl
2010 S. Orangc Ave., Ste. 14
Orlando, FL 32806

Dr. Josc Torres l
1405 S. Orangc Ave., 2'“' Floor
Orlando, FL 32806

Wolverine Anesthesia Consultants, M.D.
PO Box 4918
Orlando, FL 32802-4918

Florida Emergcncy Physlcians
PO Box 1070
Charlotte, NC 28210-|070

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 43 of 137 Page|D 48

Dr. Roger Nash

Cyrus l)iagnostle lmaging, lnc.
165 Waymont Court

Lake Mary, FL 32746

Ccntral Florida Pathology Assoc., PA
I‘O Box 140987
Orlando, FL 32814-0987

Dr. Michael Broom / Florida Spine Care Ccntcr
1405 S. Or'ange Avenue
Orlando, FL 32806

Pathology Specialists, PA
84 W. Jersey Street, Suite 1
Orlando, FL 32806

lNTERROGATOR`Y NO. 11:

List the names and business addresses oi' all other health care or mental health providers by
whom or at which you have been examined or treated within twenty (20) years preceding the date
you answer these interrogatories; and state as to each the dates of examination or treatment and the
condition or injury 1`or which you were examined or treated.

RESPONSE: Pleasc refer to answer No. 10 above. To the best of Plaintifi's recollection, the
Plaintitt's primary medical providers for the past 10 years are as follows:

Floridal~lospital Orlando
2501 N. Orange Avenue
Orlando, FL 32804
2/2412009

F|nrida Hospital Cancer lnsiitute
2501 N. Orange Avenue
Orlando, FL 32804

204/2009

Dr. Lawrcnce D. Kelley

Total Care Medical Assoe.

515 W. State Road 434 Ste. 308
Longwood, FL 32750
6/22/2007

7/20/2007

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 44 of 137 Page|D 49

Qucst Diagnostics, lnc.

1060 W. Statc Road 434, #100
Longwood, FL 32750
7/11/2007

LabCorp oi' America lioldings
6/28/2007

Dr. Amanprect S. Bhullar, M.D.
89 Wmt Copeland Drive
Or'lando, FL 32806

6/28!2007

Women’s Care Florida -- OB & GYN Spccialists (W inter Park Oil`ice)
1551 Clay Street
Winter Park, FL 32789

INTERRQGATORY NO. 12:

Please state whether you have ever been given an impairment or disability rating and, if so,
state the percentage and to what part of the body the rating teferred, whether the rating was for a
temporary or permanent injury, whether the rating was for an impairment or disability, and the
name and address of the doctor or doctors who gave the rating.

RESPONSE: 1 do not know. Please ask my doctors.

lNTERROGATORY NO. 132

 

Have you heard or do you know about any statement or remark made by or on behalf of any
party to this lawsuit. other than yourself`, concerning any issue in this lawsuit? li`so, state the name
and address of each person who made the statement or statements, the name and address oi` each
person who heard it, and the datc, time, place and substance of each statement.

RESPONSE: OBJECTION. The interrogatory requesting disclosure of statements
“conceming any of the issues in this lawsuit” is overly broad and burdensome Diseovcry is
underway and additional facts may become known.

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 45 of 137 Page|D 50

lgTERROGATORY LiO, 14:

State the name and address of every person known to you. your agents. or attomeys, who
has knowledge about, or possession, custody or control of any model, plat, map, drawing, motion
picture, video tape, or photograph pertaining to any fact or issue involved in this controversy; and
describe as to each, what such person has, the name and address of the person who took or prepared
it, and the date it was taken or prcparcd.

RESPONSE: OBJEC'I`|ON. Attomey client and work product privileges. Additionally, the
interrogatory requesting disclosure of individuals with knowledge, posswsion, custody, or
control of items “pertaining to any fact or issue involved in this controversy” is overly broad
and burdensomc. Discovery is underway and additional facts may become known.

INTERROGATORY NO. 15:
Have you made an agreement with anyone that would limit that party's liability to anyone

for any of the damages sued upon in this case? if so, state the terms ofthe agreement and the parties
to it.

RESPONSE: No.

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 46 of 137 Page|D 51

N G 'I' 16:

Please state if you have ever been a party, either plaintiff or defendant, in a lawsuit other
than the present matter and if so, state whether you were a plaintiff or a defendant, the nature of the
action, and the date and court in which such suit was ii|cd.

RESPONSE: No.

lNTERROGATORY NO. 17:

List any and all accidents in which you have been involved or injuries which you have
stmtained within twenty (20) years preceding the date you answer these interrogatories including

the datc, description and injuries suffered and the name and address of health care providers seen for
such accident or injury.

BE§P_QN§E: Objection, overly broad, vague and ambiguous. Without waiving said
objection:

1994 - my husband and 1 were stopped at a traliie light when we were renr-ended.

1998 - l was on the on~ramp from Lee Road to 1-4. 'l’he ear before me stoppcd, and l stopped
but the car behind me ran into the back of my car.

No treatment needed for either of these two aecldents.

lNTERROGA [ QRY EO, 18:

Do you wear glasses, contact lenses or hearing aids? lfso, who prescribed them; when were
they prescribed, when were your eyes or cars last cxantitted; and what is the name and address 01`
the examiner?

RESI’ONSE: 1 wear reading glasses. Purcliased at Sam’s Club.

lNTERROGATORY NO. 19:

Have you ever been convicted of a crimc, other than anyjuvcnile adjudication, which under
thc law which you were convicted was punishable by death or imprisonment in excess of one ycar,
or that involved dishonesty or a false statement regardless of the punishment? if so, state as to each
conviction, the specific crime, the date and the place of conviction.

RESPON§E: No.

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 47 of 137 Page|D 52

lNTERROGA'I`ORY NO. 202

 

Were you suffering from any physical iniinnity, disability, or sickness at the time ofthe
subject accident? li`so, state the nature of the ini`rrmity, disability or sickness and identify the
medical or other doctors with which you treated for that condition in the live years immediately
preceding the date of the subject accident and from the date of the subject accident to present
including the addresses and phone numbers of all doctors who treated you for each specific
infirmity, disability or sickness.

RESPONSE: No.
IN'I'§' BOGATORY NO. 21:

Did you consume any alcoholic beverages or take any drugs or medication within 24 hours
before the time of the incident described in the Complaint? If so, state the type and amount of
alcoholic beverages, drugs or medication which were consumed and when and where they were
consumed

 

RESPONSE: No.
IE ! ERROGATORY NO. 22:

List the names and addresses of ali persons who are believed or known by you. your agents
or attorneys to have any knowledge concerning any of the issues in this lawsuit; and specify the
subject matter about which the witness has knowledge.

RESPQNS§; 0BJEC'I`10N. The interrogatory requesting disclosure of individuals with
knowledge “conccming any of the issues in this lawsuit" ls overly broad and burdensome.
Without waiving this objection, as of this datc, plaintiff believes that the following individuals
may have relevant knowledge:

Plaintitl‘, Karen Gehl

Bob Gehl, Plaintiff’s husband

Plaintiff’s attorneys

Plaintil¥’s insurance carriers

Plaintifl"s medical providers

The named Defendant, Warren Lyman
The named Defendant, Brand Trucking
The named Defendant, Direct Transport
Defendants' attorneys

Defendants’ insurance carrier

Daniel Santiago, witness

Joel Ruiz, witness

Trooper J. R. Rodrigue!., Florida Highway Patrol, Badge #2258

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Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 48 of 137 Page|D 53

lNTERROGATORY NO. 23:

Do you intend to call any expert witnesses at the trial of this case? lf so, state as to each
such witness the name and business address of the witness, the witness‘ qualifications as an expert,
the subject matter upon which the witness is expected to testify, the substance of the facts and
opinions to which the witness is expected to testify, and a summary of the grounds for each opinion.

RESI’ONSE: Will be provided pursuant to the Court's Uniform Trial Order.

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 49 of 137 Page|D 54

dui

KAREN D. GEHL

S‘I`ATE OF FLOR]DA
COUNTY OF OR.ANGI:`.

BBFORB ME, the undersigned authority, personally appeared KARBN D. GE|'IL, who
being first duly swon\, deposes and has read the above and foregoing Answers to lnterrogatorics
and thc same arc true and correct to the best of his knowledge and bellth

SWORN 'l`O AND SUBSCR]BED before e this m day of Novetnber, 2012.

NOTAR\’ PUBLIC

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Nota'xy l’ublie (Pt'int or 'l`ype Name)

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Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 50 of 137 Page|D 55

NOTICE OF REMOVAL
EXHIBIT F

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 51 of 137 Page|D 56

lN THE CIRCUIT COURT OF THE ElGHTEENTH JUDICIAL
CIRCUlT lN AND FOR SEMINOLE COUNTY, FLORIDA

 

CASE NO.
KAREN D. GEHL,
Plaintifi',
_vs_
BRAND TRUCKING, L'I'D., a For Prol'lt
Business Corporation, and
WARREN W. LYMAN, individually
Defendants.
/
QM

Plaintifl`. KAREN D. GEHL, sues Del`endants, BRAND 'I`RUCKING, LTD., a FOr
Proftt [?»usiness Corporation. and WARREN W. LYMAN, individually, and allcgcs:

l . 'l`lris is an action for damages in excess of l"ifteen 'l`housand ($l5,000.00) Dollars.

?.. At all times relevant hercto, Dcl`endant, WARREN W. LYMAN, individually,
(hereinal`ter referred to ns “LVMAN") was the operator of a 2004 lntemational
commercial/transport truck in Seminole County. Florida with a North Dakota State license plate
#45933, VlN ll"UJBIBA\/X4LM93753. hereinafter referred to as the “SUBJECT TRACTOR“.

3. At all times relevant hereto. Defendant LYMAN was in the business ol` transporting
goods using the SUBJECT TRACTOR.

4. At all times relevant hereto. Defendant, BRAND TRUCK[NG, LTD. (hereinalier
referred to as “BRAND") was/is a For Proflt Business Corporation engaged in the business of
transporting goods throughout the State of Florida with its principal place of business located at
5617 lQT" Avenue N, Fargo, North anota 58102. and whose registered agent is Bruce Brand.

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Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 52 of 137 Page|D 57

5. At all times relevant hereto, Defendant LYMAN was an employee, agent or

apparent agent of Defendant BRAND.

6. At all times relevant hereto, SUBJECT 'I`RACTOR was owned by Defendant
BRAND.

7. At all times relevant hereto, SUBJECT 'l`RACTOR was leased by Defendant
BRAND.

8. At all times relevant hereto, Defendant I.YMAN had a duty to use reasonable care
in the operation of the SUBJECT TRACTOR.

9. At all times relevant hereto. Defendant BRAND had a duty to use reasonable care
in the hiring and/or retention of its driving personnel. including Defendant LYMAN.

10. At all times relevant hereto, Defendant BRAND had a duty to use reasonable care
in the entrustment of the SUBJECT 'l`RAC'I`OR to driving personnel, including Defendant
LYMAN.

ll. On or about February 24, 2009, at approximately 7: 16 am, Defendant LYMAN was
operating the SUBJECT TRACTOR in the westbound center lane of lnterstate 4 and Sl{ 434,
Seminole County, Florida. At that time and place, Defendant LYMAN was using the SUBJECT
'l`RAC'I`OR with the express or implied consent of the Defendant BRAND.

12. On or about liebruary 24. 2009. at approximately 7:16 am. Plaintiff KAREN D.
GEHL (hereinalter referred to as “GE|~IL”) was the driver ofa 1996 Chrysler Sebring (hereinatier
referred to as the “SEBRING”) that was travelling westbound, in the outside lane of lnterstate 4 in

_ Seminole County. Florida. At that time and plaee. Defendant LYMAN negligently operated the
SUBJECT TRACTOR so that the passenger’s side of the SUBJECT TRAC'I`OR collided with the
driver`s side of the SEBRING, causing the Plaintiff GEl-|L to spin counter clockwise across

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Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 53 of 137 Page|D 58

lnterstate 4 and impact the guardrail (hereinafter referred to as the “SUBJECT ACClDENT”).

13. As a result of the aforementioned SUBJECT ACCIDENT, Plaintifl` GEI~IL suffered
bodily injury and resulting pain and suffering disability, disfigurement, mental anguish, loss of
capacity for the enjoyment of life, expense of hospitalization, medical and nursing care and
treatment, loss of earnings, loss of ability to earn money, and/or aggravation of a previously existing
condition. The losses are either permanent or continuing and Plaintifl` will suffer the losses in the

l`uture.

COUNTI
CLAIM FOR NEGL|GENCE AGAINST DEFENDANT LYMAN

l4. 'l`he allegations numbered l - 13 in the foregoing paragraphs are incorporated by
reference as if fully restated herein, and Plaintiff further States:

lS. On or about l"ebruary 24, 2009, Defendant LYMAN was operating the SUBJECT
TRACTOR. westbound, in the center lane of lnterstate 4 and SR 434 in Seminole County, Florida
when he negligently operated the SUBJECT TRAC'I`OR so that the SUBJECT TRACTOR
collided with the SEBRING, in which GEHI. was the driven

16. As a direct and proximate result of the aforesaid negligence of Defendant LYMAN,
l’laintill` GEHL, suffered bodily injury and resulting pain and suffering disability, disfigurement,
mental anguish, loss of capacity for the enjoyment ul` life, expense of hospitalization, medical and
nursing care and treatment, loss of earnings, loss of ability to earn money, and/or aggravation of a
previously existing condition. The losses are either pemranent or continuing and Plaintif`f will
suffer the losses in the future

WHEREFORE, Plaintiff GEl~lL sues Defendant LYMAN. for damages_. together with
costs, interest and streit other and further relief as this Court deemsjust and proper and demands a

trial byjury on all issues so triable.
7395

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 54 of 137 Page|D 59

COUNT ll
CLAIM FOR VlCARlOUS LlABlLITY OF DEFENDANT BRAND

l7. The allegations numbered l - 13 in the foregoing paragraphs are incorporated by

reference as if fully restated herein, and Plaintiff further states:

18. At all times material lrereto, Defendant BRAND was in legal possession and
control of the SUBJECT TRACTOR being operated by Defendant LYMAN with the knowledge,
permission and consent of Defendant BRAND.

19. At all times material hereto. and more particularly while Defendant BRAND gave
pennission and consent for Defendant LVMAN to use the SUBJECT TRAC'I`OR, Defendant
LYMAN negligently and carelessly operated and controlled the SUBJECT TRACTOR causing it
to collide with the vehicle in which Plaintiff GEl lL was the driver.

20. At all times material hereto. Defendant BRAND. having possession and control
over the SUBJECT TRACTOR. is vicariously liable for Defendant LYMAN's negligent operation
of the SUBJECT TRACTOR.

2l. As a direct and proximate result of the aforesaid vicarious negligence of Defendant
BRAND, Plaintifl` GEHL, suffered bodily injury and resulting pain and sutfering, disability,
disfigurement. mental anguish, loss of capacity for the enjoyment ol`life, expense of hospitalization
medical and nursing care and treatment. loss of eamings, loss of ability to earn money, and/or

aggravation of a previously existing condition. The losses are either permanent or continuing and

Plaintilf will suffer the losses in the ftrture.
WHEREFORE, l’laintiff GEHL sues Defendant BRAND for damages, together with costs,

interest and such other and further relief as this Court deemsjust and proper and demands a trial by

jury on all issues so triable.

7895

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 55 of 137 Page|D 60

COUNT Ill
CLAlM FOR VlCARlOUS LIABILITY OF DEFENDANT BRAND
OWNERSHIP OF TRACTOR

22. The allegations numbered l - 13 in the foregoing paragraphs are incorporated by
reference as if fully restated lrerein. and Plaintili`further states:

23. At all times material hereto, Defendant BRAND was the registered owner of the
SUBJECT TRACTOR.

24. At all times material lrcrcto. and more particularly while Defendant BRAND gave
permission and consent for Defendant LYMAN to use the SUBJECT TRACI`OR, Defendant
LYMAN negligently and carelessly operated and controlled the SUBJECT TRACTOR causing it
to collide with the vehicle in which P|aintiff GEHL was the driver.

25. At all times material hereto, Defendant BRAND, having possession and control
over the SUBJECT TRACTOR. is vicariously liable for Defendant LYMAN’s negligent operation
of the SUBJECT TRACTOR.

26. As a direct and proximate result of the aforesaid vicarious negligence of Defendant
BRAND. Plaintiff GEHL, suffered bodily injury and resulting pain and suffering disability,
disl`rguremcnt, mental anguish, loss of capacity for the enjoyment of life, expense of hospitalization,
medical and nursing care and treatment. loss of earnings. loss of ability to earn money, and/or
aggravation of a previously existing condition. The losses are either permanent or continuing and
Plaintiff will suffer the losses in the futurc.

WHEREFORE, Plaintiff GEl'lL sues Defendant BRAND for damages, together with costs,

interest and such other and further relief as this Court deemsjust and proper and demands a trial by

jury on all issues so triable.

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Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 56 of 137 Page|D 61

COUNT lV
CLAIM FOR NEGLIGEN'I` HlRlNG/RETENTION/ENTRUSTMENT AS TO
DEFENDANT BRAND

 

27. 'l`he allegations numbered l - 13 in the foregoing paragraphs are incorporated by
reference as if fully restated herein, and Plaintiff further states:

28. That Defendant BRAND, was at all times material to this cause of action engaged in
the operation of transporting goods.

29. That Defendant BRAND, had a duty to use reasonable care in the hiring and/or
retention of its driving personnel ol` which Defendant LYMAN, was one.

30. That Defendant BRAND, had a duty to use reasonable care in the entrustment of the
SU B.l ECT 'l`RACTOR to its driving personnel ol` which Defendant LYMAN, was one.

31. That Defendant BRAND, breached its duty of reasonable care in the hiring of its
driving personnel, including Defendant LYMAN. in that:

a. Defendant BRAND, was undertaking to operate a business requiring
transporting goods and materials by Defendant BRAND employees and vehic|cs, and as a
result, Defendant BRAND was required to make an appropriate investigation/screening of
all potential driving personnel. including Defendant LYMAN, which was not donc;

b. an appropriate investigation and/or screening by Defendant BRAND, would
have revealed that Defendant LYMAN, had a poor driving record which reflected his
propensity for driving in a careless manner;

c. it was unreasonable for Defendant BRAND, to hire Defendant LYMAN, in

light of the infomiation that would have surfaced had a competent investigation/screening

been conducted

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Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 57 of 137 Page|D 62

32. That Defendant BRAND, breached its duty of reasonable care in the retention of
driving personnel, including Defendant LYMAN, by retaining Defendant LYMAN, after becoming
aware of his careless driving. That Defendant BRAND, knew or should have known of such
instances but took no steps to stop or prevent further driving by Defendant LYMAN.

33. That Defendant BRAND, breached its duty of care concerning the Plaintiff by not
using reasonable care to provide for the safety of people on public roads and/or by not properly
supervising its personnel. Said Defendant had a duty either to relieve Defendant LYMAN, of his
duties or to set out specific and clear guidelines governing his conduct. That Defendant BRAND,
failed to do either or take other required or appropriate action.

34. That on or before the aforesaid time and place, Defendant BRAND, negligently or
carelessly entrusted the SUBJECT TRACTOR to Defendant LYMAN; that Defendant BRAND

knew or should have known that Defendant LYMAN:

a. was not a safe. lawful and prudent driver; and/or

b. had been involved in previous vehicular aecidents; and/or

c. was known or reputed to bc an unsafe driver and/or employee; and/or

d. was incompetent at the time of Defendant LYMAN’s application for
employment

35. That as a proximate cause of Defendant RRAND’s breach of its duty to use
reasonable care when: hiring and/or retaining Defendant LYMAN, and/or entrusting the SUBJECT

TRACTOR to Defendant LYMAN by Defendant BRAND, l’|aintiff GEHL was injured in the

SUBJECT ACCIDENT.

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Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 58 of 137 Page|D 63

36. As a direct and proximate result of the aforesaid negligent hiring and/or retention
and/or entrustment of the SUBJECT TRACTOR to Defendant LYMAN by Defendant BRAND, as
to Defendant BRAND, Plaintiff GEHL, suffered bodily injury and resulting pain and suffering,
disability, disfigurement, mental anguish, loss of capacity for the enjoyment of life, expense of
hospitalization, medical and nursing care and treatment, loss of eamings. loss of ability to earn
money. and/or aggravation of a previously existing condition. The losses are either permanent or
continuing and Plaintiff will suffer the losses in the future.

WHEREFORE, Plaintiff GEI~IL sues Defendant BRAND for damages, together with costs,
interest and such other and further relief as this Court deemsjust and proper and demands a trial by
jury on all issues so triable.

DATED this _19_"' day QrAprir, 2012.

DELLECKER WILSON KING McKENNA
RUFF|ER & SOS, LLP

W. Doug Martin

Florida Bar No. 0024248
Robcrt ll. Dellecker
Florida Bar No. 03 7958\
719 Vassar Street
Orlando, Florida 32804
407/244-3000

Attomeys for Plaintif`f

 

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Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 59 of 137 Page|D 64

IN 'I`HE CIRCUIT COURT OF TIlE EIGHTEENTH JUDICIAL ClRCUlT IN AND FOR
SEMINOLE COUNTY, FLORIDA

CASE NO.

KAREN D. GEHL,
Plaintiff,
.vs.
BRAND TRUCKING, LTD., a For Profrt

Business Corporation, and
WARREN W. LYMAN, individually,

 

Defendants.
/
[LA!N ! !EE’§ §flRST SET OF REQUEST FOR

Al)MlSSlON I)IRECTED TO BRAND TRUCKING LTD.

Plaintiff, KAREN D. GEHL. by and through the undersigned attomcys, and pursuant to
Rule l.370, Florida Rulcs of Civil Proccdurc, request thc Defendant, BRAND TRUCKlNG LTD.,
to admit the truth of the matters set forth and numbered below within forty (45) days of thc date
these Request for Admission were served upon the Defenduut.

PRELL|M[NARY STATEME_K!_`

Your attention is directed to Rule 1.370, Florida Rules of Civil Proccdure, which provides
that any denial shall be specifically made or set forth in detail the reasons why you cannot
truthfully admit or deny the matter. Any denial shall fairly meet the substance of the requested
admission. You may not give lack of information or knowledge as a reason for failure to admit or
deny unless you state that you have made reasonable inquiry and that the infomtation known or
readily obtainable by you is insufficient to enable you to admit or deny the requested admission
DEFlNlTlON

As used in this set of chuest for Admission. the temt "the Defendant vehic|e" refers to a
2004 Freightliner bearing Vchielc License Number 45933, and Velricle identification Number
lFU.l BB/\VX4LM93 753.

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 60 of 137 Page|D 65

l. The Circuit Court of the Eighteenth Judicial Circuit, in and for Seminole County,

Florida, has properly asserted personal jurisdiction over the Defendant, BRAND TRUCKING
LTD.

2. At the time of the motor vehicle collision alleged in the Comp|aint, the Defendant,

BRAND TRUCKING LTD., was thc RECORD Tl'l`LE owner and beneficial owner of a 2004
Freightliner bearing Vehicle Liccnse Number 45933, and Vehicle ldentifrcation Number
lFUJBBAVX4l.l\/193753 (hereinafier referred to as "the Defendant vehicle").

3. At thc time of the motor vehicle collision alleged in the Comp|aint, DlREC'l`
'l`RANSPORT LTD dba DTL was the RECORD TlTLE owner and beneficial owner of a 2004
Freightliner bearing Vehicle Liccnse Number 45933, and Vehicle ldcntification Number
lFUJBBAVX4LM93753.

4. At the time of the motor vehicle collision alleged in thc Comp|aint, WARREN W.
LVMAN was the RECORD 'l`lTLE owner and beneficial owner of a 2004 Freightlincr bearing
Vehicle Liccnse Number 45933, and Vehicle ldcntifieation Number lFLlJBBAVX4LM93753.

5. At the time of the motor vehicle collision alleged in the Comp|aint, BRAND
'I`RUCKlNG L'l`D was the LESSOR of the 2004 Freightliner bearing Vehicle Liccnse Number
45933, and Vehicle identification Number lFUJBBAVX4LM93753.

6. At the time of the motor vehicle collision alleged in the Comp|aint, WARREN W.
LYMAN was the LESSOR of the 2004 Prcightliner bearing Vehicle License Number 45933, and
Vehicle identification Number lFUJBBAVX4LM93753.

7. At the time of the motor vehicle collision alleged in the Complaint, DlREC'I`
TRANSPOR'I` LTD dba DTL was the LESSOR of the 2004 Freightlincr bearing Vehicle Liccnse
Number 45933, and Vehicle ldentification Number lFUJBBAVX4LM93753.

8. At the time of the motor vehicle collision alleged in the Comp|aint, BRAND
TRUCKING l,TD was the LESSEE of the 2004 Frcight|incr bearing Vehicle Liccnse Number
45933, and Vehicle Identification Number lFUJBBAVX4LM93753.

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 61 of 137 Page|D 66

9. At the time of the motor vehicle collision alleged in the Complaint, WARREN W.
LYMAN was the LESSEE of the 2004 Freightliner bearing Vehicle Liccnse Number 45933, and
Vehicle identification Number lFUJBBAVX4Ll\/l93753.

l0. At thc time of the motor vehicle collision alleged in the Complaint, DiRECT
'I`RANSPORT LTD dba DTL was the LESSEE of the 2004 Freightliner bearing Vehicle Liccnse
Number 45933, and Vehicle identification Number lFUJBBAVX4LM93 753.

ll. At the time of the motor vehicle collision alleged in the Complaint, BRAND
'l`RUCKiNG LTD was the MOTOR CARRIER for the 2004 Freightliner bearing Vehicle Liccnse
Number 45933, and Vehicle identification Number lFUJBBAVX4LM93753.

12. At the time of the motor vehicle collision alleged in the Complaint, WARREN W.
LYMAN was the MO'I`OR CARRIER for the 2004 Freightliner bearing Vehicle Liccnse Number
45933, and Vehicle Identification Number lFUJBBAVX4LM93753.

13. At the time of the motor vehicle collision alleged in the Complaint, DlREC'l`
TRANSPORT LTD dba DTI. was the MO'I`OR CARRIER for the 2004 Freightliner bearing
Vehicle Liccnse Number 45933, and Vehicle identification Number lFUJBBAVX4LM93753.

l4. in the 24 hours prior to the motor vehicle accident alleged in the Comp|aint, the
Defendant, BRAND TRUCKING LTD., individually and/or by and through its agents, servants or
empioyees, inspected the Defendant vehicie.

15. ln the 24 hours prior to the motor vehicle accident alleged in the Complaint, the
Defendant. BRAND TRUCK[NG L'I`D., individually and/or by and through its agents, servants
and employees, perfomicd routine maintenance on the Defendant vehicle.

16. ln the 24 hours prior to the motor vehicle accident alleged in the Comp|aint. the
Defendant, WARREN W. LYMAN, individually and/or by and through its agents, servants or

employees, inspected the Defendant vehicle.

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 62 of 137 Page|D 67

l7. In the 24 hours prior to the motor vehicle accident alleged in the Complaint, the
Defendant, WARREN W. LYMAN, individually and/or by and through its agents, servants and
employees, performed routine maintenance on the Defendant vehicle.

18. ln the 24 hours prior to the motor vehicle accident alleged in the Complaint,
DIRECT TRANSPORT LTD dba DTL, individually and/or by and through its agents, servants or
empioyees, inspected the Defendant vehicle.

19. in the 24 hours prior to the motor vehicle accident alleged in the Complaint,
DIRECT TRANSPORT LTl) dba l)'l`L. individually and/or by and through its agents, servants and
cmployees, perfomted routine maintenance on the Defendant vehiclc.

20. At the time of the said motor vehicle collision alleged in the Complaint, there were
no mechanical defects in the Defendant vehicie.

21 . At the time of the said motor vehicle collision alleged in the Complaint, Defendant,
BRAND TRUCKING LTD. was in lawful possession of the Defendant vehicle.

22. At the time of the said motor vehicle collision alleged in the Complaint, Defendant,
WARREN W. LYMAN, was in lawful possession of the Defendant vehicle.

23. At the tittle of the said motor vehicle collision alleged in the Complaint, DlRECT
'i`RANSPOR'I` LTD dba DTL was in lawful possession of the Defendant vehiclc.

24. At the time of the said motor vehicle collision alleged in the Complaint, WARREN
W. LYMAN was operating the Defendant vehiclc.

25. At the time of the said motor vehicle collision alleged in the Complaint, WARREN
W.‘ LYMAN was operating thc Defendant vehicle with the consent of Defendant BRAND
TRUCKi`NG LTD.

26. At the time of the said motor vehicle collision alleged in the Complaint, WARREN
W. LYMAN was operating the Defendant vehicle with the consent of DlREC'I` TRANSPORT
LTD dba DTL.

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 63 of 137 Page|D 68

27. At approximately 7216 A.M. on February 24, 2009, Defendant WARREN W.
LYMAN was operating the “subject tractor” as referenced in the Complaint when said vehicle
struck the vehicle being operated by Plaintiff, KAREN GEHL, as alleged in the Complaint.

28. At the time of thc motor vehicle collision alleged in the Complaint, WARREN W.
LYMAN negligently operated the “subjcct tractor” as referenced in the Complaint, causing said
vehicle to strike the vehicle being operated by Plaintiff, KAREN GEi lL.

29. KAREN GEHL sustained permanent bodily injuries as a direct and proximate result
of the motor vehicle collision described in the Complaint.

30. At thc time of the motor vehicle collision alleged in the Complaint, thc Defendant,
WARREN W. LYMAN was under a duty to operate the Defendant vehicle in a reasonable manner
and with due care so as to avoid creating an unreasonable risk of harm to others including the
Plaintiff, KAREN GEHL,

3|. At the time of the motor vehicle collision alleged in the Complaint. Defendant.
WARREN W. LYMAN was under a duty to maintain a proper lookout in front of the Defendant
vehicle in order to avoid collisions of the type described in the Complaint.

32. At the time of the said motor vehicle collision alleged in the Comp|aint, the
Defendant. WARREN W. LYMAN. was under a duty to operate thc Defendant vehicle so as to
avoid motor vehicle collisions of the type described in the Complaint.

33. At thc time of the said motor vehicle collision alleged in the Complaint,
WARREN W. LYMAN was an employee of BRAND TRUCKING, LTD.

34. At the time of the said motor vehicle collision alleged in the Complaint,
WARI{EN W. LYMAN was an agent ot`Bl{AND 'l`RUCKiNG, LTD.

35. At the time of the said motor vehicle collision alleged in the Comp|aint,
WARREN W. LYMAN was an independent contractor of BRAND TRUCKING, LTD.

36. At the time of the said motor vehicle collision alleged in the Complaint,

WARREN W. LYMAN was an employee of DIRECT TRANSPORT LTD dba DTL,

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 64 of 137 Page|D 69

37. At the time of the said motor vehicle collision alleged in the Complaint,
WARREN W. LYMAN was an agent ofDlREC'I` TRANSPORT LTD dba DTL.
38. At the time of the said motor vehicle collision alleged in the Complaint,

WARREN W. LYMAN was an independent contractor of DIRECT TRANSPORT LTD dba
DTL,

r)ArEr): Aprit 19, 2012.
r)ELLr~:cKER ersoN KrNG

McKENNA RUFFIER & SOS
A Limited Linbility Partnership

BY: 6

W. Doug Martin

Florida Bar No. 0024248
719 Vassar Street
Oriando, Florida 32804
407/244-3000

Attomey for i’laintiff

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 65 of 137 Page|D 70

IN THE CIRCUIT COURT OF Tl~lE EIGHTEENTH JUDICIAL CiRCUlT lN AND FOR
SEMINOLE COUNTY, FLORIDA

CASE NO.

KAREN i). GEHL,
Plaintiff,
..v§.

BRAND TRUCKlNG, LTD., a For Prolit
Business Corporation, and
WARREN W. LYMAN, individually,

Defendants.
/

Pi.AlNTiFF’S FIRST SE'I` OF REQUEST FOR
ADMISS|ON DIREC'I`ED TO WARREN W. LYMAN

Piaintiff. KAREN l). GEHL. by and through the undersigned attomeys, and pursuant to
Rule l.370, Florida Rules of Civil Proeedure, request thc Defendant, WARREN W. LYMAN to
admit the truth of the matters set forth and numbered below within forty (45) days of the date these
Request for Admission were served upon the Defendant,

l’RELlMiNARY S'I`ATEMEN'I`

Your attention is directed to Rule l.370, Florida Rules of Civil Procedure, which provides
that any denial shall bc specifically made or set forth in detail the reasons why you cannot
truthfully admit or deny the matter. Any denial shall fairly meet the substance of the requested
admission. You may not give lack of information or knowledge as a reason for failure to admit or
deny unless you state that you have made reasonable inquiry and that the information known or
readily obtainable by you is insufficient to enable you to admit or deny the requested admission
DEFINIT\ON

As used in this set of Request for Admission, the temt "the Defendant vehicie" refers to a
2004 Freightliner bearing Vehicle Liccnse Number 45933, and Vehicle Identification Number

lFUJBBAVX4LM93753.

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 66 of 137 Page|D 71

l. 'f he Circuit Court of the Eighteenth Judicial Circuit, in and for Seminole County,
Florida, has properly asserted personal jurisdiction over the Defendant, WARREN W. LYMAN.

2. At the time of thc motor vehicle collision alleged in the Complaint, the Defendant,
BRAND TRUCKING LTD., was the RECORD TI'I`I.E owner and beneficial owner of a 2004
Freightliner bearing Vehicle Liccnse Number 45933, and Vehicle identification Number
lFUJBBAVX4LM93753 (hercinafier referred to as "the Defendant vehicle").

3. Al the time of` the motor vehicle collision alleged in the Complaint. i)iRECT
TRANSPORT LTD dba DTL was the RECORD 'i`iTLE owner and beneficial owner of a 2004
Freightliner bearing Vehicle Liccnse Number 45933, and Vehicle identification Number
lFUJBBAVX4Liv193753.

4. At the time of the motor vehicle collision alleged in the Complaint, WARRI£N W.
LYMAN was thc RECORD 'i`l'i`LE owner and beneficial owner of a 2004 Freightliner bearing
Vehicle Liccnse Number 45933, and Vehicle identification Number iFUJBBAVX4 LM93753.

5. At the time of the motor vehicle collision alleged in the Complaint, BRAND
TRUCKING LTD was thc LESSOR ol` the 2004 Freightliner bearing Vehicle Liccnse Number
45933, and Vehicle identification Number lFUJBBAVX4LM93753.

6. At the time of the motor vehicle collision alleged in the Complaint, WARREN W.
LYMAN was the LESSOR of the 2004 Freightliner hearing Vehicle i.icense Number 45933, and
Vehicle identification Number lFUJBBAVX4LM93753.

7. At the time of the motor vehicle collision alleged in thc Complaint, DlRECT
'i`RANSPORT LTD dba DTL was the LESSOR of the 2004 Freightliner bearing Vehicle License
Number 45933, and Vehicle identification Number lFUJBBAVX4LM93753.

8. At the time of the motor vehicle collision alleged in thc Complaint, BRAND
TRUCKING LTD was the LESSEE of the 2004 Freightliner bearing Vehicle Liccnse Number
45933, and Vehicle Identification Number lFU.|BBAVX4LM93753.

Case 6:12-ev-01869-GAP-DAB Doeument 1-1 Filed 12/14/12 Page 67 of 137 Page|D 72

9. At the time of the motor vehicle collision alleged in the Complaint, WARREN W.
LYMAN was the LESSEE of` the 2004 Freightliner bearing Vehicle Liccnse Number 45933, and
Vehicle ldentification Number lFUJBBAVX4LM93753.

10. At the time of the motor vehicle collision alleged in thc Complaint, DIREC'I`
TRANSPORT LTD dba DTL was the LESSEE of` the 2004 Freightliner bearing Vehicle License
Number 45933, and Vehicle ldcntification Number IFUJBBAVX4LM93753.

ll. At the time of the motor vehicle collision alleged in the Complaint, BRAND
TRUCKlNG LTD was the MOTOR CARRIER f`or the 2004 Freightliner bearing Vehicle Liccnse
Number 45933. and Vehicle Identification Number |FUJBBAVX4LM93753.

l2. At the time of` the motor vehicle collision alleged in thc Complaint, WARREN W.
LYMAN was the MO'I`OR CARRIER l`or the 2004 Freightliner bearing Vehicle Liccnse Number
45933. and Vehicle ldentification Number IFUJBBAVX4LM93753.

13. At the time of the motor vehicle collision alleged in the Complaint, DIRECT
TRANSPOR'I` LTD dba DTL was the MO'l`OR CARRIER f`or thc 2004 Freightliner bearing
Vehicle License Number 45933, and Vehicle ldentif`tcation Number lFUJBBAVX4LM93 753.

l4. In the 24 hours prior to the motor vehicle accident alleged in the Complaint, the
Def`endant. BRAND 'l`RUCKlNG LTD., individually and/or by and through its agents, servants or
cmployces. inspected the Defendant vehiclc.

15. ln the 24 hours prior to the motor vehicle accident alleged in the Complaint, the
Defendant. BRAND TRUCKING LTD., individually and/or by and through its agents, servants
and employees, performed routine maintenance on the Defendant vehic|e.

16. ln the 24 hours prior to the motor vehicle accident alleged in the Complaint, the
Defendant, WARREN W. LYMAN. individually and/or by and through its agents, servants or

cmployecs, inspected thc Defendant vchiclc.

Case 6:12-ev-01869-GAP-DAB Doeument 1-1 Filed 12/14/12 Page 68 of 137 Page|D 73

l7. ln the 24 hours prior to the motor vehicle accident alleged in the Complaint, the
Defendant, WARREN W. LYMAN, individually and/or by and through its agents, servants and
employees, petfomied routine maintenance on the Defendant vehiclc.

18. fn the 24 hours prior to the motor vehicle accident alleged in the Complaint,
DIRECT TRANSPORT LTD dba DTL. individually and/or by and through its agents. servants or

employees, inspected the Defendant vehicle.

l9. ln the 24 hours prior to the motor vehicle accident alleged in the Complaint,
employees, performed routine maintenance on the Defendant vehicle.

20. At the time of` the said motor vehicle collision alleged in the Complaint, there were
no mechanical defects in the Defendant vehicle.

2| . At the time of` thc said motor vehicle collision alleged in the Complaint, Defendant,
BRAND TRUCKING l.TD. was in lawful possession of the Defendant vehicle.

22. At the time of the said motor vehicle collision alleged in the Complaint, Defendant,
WARREN W. LYMAN. was in lawful possession of the Defendant vehicle.

23. At the time of the said motor vehicle collision alleged in thc Complaint, DIREC'I`
'l`RANSPORT LTD dba D'I`L was in lawful possession of the Defendant vcl‘ticle.

24. At the time of the said motor vehicle collision alleged in the Complaint, WARREN
W. LYMAN was operating the Defendant vehiclc.

25. At the time of the said motor vehicle collision alleged in the Complaint, WARRBN
W. LYMAN was operating the Defendant vehicle with thc consent of Defendant BRAND
TRUCKING LTD.

26. At the time of the said motor vehicle collision alleged in the Complaint, WARREN
W. LYMAN was operating tllc Defendant vehicle with the consent of DlRECT TRANSPORT
LTD dba DTL.

Case 6:12-ev-01869-GAP-DAB Doeument 1-1 Filed 12/14/12 Page 69 of 137 Page|D 74

27. At approximately 7:16 A.M. on February 24, 2009. Defendant WARREN W.
LYMAN was operating the “subject tractor” as referenced in the Complaint when said vehicle
struck the vehicle being operated by Plaintif’f`, KAREN GEHL, as alleged in the Complaint.

28. At the time of` the motor vehicle collision alleged in the Complaint, WARREN W.
LYMAN negligently operated the “subject tractor” as referenced in the Complaint, causing said
vehicle to strike the vehicle being operated by Plaintif`f, KAREN GEHL.

29. KAREN GEI'IL sustained permanent bodily injuries as a direct and proximate result
ofthe motor vehicle collision described in the Complaint.

30. At thc time of` the motor vehicle collision alleged in the Complaint, the Defendant,
WARREN W. LYMAN was under a duty to operate the Defendant vehicle in a reasonable manner
and with due care so as to avoid creating an unreasonable risk of harm to others including the
Plaintifi`. KAREN GEHL,

3l. At the time of` the motor vehicle collision alleged in the Complaint, Defendant,
WARREN W. LYMAN was under a duty to maintain a proper lookout in front of the Defendant
vehicle in order to avoid collisions of thc type described in the Complaint.

32. At the time of the said motor vehicle collision alleged in the Complaint, the
Defendant, WARREN W. LYMAN, was under a duty to operate the Defendant vehicle so as to
avoid motor vehicle collisions of the type described in the Complaint.

33. At the time of the said motor vehicle collision alleged in the Complaint,
WARREN W. LYMAN was an employee of BRAND TRUCKING, LTD.

34. At the time of the said motor vehicle collision alleged in the Complaint,
WARREN W. LYMAN was an agent of BRAND 'l`RUCKlNG, LTD.

35. At the time of` the said motor vehicle collision alleged in the Complaint,
WARREN W. LYMAN was an independent contractor of` BRAND TRUCKING, LTD.

36. At the time of` the said motor vehicle collision alleged in the Complaint,

WARREN W. LYMAN was an employee of DIRECT TRANSPORT LTD dba DTL.

Case 6:12-ev-01869-GAP-DAB Doeument 1-1 Filed 12/14/12 Page 70 of 137 Page|D 75

37. At the time of the said motor vehicle collision alleged in the Complaint,
WARREN W. LYMAN was an agent of DlRECT TRANSPORT LTD dba DTL.
38. At the time of the said motor vehicle collision alleged in the Complaint,

WARREN W. LYMAN was an independent contractor of` DIRECT 'l`RANSPOR'I` LTD dba
D'I`L.

DATED: April 19, 2012.

DELLECKER WlLSON KlNG
McKENNA RUFFIER & SOS
A Limited Lial)ility Partners|lip

%,._

W. Doug Martin

Florida Bar No. 0024248
719 Vassar Street
Orlando. Florida 32804
407/244-3000

Attomey for Plaintif`f`

BY:

 

Case 6:12-ev-01869-GAP-DAB Doeument 1-1 Filed 12/14/12 Page 71 of 137 Page|D 76

lN THE ClRCUlT COURT OF THE ElGllTEENTl-I JUDICIAL
CIRCUIT lN AND FOR SEM[NOLE COUNTY, FLORIDA

KAREN l). GEHL,

Plaintif`f,

-vs- CASE No.

BRAND TRUCKING, LTD., a For Prof'it
Business Corporation, and

WARREN W. LYMAN, individual|y,

Defendants.
/

PLA!NTIFF‘S REQUEST 'I`O PRODUCE
l’laintit`t`, KAREN D. Gl;'l~ll.. by and through the undersigned attomey, and in accordance
with Rule l.350, Florida Rules of`Civil Pmeedure. requests the Defendant, BRAND TRUCKING,
L'l`D, to produce to the P|aintif`l`. within forty-five (45) days of scrvicc. at thc offices of thc

undersigned attomey. 719 Vassar Street, Orlando, Florida, 32804, the following:
DEF|N\T\ONS

A. The term “tractor trailer driver" or “driver" as used herein means any person
employed. or contracted for or with, or by any of` the Defendants named in this
lawsuit. including persons known as co-drivers. independent contractors. owner
operatot's. or trip lessors and includes person provided to Defendant, as drivers by
other organizations who perfomt driving services for or on behalf of` Defendant,

B. The tcmt “co-driver“ as used herein means any pcrson(s) driving or accompanying
the driver in motor carrier equipment owned or operated by any of the Defendants.
and any person(s) working for or with driver in the capacity and/or position of` a co-
driver.

C. The term “person" as used herein means any natural person, corporation, fimt,
association_. partnership. joint venture, proprietorship. governmental body or any
other organization. tractor traileriness or legal entity, and all predecessors or
successors in intercst.

D. The temt “CFR” as used herein means the "Code of Federal Regulations". Title 49-
Transportation. U.S. Department of Transportation, Chapter 3. Federal Motot' Carrier
Saf`ety Administration, Subchapter B - Parts 382 through 397 titled the “Federal
Motor Carrier Sal`ety Regulations" which were in ef`f`ect on the date(s) of` the crash in

question, i.e. Fcbruag 24, 2009,

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 72 of 137 Page|D 77

E. The term “operational or trip related documents" as used herein means records
generated by the driver or co-driver ol` the tractor trailer involved in the crash on
Fcbruag' 24l 2009,

F. The term “maintenance files and records” includes, but is not limited to, all tractor
trailer daily vehicle inspection reports, annual inspections, work or repair orders,
equipment parts or accessory lists, accounting records, bills, or notes of repairs or
maintenance, maintenance files and records, and any other related documents.

G. The term “crash” or “incident” as used herein shall refer to the crash that occurred on
Fcbruag 24, 2009 in Seminole County, Florida. between the tractor trailer being
then and there operated by now Defendant WARREN W. LYMAN and the vehicle
being then and there operated by now Plaintil`t` KAREN GE|~IL and which such crash
is the subject of this lawsuit.

l~l. The term “Dei`endant” as used herein shall refer to and mean Defendant BRAND
TRUCK|NG LTD as named herein, and any oi` its of`fieers, agents, representatives or
employees responsible for the management. maintenance, operation or driving ol`
commercial motor vehicles. or the hiring. supervising. training. assigning or
dispatching of drivers, and any independent contractors hired by, or working for,
them unless otherwise specifically described herein or excluded l`rom this deiinition.

l. The tenn “TRACTOR 'l`RAlLER” as used herein shall generally refer to the
commercial motor vehicle being operated by WARREN W. LYMAN at the time and
place of the crash, and unless otherwise described herein, is meant to describe a
vehicle designed. constructed and or used for the transportation of passengers on a
highway in interstate commerce for compensation,

J. Unlcss otherwise specifically stated herein, each request for the production ol`
documents herein shall be for the time period beginning with February 25, 2006 and

through and including six (6) months after the date of` the crash, i.c., Februn[_g 24,
2009.

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 73 of 137 Page|D 78

   

RE UES'I`S FOR PRODUCTION OF DOCUMENTS

l. Please produce every policy or procedure manual provided at any time to
WARREN W. LYMAN by Defendant BRAND TRUCKING LTD.

2. Please produce all documents reflecting the policies or procedures regarding
safety, motor vehicle/tractor trailer safety, travel policy, sleep and rest rcquirements, vehicle

inspection, driver standards and hiring requirements that were in effect at the time of the
incident.

3. Please provide Defendant`s employee handbook that was in effect on Fcbrua[y
24, 2009,

4. Please produce a copy of the driver manual, company handbook, or their
equivalent issued to WARREN W. LYMAN.

5. Please produce a copy ot` the Defendant company safety rules, policies or
procedures or their equivalent issued by Defendant to WARREN W. LYMAN at any timc.

6. Please produce all documents, hooks. reports. manuals, policies and memoranda
setting forth defendant`s safety rules and regulations with respect to the passengers, loading,
securing the load or operation of tractor trailers, and fatigued driving.

7. Please produce any and all sign-in sheets, attendance records or documents which
indicate the dates on which any driving, job. loading, securing or safety training was provided to

WARREN W. LYMAN by Defendant.

8. Please produce all policies or procedures of Defendant relating to accident or
injury investigation or reporting that were in effect on the date of the crash.

9. Please produce all the accident register to include the motor vehicle collision with
Plaintiffand all accidents three (3) years prior to February 24, 2009,

lO. Please produce a complete and clearly readable copy of any and all guidelines,
policies. procedures, executives or administrator's notices, directives, bulletins. publications and
manuals of any type or otherwise described written instructions in reference to the day-to-day
tractor trailer operating and safety procedures to be followed by their company personnel,
managers, supervisors, dispatchers and drivers. Specifically. any document relative to
disciplinary policies or procedures for late passenger delivery/arrivals, motor fleet safety or
failure to comply with the regulations in existence and effective on Februar_'y 24, 2009.

l l. Please produce the entire qualification file of WARREN W. LYMAN (rcgardless
ofsubject, fomr, purpose. originalor, receivcr. title or dcscription).

l2. Please produce any job. driver, independent contractor or employment application
filled out or signed by WARREN W. LYMAN.

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 74 of 137 Page|D 79

l3. Please produce the entire driver investigative history file or its equivalent for
BRAND TRUCKING LTD.

l4. Please produce all inquires to and answers received from any organization in
reference to the driver’s license record of traffic violations and accidents directed to and/or
received by the Defendant or other organizations on behalf of Defendant, from state or federal

governmental agencies or other organizations, relative to WARREN W. LYMAN traffic and
accident records.

l$. Please produce any and all documents reflecting any background check performed
on WARREN W. LYMAN with regard to his employment history or job references, including
letters of reference

l6. Please provide any and all documents reflecting any background check performed
on WARRF.N W. LYMAN with regard to his driver’s record (including, btrt not limited to,
traffic tickets. collisions, and prior employment as a driver).

l7. Please produce all documents r'cceived. obtained or filed by Defendant when

qualifying WARREN W. LYMAN in accordance with the Federal Motor Carrier Safety
Regulations.

18. Please produce any and all documents reflecting any background check performed
by Defendant on WARR|;`N W. LYMAN with regard to his criminal history.

l9. Please produce copies of all road or written test cards, medical cards, motor
carrier certification of driver qualification cards and any other motor carrier transportation
related cards in the possession of Defendant regardless of card issuance date or origin. This

specifically includes cards, as previously described herein, issued by other motor carrier drivers
to WARREN W. LYMAN or his co-workers.

20. Please produce all road and written test certificates issued hy Defendant or any

other motor carrier/tractor trailer or organization to WARREN W. LYMAN regardless of the
date issued or the originator of such certificates

2]. Please produce all actual driver’s motor carrier/tractor trailer written tests
administered to WARREN W. LYMAN including all answers

22. Please produce the entire drug and alcohol file of WARREN W. LYMAN
including. but not limited to. pre-ernployment, post accident, random, reasonable suspicion, and
return to duty drug and alcohol testing results.

23. Please produce a copy of the job description of the position that WARREN W.
LYMAN was initially hired. employed or retained to perform for Defendant.

24. Please produce a copy of the job description of the position or job that WARREN
W. LYMAN was performing at the time of the incident.

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 75 of 137 Page|D 80

25. Please produce a copy of any driver’s license issued to WARREN W. LYMAN.
26. Please produce the entire personnel file of WARREN W. LYMAN.

27. Please produce any and all evaluations of the job performance of WARREN W.
LYMAN.

28. Please produce any and all letters. writings. memoranda, or any other documents

which reflect or contain the resignation or termination of the employment or contractual
relationship of WARRI;'N W. LYMAN with Defendant,

29. Please produce copies of each annual review of WARREN W. LYMAN’s driving
record.

30. Please produce a record of WARREN W. LYMAN`s violations, as required by
the cheral Motor Carrier Safety Regu|ations for the past 10 years.

31. Please produce copies of any documentation evidencing the completion or non-
completion of training programs. safety driving programs. and driver orientation programs by
WARREN W. LYMAN for Defendant,

32. Please produce any and all state safety audits for WARREN W. LYMAN for the
year of the collision and three years prior.

33. Please produce any and all long form DOT physicals for WARRF.N W. LYMAN.

34. Please produce all documents relating to any disqualification of WARREN W.
LYMAN made pursuant to any Federal Motor Carrier Safety Regu|atiorr.

35. Please produce any and all optical vision, or ophthalmic records concerning
WARREN W. LYMAN regardless of what person or entity created them.

36. Please produce prior industrial. vehicular. cargo, hazardous materials incidents,
health or accident reports, or other types of injury. sickness. accidents or loss reports or records

inclusive of cargo shortage or damage reports, along with all related documents to each such
sickness, incident or accident that relate to WARREN W. LYMAN.

37. Please produce any and all records of health insurance claims, disability claims,
sickness or doctors’ excuses of` WARREN W. LYMAN for the five years prior to the collision
involving Plaintiff.

38. Please produce any correspondence related to the operation of any truck, tractor
trailor. or motor vehicle operated at any time by WARRF.N W. LYMAN (including letters of
waming, records of disciplinary or other actions taken against him. etc.) as required by the
chcral Motor Carrier Safety Regu|ations.

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 76 of 137 Page|D 81

39. Please produce any and all federal accident reports filed for WARREN W.
LYMAN the year of this collision and three years prior.

40. Please produce any and all DOT inspection reports filed for BRAND
TRUCKfNG LTD at any time during the year Februag 24, 2009.

41. Please produce the latest petition or complaint filed in any lawsuit (other than this
lawsuit) against Defendant or Defendant’s employees, agents, servants, independent contractors,

or subcontractors, which alleges that any actions or omissions of WARREN W. LYMAN caused
any damages.

42. Please produce the latest petition or complaint filed in any lawsuit (other than this
lawsuit) against Defendant or Defendant's employees, agents, servants, independent contractors,

or subcontractors, which alleges that any actions or omissions of BRAND TRUCKING, LTD.
caused any damages.

43. Please produce all accident reports prepared by any law enforcement agency,
goverrunental agency. person or company conceming any vehicular collisions, accidents,

incidents, injuries or deaths involving WARREN W. LVMAN.

44. Please produce any other file kept concerning WA|{REN W. LYMAN by
Defendant not identified or requested specifically herein,

45. Please produce any and all memoranda. policies, contracts, letters. agreements or
documents which reflect the method by which thc wages or earnings of WARREN W. LYMAN

were computed when he was employed by or contracting with Defendant in Fcbruag; 24a 2009,

46. Please produce any and all paychecks or checks for earnings given to WARREN
W. LYMAN for any work performed by him for o months prior to and including the date of the
crash, and for a period of two (2) months thcreaf`tcr.

47. Please produce any W2 or 1099 provided to WARREN W. LYMAN for any
wages. salary or eorrrpensation earned by him during the years 2007 to the prcsent.

48. please produce any and all cancelled checks of any kind paid to WARREN W.
LYMAN for 12 months prior and six months alter the crash.

49. Please produce any and all payroll and benefit records for WARREN W.
LYMAN for five years prior to the collision to one year after.

50. Please produce all leases and contracts that were in effect for the tractor trailer
being operated by WARREN W. LYMAN on the day of the crash.

51. Please produce any and all titles, contracts, letters, leases or payments reflecting
the first termination or completion of any lease since the date of the crash, related to the tractor
trailer being operated by WARREN W. LYMAN on tlte day of the crash.

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 77 of 137 Page|D 82

52. Please produce any title related to the tractor trailer operated by WARREN W.
LYMAN on the day of the crash.

53. Please produce each rental or lease agreement related to the tractor trailer
operated by WARREN W. LYMAN on the day of the crash.

54. Please produce all lease agreements, employment agreements, independent
contractor agreements, or any other agreements between WARREN W. LYMAN and Defendant,

55. lf the tractor trailer operated by WARREN W. LYMAN on the day of the crash
has been sold or leased since the incident, produce any and all titlcs, contracts, letters or

payments reflecting the first sale or lease of the tractor trailer that was entered into after the
incident.

56. Please produce any and all assumed name (or “d/b/a”) records filed in any clerk’s
office or governmental office in Florida conceming or by Defendant.

57. Please produce any and all assumed name (or “d/b/a") records filed in any clerk’s
office or governmental office in North Dakota conceming or by Defendant.

58. Please produce complete and clearly readable copies of any and all trip leases or
trip contracts involving WARREN W. LYMAN and his co-drivcrs along with all related
documentation issued to or created or received by Defendant. Specifically, any trip leases
negotiated between thc related documentation. Related documentation consists of any
documents created or generated in reference to each trip lease(s) and in addition, driver`s daily
logs or record of duty status. driver’s daily condition reports, motor carrier/tractor trailer
certification of driver`s qualification and include other documents that relate to the billing and
payment for such movement of frcight, or passengers, or both, along with all other types of
documentation regardless of` form or description that are relative to each occurrence involving
the services and activities of WARREN W. LYMAN and/or his co-drivers.

59. Please produce complete and clearly readable copies of`all maintenance files and
records (sce Definition "'F“) from one year prior to the crash and for a period of six months
afterwards maintained hy Defendant on the tractor trailer (see Definitian “G”) involved in the
crash inclusive of any inspections. repairs or maintenance done to the tractor trailer.

60. Please produce all documents prepared concerning all inspections performed on
the tractor trailer involved in this crash.

61. Please produce copies of all inspection reports for the vehicle which were
conducted by state or municipal law enforcement agencics, or any state or municipal statutes or

ordinances from Fcbruary 25, 2008 through February 25. 2010.

62. Please produce any and all maintenance records, repair records, invoices, checks,
payments or billing records which reflect or manifest any maintenance, inspection, improvement,
testing or repair of the tractor trailer since Fchruag: 24a 2009.

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 78 of 137 Page|D 83

63. Please produce a copy of any vehicle inspection report made by WARREN W.
LYMAN during the month of` Februag' 2009.

64. Please produce a copy of any vehicle inspection report for the tractor trailer by
any person, company or agency during the months of February 2009 and March 2009.

65. Please produce receipts for all equipment maintenance for the tractor trailer since
February 25, 2008 through February 23, 20| 0.

66. Please produce any and all DOT and State inspections of the tractor trailer
involved in the crash for the year of the collision and one year prior.

67. Please produce the Permanent Unit File or its equivalent including, but not limited
to, records relating to the repairs, maintenance and costs for the tractor trailer involved in the
collision with Plaintiff.

68. Please produce complete and clearly readable copies of the maintenance files and
records (scc Def'inition “F") created from (at least onc year prior to the accident) maintained by
Defendant on the tractor trailer (see Def'inition “H") pulled by WARREN W. LYMAN.

69. Please produce all driver daily vehicle inspection reports (DVIRs) submitted by
any driver(s) from 30 days prior to the crash and for six months thereaf`tcr, in the possession of
Defendant. 'l`his specifically includes all of the driver daily condition rcports, maintenance files
and records maintained by any other organization from who WARREN W. LYMAN or
Defendant may have borrowcd, rented or leased thc tractor trailer or who performed maintenance

services for or on behalf of WARREN W. LYMAN or Defendant.

70. Please produce complete and clearly readable copies of all driver’s record of duty
status or driver’s daily logs and 70/60 hour and 8/7 day summaries or otherwise descriwd time
worked records created by WARREN W. LYMAN and/or any of his co-driver(s) for the period
from (at least 60 days prior to the accident and for 30 days after the accident) in the possession of

Defendant. This includes all logs prepared by any co-driver(s) operating with WARREN W.
LYMAN from (at least 30 days prior to the accident).

7l. Please provide all unofficial logs of WARREN W. LYMAN for the six months
before the collision involving Plaintif`f` and f`or 30 days after the collision.

72. Please produce any and all Seven Day Prior Forms or Eight Day Prior Fonns for
WARREN W. LYMAN for the month of` the collision.

73. Please produce the printout(s) from any commercial software program (e.g. J.l
Keller’s LogCheckcr) or customi¢ed program used to record and audit WARREN W. LYMAN`s
log book entries for the one year preceding the Februnl_'y 24, 2009 motor vehicle collision with
Plaintiff. and for the date of the crash. and for three months thereaf`ter.

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 79 of 137 Page|D 84

74. Please produce all cellular telephone records and bills for any cellular telephone
that was available to WARREN W. LYMAN on the date of` the incident and for the 60 days prior

to the crash, that was in the name of WARREN W. l.\’MAN on the date of the crash, or that was
in thc vehicle on the date of the crash.

75. Please produce all entai|, fax and test messages sent by or to WARREN W.
LYMAN to or from Defendant at anytime from .lanuary 25, 2009 through March 23, 2009.

76. Please produce any and all driver call-in records, f`axes, notes, logs or entail
indicating communications between Defendant and WARREN W. LYMAN on thc date of the
crash, and including at any time from january 25. 2009 through March 23, 2009.

77. Please produce all telephone calling card transactions of WARREN W. LYMAN
at any time from January 25. 2009 through March 23, 2009.

78. Please produce all text messages related to the crash.

79. Please produce complete and clearly readable copies of any driver (see Dcflnltlon
“A") call-in records or otherwise described written or computer (all screcn) records indicating
any communications between Defendant and WARREN W. LYMAN.

80. Please produce complete and clearly readable copies of all initial or rough driver`s
trip check-in or financial settlement sheets along with all final trip accounting documents, and
computer generated documents or printouts showing expenses and payment(s) for service(s) or
salary paid to WARREN W. LYMAN in reference to WARREN W. LYMAN’s trip(s). This
specifically includes any summary type documents showing all payments made to WARREN W.

LYMAN and/or his co-drivcrs regardless of the purpose of payment or period of time payment
was made for.

81. Please produce any and all mileage logs and travel reimbursement records for
WARREN W. LYMAN for the months of`.lanuaty 2009, February 2009 and March 2009.

82. Please produce any and all loading and unloading receipts for WARREN W.
LYMAN from .lanuary 25. 2009 to March 23, 2009.

83. Please produce any and all food receipts for WARREN W. LYMAN for the scvcn
(7) days prior to and including the date of the crash.

84. Please produce any sehedu|e. calendar or day timer of` WARREN W. LYMAN for
the 30 days prior to and including the date of the crash.

85. Please produce any and all credit card bills and receipts for WARREN W.
LYMAN for the month of the including the date of thc crash.

86. Please produce any and all receipts for fuel for the tractor trailer for the seven (7)
days prior to and including the date of the crash.

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 80 of 137 Page|D 85

87. Please produce any and all vouchers that were used by WARREN W. LYMAN
for the 30 days prior to the date of the crash, and including the date of the crash.

88. Please produce any and all documents, including any computer printouts, log,
record or report regarding the fuel consumption f`or the seven (7) days prior to and including the

date of the crash, of the tractor trailer, or any other vehicle which WARREN W. LYMAN was
operating during that time period.

89. Please produce copies of any and all fuel tax reports of WARREN W. LYMAN
for the year of this crash.

90. Please produce any and all receipts for all bridges or toll road fees incurred or
paid by WARREN W. LYMAN or for the tractor trailer. for the seven (7) days prior to this crash
including the date of the crash, and the three (3) days following the date of the crash.

9l. Please produce complete and clearly readable copies of any and all motor carrier
or driver created trip fuel mileage and purchase reports or records. This specifically includes all
documents and computer generated documents, regardless of form or subject, received from any
source such as the organization know as ‘COMCHEK" or generated for or by Defendant
showing date. time and location of fueling or other purchases inclusive of case advances to
WARREN W. LYMAN and/or his eo-workers while on the trips requested herein,

92. Please produce complete and clearly readable copies of WARREN W. LYMAN's
trip reports and/or trip envelopes, daily loads delivered or picked up reports or any otherwise
titled or described work reports, work schedule reports, fuel purchased or monthly cargo
transported, time and/or distance traveled reports or work records excluding only those
documents known as “driver’s daily logs or driver’s record of duty status.”

93. Please produce complete and clearly readable copies of all receipts for any trip
expenses or purchases made by WARREN W. LYMAN or his co-driver during a trip regardless
of type of purchase. such as fuel. weighing of vehicles. f`ood, lodging, equipment maintenance,
repair or equipment cleaning, special or oversize pennits. bridge and/or toll roads, loading or
unloading cost, and all otherwise described receipts regardless of` the type of` objects or services
purchased.

94. Plcasc produce complete and clearly readable copies of all cargo pickup and
delivery documents prepared by Defendant, any transportation hrokers, involved shippers or
receivers, motor carriers operations/dispatch personnel, drivers, or other person or organizations
relative to the cargo transported and the operations of WARREN W. LYMAN.

95. Please produce complete and clearly readable copies of any and all written
requests, letters, memoranda instructions or orders, for transportation of cargo prepared by
Defendant, any transportation brokers, involved shippers or rcceivers, motor carrier
operations/dispatch or sales personnel, driver or other persons or organizations relative to the
operations and cargo transported by WARREN W. LYMAN.

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 81 of 137 Page|D 86

96. Please produce complete and clearly readable copies of all bills of lading and/or
cargo manifest prepared or issued by any shippers. brokers, transporting motor carriers
personnel. receivers of cargo or Defendant. This specifically includes readable and complete
copies of bills of lading, manifest, or other documents regardless of form or description, that
show signed receipts for cargo pickup and delivered along with any other type of document that

may show dates and times of cargo pickup or delivery that are relative to operations and cargo
transported by WARREN W. LYMAN.

97. Please produce complete and clearly readable copies of all equipment or cargo
|oading. unloading or detention of equipment records along with any other documents showing
cargo pickup and/or delivery dates and times or delays and/or detention of equipment relative to
the operations of WARREN W. LYMAN.

98.` Please produce complete and clearly readable copies of all cargo transported
freight bills, l’ros or otherwise described similar documents inclusive of all signed or unsigned

cargo pickup and delivery copies that indicate date and/or time of pick up or delivery of cargo by
WARREN W. LYMAN or his eo-driver(s).

99. Please produce complete and clearly readable copies of dispatch and/or
operational records indicating assignment of equipment and drivers to specific cargo pick up,
transportation and dclivcry, dates and times of pick up and dclivery, movement of cargo,
shippers and receivers of cargo, and any other related operational records or documents,
regardless of form. This specifically includes all dispatch and operational type computer
generated documents and materials indicating the trips. cargo, movements or activities of

WARREN W. LYMAN.

100. Please produce complete and clearly readable copies of all accounting records,
merchandise purcliased, cargo transportation billings or invoices and subsequent payments or
otherwise described records indicating billings for transportation of cargo or payment for
services performed for Defendant by WARREN W. LYMAN and/or his co-drivcr(s).

lOl. Please produce complete and clearly readable copies of all checks or otherwise
described negotiable instruments issued to WARREN W. LYMAN or his co-driver(s) (see
Definition “B”) given in payment as trip advanccs, loans, or for any other purpose inclusive of
checks issued for employee payroll, and/or for owner/operator or trip lessors services in the
possession of any of the Defendants. Specil`ically copies of both thc “front and baek" of each

cheek and/or coinchek issued to WARREN W. LYMAN and/or any of his co-drivers are
requested.

102. Please produce complete and clearly readable copies of any and all state fuel or
oversizc special permits and any related documents or requests issued to or by any state agency
to transport cargo over their territories regardless of thc form of the pci'mit. The receipt
acknowledging payment for the pcrmit(s) issued by any governmental agency is specifically
requested that relate to the movements of WARREN W. LYMAN and/or his co-driver(s) during
the requested time period.

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 82 of 137 Page|D 87

103. Please produce all weight or weigh station records related to the tractor trailcr, or
any cargo carried by the tractor trailer. for the seven (7) days prior to this crash including the
date ol` thc crash.

104. Please produce any and all maps. lists, memoranda or documents which set forth,
describe or define the route or trip WARREN W. LYMAN was on, or to which WARREN W.
LYMAN ortho vehicle was assigned, on the day of the crash.

105. Please produce complete and clearly readable copies of any and all other
“operational or trip related documents” (see l)efinition “E”) created or received by the
defendants or any other persons or organizations, regardless of form or description and not
defined herein, in the possession of Defendant and relative to the operations, activities,

movements, cargo and trips accomplished by WARREN W. LYMAN and/or his co-drivers
during the month of the incident.

106. Please produce complete and clearly readable copies of any and all created
electronic or satellite “vehicular movement recording documents or records" such as QualComm,
l~lighwayMastcr, American Mobile Satellite Corp., or any similar organization’s records along
with any tractor trailer trip recorder computer generated documents, electronic control module
(ECM) taehograph charts, computer generated trip printouts (ECM) or any otherwise described
documents generated by whatever means. in reference to the physical movement and/or

geographical locations at a certain date and time of the tractor trailer involved in the accident
from (at least 30 days prior to the accident).

107. Please produce all records ol` WARREN W. LYMAN f`or the seven (7) days prior
to the crash and for the day of the crash. Specifically, produce the supporting documents listed
below:

Bills of` lading

Carrier pros

Freight bills

Dispatch records

Driver call-in records

Gate record receipts

Weight/scale tickets

Fuel billing statements and/or summaries
Toll receipts

lntemational registration plan receipts
lntemational fuel tax agreement receipts
Trip permits

Lessor settlement sheets

Port of entry receipts

Cash advance receipts

Dclivery receipts

Lumper receipts

lnterchangc and inspection reports
Ovcr/short and damage reports
Agricultural inspection reports

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Case 6:12-cv-Ol869-GAP-DAB Document 1-1 Filed 12/14/12 Page 83 of 137 Page|D 88

u. Commercial Vehicle Safety Alliance reports
v. Accident reports

w. Tclephone billing statements

x. Credit card receipts

y. ` Drivcr fax reports

z. On-board computer reports

aa. Border crossing reports

bb. Custom declarations

cc. Trach citations

dd. Overwcight/oversize reports and citations
ee. And/or other documents directly related to the motor carrier’s operation which are

retained by the motor carrier in connection with the operation of` its transportation
tractor traileriness.

106. Please produce copies of any and all satellite communications and email for the
day of thc crash involving PlaintifT and seven (7) days prior. as well as all recorded ECM
(clectronic control module), EDR (event data recorder), and/or SDM (sensing and diagnostic
module) Chronological data with reference to all data available, including but not limited to:

Trip distance

Total vehicle driving time

Load factor

Vehicle speed limit

Maximum vehicle speed recorded
Ntnnber of hard brake incidents
Current engine speed (rprn)
Maximum and minimum cruise speed limits
Total vehicle driving distance
Fuel consumption (gal/hr)

idle time

Engine governed speed
Maximum engine speed recorded
Current throttle position

Brake switch status (on/oll)
Odometcr

Trip driving time

Ovcrall fuel economy (MPG)
Avcragc driving speed

# oi` engine overspecds

# of vehicle overspeeds

Current vehicle speed (MPH)
Clutch switch status

Clock

lake brake status

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lO7. Please produce any and all accident and/or incident reports and investigations
prepared by Defendant as a result of the crash other than the police rcport.

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 84 of 137 Page|D 89

108. Please produce any and all incident, accident or injury reports related to the crash

that were prepared by BRAND TRUCKING LTD. or by any employee, owner, or agent of
Defendant.

109. Please produce any and all incident. accident or injury reports related to the crash
that were prepared by any law enforcement agency.

llO. Please produce any and all incident. accident or injury reports or investigations
related to the crash that were prepared by any department of transportation, NHTSA or OSHA.

l ll. Please produce any and all incident, accident or injury reports related to the crash
that were prepared by any pcrson, company, or agency. other than any report prepared by law

enforcement, or any department oi` transportation. NHTSA, OSHA. or any report prepared by
BRAND 'l`RUCKlNG L'I`D. or Defendant.

112. Please produce any photographs taken of the tractor trailer operated by WARREN
W. LYMAN at the scene ol` the crash, or any time alier.

l 13. Please produce any plrutugraphic, media coverage, lilm, videotape, moving
pictures, electronic image or recording, or any audiotape which dcpicts, includes or contains the
image of thc scene of the crash (you may exclude from your response hereto any item which you
have produced in response to any previous request herein).

l l4. Please produce any photograph. media coverage. film videotape, moving pictures,
electronic image or rccording, or any audiotape which depicts, includes or contains the image of
the crash of its ai`termath.

115. Please produce any photograph, lilm, videotape, moving pictures, electronic
imaging or recording. or any audiotape which depicts or contains the image of the tractor trailer
(you may exclude from your response hereto any item which you have produced in response to
any previous request herein).

llo. Please produce any photograph, iilm, videotape, moving pictures, electronic
image or recording, or any audiotape which depicts or contains the image of any property
damage resulting from the crash (you may exclude from your response hereto any item which
you have produced in response to any previous request herein).

l l7. Please produce any and all measurements related to the incident.

118. Please produce a copy oi` any traf`i`rc citation issued to WARREN W. LYMAN
related to the crash.

ll9. Please produce any indictment, judgment and sentencing, check, receipt, invoice,
plea papers, dismissal. probation, deferred adjudication, or any other writing related to or
depicting how any criminal charges against WARREN W. LYMAN stemming from the crash
was resolved, dismissed, terminated or paid.

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 85 of 137 Page|D 90

l20. Please produce any and all cmail sent by, or to, Defendant (including its
employees or agents) concerning the crash, and any Plaintiff, or witness. (You may exclude

from your response hereto any etnail sent between only Defendant and any attorney representing
Defendant).

121. Please produce any and all ernail sent by, or to, WARREN W. LYMAN
concerning the crash, and any Plaintiff, witness, or Defendant.

122. Please produce all voice mail messages related to the crash that were created on
February 24, 2009.

123. Please produce all telephone records depicting telephone or cellular telephone

calls placed or received on BRAND TRUCKING LTD. which relate to the crash.

124. Please produce all call slips and telephone messages related to the crash that were
created on BRAND TRUCK[NG LTD.

125. Please produce every “witness staterncnt", of any person who was involved in the
crash, other than WARREN W. LVMAN.

126. Please produce every “witness statement", of any person who perceived all or any
part of the crash, or who came to the scene thereof within three hours alter the crash.

127. Please produce any and all estimates, appraisals, invoices, drawings, diagrams,
photographs. videotapes, or checks related to any property damage which occurred as a result of
the incident to any building, vehicle or object other than the motorcycle being driven by Plaintiff.

128. Please produce any and all estimates, appraisals, invoices, drawings, diagrams.
photographs videotapcs, or checks related to any property damage which occurred as a result of
thc crash to thc motorcycle being driven by Plaintif`f.

129. Please produce any correspondence letters. facsimiles, and entail Defendant has
received from the shipper of the cargo. or has sent to the shipper of the cargo, since the incident
which concerns the incident, thc cargo being shipped. damage to the cargo, the methods by
which the cargo was loaded or secured, or any condition which caused or contributed to cause
the crash.

130. Please produce any release l`or any claim of property damage, personal injury or
death that stems from the crash made the basis of this lawsuit.

13 l. Please produce any checks, draits. or other forms of payment related to any claim

for property darnage. personal injury. or death that stems front the crash made thc basis of this
lawsuit.

l32. Please produce every item which was removed from the tractor trailer on
Februn§y 24, 2009.

Case 6:12-ev-01869-GAP-DAB Doeument 1-1 Filed 12/14/12 Page 86 of 137 Page|D 91

133. Please produce any and all indemnity or insurance agreements under which any
person may be liable to satisl`y part or all oi` a judgment rendered in this action or to indemnify or
reimburse for payments made to satisfy any judgment herein,

134. Please produce any and all insurance contracts which provide secondary or excess
coverage to Defendant for any risk related to the crash.

135. Please produce copies of all photographs. slidcs, motion pictures, videotapes,
surveillance reports or other infomiation relevant to surveillance of Plaintif`l"s activities from the
date of` the crash involving Plaintil`l` to the present.

136. Please produce a copy of each primary, umbrella and excess insurance policy, or
agreement including the declarations page. l`or Defendant which was in effect at any time from
the date that treatment first began until notice was given and received that this lawsuit had been
filed which may make thc respective insurance companies liable to satisfy all or part ol" any
judgment which may be rendered in this litigation including all non-waiver agreements.

reservation of` rights letters. or other documents or communications regarding any contractual
obligations by you.

137. Please produce any and all documents reliccting payments to any person or legal
entity arising out of claims made against you arising out of the accident made the basis of` this
suit. whether paid by you or any person or entity (including insurance) on your behalf.

l38. Please produce all documents concerning any bills, attorney’s fees, court costs,
cxpenses. expert fees, formal or inf`ormal, that reduce the amount ol` liability insurance available
to cover Plaintil`f.

139. Please produce copies ol` all applications and renewals for any insurance policies
l`or the last ten (10) ycars.

140. Please produce any reservation of rights letter pertaining to the claim which forms
the basis ol` this lawsuit.

l4l. Please produce all documents. records, reports or memoranda regarding Plaintil`i`
from persons or entities that gather claim information, i.e., insurance claims and workers

compensation claims, specifically including Hareo National lnsurance Company, and all similar
persons or entities.

l42. A copy of any damage appraisal made of` the tractor trailer (Def`endant vehicle).
143. A copy of any movies, videotape or other reproduction oi` the accident scene.

144. Purchase orders and bills of sale for the tractor trailer operated by Defendant
WARREN W. LYMAN at thc time ol` the crash.

145. Defendant WARREN W. LYMAN`s personnel file at BRAND TRUCKING
LTD.

Case 6:12-ev-01869-GAP-DAB Doeument 1-1 Filed 12/14/12 Page 87 of 137 Page|D 92

l46. Any and all docuntents, electronic or otherwise, related to employment oi`
Defendant WARREN W. LYMAN with BRAND TRUCKING LTD.

147. Driver’s log, whether electronic or otherwise.

148. Any and all electronic data stored within the Engine Control Module (ECM) or
any similar device. This request includes but is not necessarily limited to GPS, fleet tracking
technology. and electronic positioning data, records and reports.

149. Any and all medical reports related to Defendant WARREN W. LYMAN
covering his entire employment with BRAND TRUCKlNG LTD.

l50. Please produce a full and complete copy of each and every one of the items or
materials which was. in any way, form or manner, a part of each driver safety course, program,
presentation, class. lecturc, or meeting presented by an oftieer, agent, representative cmployee.
or independent contractor of Defendant BRAND TRUCKING LTD at any time during tlte years
2008 to February 24, 2009 to, or for, any of Defendant BRAND TRUCKING LTD’s then
officers. agents, representatives or employees responsible for the management, maintenance,
operation. or driving of commercial motor vehicles. or the hiring, supervising training,

assigning. or dispatching of drivers. The items and materials requested includc, but arc nut
limited to, each ol` the following:

('l`his request includes any documents or records which contain or reflect the dates
each course was presented in that particular year, the names of each driver,
dispatcher, officers, agent. representative or employee of BRAND TRUCK[NG
LTD who were present, and any records showing who the instructor was who
presented the course. its location and beginning and ending time. This request
also includcs. but is not limited to any and all other books, documents
conferences. audits, audio recordings or presentations of any type, video
recordings or presentations of any type, hand-outs. tests, test answers. log books.
driver daily inspection reports. health infomtation, attendance eards, attendance
sheets, company polieics. govemment documents. prescription information, drug
use inl`ormation, sleep apnea information, insomnia information, illness
infonnation. careful look-out information, reaction time infonnation, perception
time information. space management information. any information about
following too elosely. speed management information. conspicuity infomtation,
including but not limited to proper use of headlights, information about night
driving, infomtation about night driving, information about proper use of brakes,
infomtation about proper lane changing procedures, brochures, pamphlets, cmails,
faxcs, texts, personnel records, driver records. medical records, traflic tickets,
company procedures, company safety violations, individual driver safety reviews,
individual driver audits, ncwspapers, magazines, journals, manuals, articles, web
pagcs, web sites, papers, speaker’s notes or articlcs, movies, DVDs, CDs,
computer programs, sofiware, digital information, medical information, notes,
regulations, laws, or PowerPoint presentations used in any manncr.

Case 6:12-ev-01869-GAP-DAB Doeument 1-1 Filed 12/14/12 Page 88 of 137 Page|D 93

151. Please produce a full and complete copy of each and every one of thc items or
materials which was in any way, fornt or manner, a part of each driver safety course, program,
presentation, class, lccture, or meeting presented by an ofiicer, agent, representative employee,
or independent contractor of Defendant BRAND 'I`RUCKING L'l`D at any time during thc year
2008 to February 24, 2009 to, or for, any of Defendant BRAND TRUCKING LTD then
officers, agents, representatives, or employees responsible for the ntanagemcnt, maintenance,
operation, or driving of commercial motor vehicles, or tlte ltiring, supervising, training,
assigning_. or dispatching of drivers, The items and materials requested include, but are not
limited to, each of the following:

(Tltis request includes any document or records which contain or reflect the dates
each course was presented in that particular year, and the names of each drivcr,
dispatcher, olliccts. agent, representative or employee of BRAND TRUCKING
L'I`l). who were present, and any records showing who the instructor was who
presented the course, its location and beginning and ending time. This request also
includes, but is not limited to atty and all other books, documents_. conferences,
audits, audio recordings or presentations of any type. hand-outs, tcsts. test
answers, log books. driver daily inspection reports, health information, attendance
cards, attendance sheets. company policies, government documents, prescription
information, drug use information, sleep apnea information, insomnia
information, illness fomtation, careful look-out information, reaction time
information, perception time information. space management infomtation, any
information about following too closely, speed management information,
conspicuity information, including bttt not limited to proper usc of hcadligltts,
information about night driving. information about proper use of brakes,
information about proper lane changing procedures, brochures, pamphlets, e-
mails. faxes. texts, personnel records, driver records, medical records. traffic
tickets, company procedurcs, company safety violations, individual driver safety
reviews. individual driver audits. newspapers, magazincs. journals, manuals,
artielcs, web pages, web sites, papers. speaker`s notes or artielcs, ntovics, DVDs,
CDs. computer programs. soflware digital information, medical information,
notes, regulations, laws, or l‘owerl‘oint presentations used in any manner.)

152. Please produce n full and complete copy of each and every one of the items or
materials which was, in any way. form or manner, a part of each driver safety course, program,
presentation, class, lecture, or meeting presented by an officer, agent, representative employee,
or independent contractor of Defendant BRAND TRUCKING LTD then officers, agents,
representatives or employees responsible for tlte managcntcnt, maintenance, operation, or
driving of commercial motor velticles. or the hiring. supervising, training. assigning, or

dispatching of drivers. The items and materials requested inelude, but are not limited to, each of
the following:

('I`his request includes any documents or records which contain or reflect the dates
each course was presented in that particular ycar, and the names of each driver,
dispatcher, officer, agent, representative, or employee of BRAND TRUCKING
LTD. who were prcscnt, and any records showing who the instructor was who
presented thc course. its location and beginning and ending time. This request

Case 6:12-cv-Ol869-GAP-DAB Document 1-1 Filed 12/14/12 Page 89 of 137 Page|D 94

also includes, but is not limited to and all other books, documents, conferences,
audits, audio recordings or presentations of any type, hand-outs, tests, test
answers, log books, driver daily inspection rcports, health infomiation, attendance
cards, attendance sheets, company policics, government documents, prescription
information, drug usc information, sleep apnea information, insomnia
information, illness infomiation, careful look-out infonnation, reaction time
information, perception time information, space management information, any
information about following too closely, speed management information,
conspicuity information, including but not limited to proper use of headlights,
information about night driving. information about proper use of brakes,
information about proper lane changing procedutcs. brochurcs, pamphlets, emails,
faxcs. texts. personnel reeords, driver rceords,, medical rccords, traffic tickets,
company procedures. company safety violations, individual driver safety reviews,
individual drive audits. newspapers, magazines, journals, manuals. articles, web
pages, web sitcs, papers, speaker’s notes or articles, movies, DVDs, CDs,
computer programs, software. digital infomiation. medical infomtation, notcs,
regulations. laws, or Powerl’oint presentations used in any manner.)

153. Any and all contracts, agreements. policies of insurance and/or leases that were in

effect on February 24. 2009 that reference BRAND TRUCKING, LTD and WARREN W.
LYMAN.

154. Any and all contracts, agreements, policies of insurance and/or leases that were in

effect on February 24, 2009 that reference BRAND TRUCKING, LTD and DIRECT
TRANSPORT LTD dba DTL.

155. Any and all contracts, agreements, policies of insurance and/or leases that were in
effect on February 24. 2009 that reference WAthliN W. LYMAN and l)lltl;`(,"l' 'l'KANSl’OR'l`
LTD dba DTL,

156. Any and all contracts. agreements, policies of insurance and/or leases that were in
effect on February 24. 2009 that reference BRAND TRUCKING. LTD, DIRECT TRANSPOR'I`
LTD dba DTL, and WARREN W. LYMAN.

157. Any and all contracts. agreements policies of insurance and/or leases that were in
effect on February 24, 2009 that references BRAND TRUCKING, LTD.

158. Any and all contracts, agreements, policies of insurance and/or leases that were in
effect on February 24, 2009 that references DlRECT 'I`RANSI’ORT LTD dba DTL,

159. Any and all contracts, agreements. policies of insurance and/or leases that were in
effect on February 24, 2009 that references WARREN W. LYMAN.

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 90 of 137 Page|D 95

160. Any and all contracts, agreements, policies of insurance and/or leases that were in
effect on February 24, 2009 that references the “Subject Tractor” referenced in the Complaint.

Dated: April l9. 2012

DELLECKER WILSON KING
MeKENNA RUFF!ER & SOS
A Limited Liability Partnership

Z_

BY:
W. Doug Martin
Florida Bar No. 0024248
719 Vassar Street
Orlando, Florida 32804
(407)244-3000
Attomey for Plaintiff

 

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 91 of 137 Page|D 96

lN THE ClRCUlT COURT OF THE EIGHTEENTH JUDlClAL
ClRCUlT IN AND FOR SEMINOLE COUNTY, FLORIDA

KAREN D. GEHL,

Plaintiff,

-vs- CASE NO.

BRAND TRUCKING, LTD., a For Proflt
Business Corporation, and
WARREN W. LYMAN, individually,

Defendants.
/

PLAlNTlFF‘S REQUEST TO PRODUCE
Plaintiff,7 KAREN D. GEHL, by and through the undersigned attomey, and in accordance
with Rule l.350, Florida Rules of Civil Pmcedure, requests the Defendant, WARREN W.
LYMAN, individual|y. to produce to the Plaintiff, within forty-fch (45) days of scrvicc, at the

offices of the undersigned attomey, 719 Vassar Street, Orlando, Florida, 32804, the following:
DEF|N|T|ONS

A. The temi “tractor trailer driver” or “driver” as used herein means any person
employcd, or contracted for or with, or by any of the Defendants named in this
lawsuit. including persons known as co-drivers. independent contractors. owner
operators, or trip lessors and includes person provided to Defendant, as drivers by
other organizations who perfomi driving services for or on behalf of Defendant.

B. The tem'r “co-driver" as used herein means any person(s) driving or accompanying
the driver in motor carrier equipment owned or operated by any of the Defendants,

and any person(s) working for or with driver in the capacity and/or position of a co~
driver.

C. The tcmt “person” as used herein means any natural person, corporation, linn,
association, partnership, joint venture, proprietorship, governmental body or any

other organization, tractor traileriness or legal entity, and all predecessors or
successors in intercst.

D. The term “CFR" as used herein means the “Code of Federa| Regu|ations". 'I`itle 49-
'I`ransportation. U.S. Department of Transportation, Chapter 3. I~`ederal Motor Carrier
Safety Administration, Subehapter B - Parts 382 through 397 titled the “Federal
Motor Carrier Safety Regulations" which were in effect on the date(s) of the crash in
question, i.e. February 24, 2009.

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 92 of 137 Page|D 97

E. The term “operational or trip related documents” as used herein means records
generated by the driver or co-driver of the tractor trailer involved in the crash on
Februar_'y 24, 2009.

F. The term “maintenance files and records” includes, but is not limited to, all tractor
trailer daily vehicle inspection reports, annual inspections, work or repair orders,
equipment parts or accessory lists. accounting records, bills. or notes of repairs or
maintenance, maintenance files and records, and any other related documents.

G. The term “crash" or “incident” as used herein shall refer to the crash that occurred on
Februar_'y 24, 2009 in Seminole County, Florida, between the tractor trailer being
then and there operated by now Defendant WARREN W. LYMAN and the vehicle

being then and there operated by now Plaintiff KAREN GEHI. and which such crash
is the subject of this lawsuit.

H. The term “Defendant" as used herein shall refer to and mean Defendant BRAND
TRUCK|NG LTD as named herein, and any of its ofl`rcers, agents, representatives or
employees responsible for the management. maintenance, operation or driving of
commercial motor vehicles. or the hiring, supervising training, assigning or
dispatching of drivers, and any independent contractors hired by, or working for,
them unless otherwise specifically described herein or excluded from this dcfmition.

l. 'l`he temt “TRACTOR 'l`RAlLER" as used herein shall generally refer to the
commercial motor vehicle being operated by WARREN W. LYMAN at the time and
place of the crash, and unless otherwise described herein, is meant to describe a
vehicle designcd, constructed and or used for the transportation of passengers on a
highway in interstate commerce for compensation

J. Unlcss otherwise specifically stated herein, each request for the production of
documents herein shall be for thc time period beginning with February 25, 2006 and

through and including six (6) months after the date of the crash, i.e., Februagy 24,
2009.

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 93 of 137 Page|D 98

REQUESTS FOR PROI)UCTION OF DOCUMENTS

l. Please produce every policy or procedure manual provided at any time to
WARREN W. I.VMAN by Defendant BRAND TRUCKING LTD.

2. Please produce all documents reflecting the policies or procedures regarding
safety, motor vehicle/tractor trailer safety, travel policy, sleep and rest requirements, vehicle

inspection, driver standards and hiring requirements that were in effect at the time of the
incident.

3. Please provide Defendant’s employee handbook that was in effect on Fcbrua_rv_
24, 2009.

4. Please produce a copy of the driver manual, company handbook, or their
equivalent issued to WARREN W. LYMAN.

5. Please produce a copy of the Defendant company safety rules, policies or
procedures or their equivalent issued by Defendant to WARREN W. LYMAN at any time.

6. Please produce all documents. hooks. reports, manuals. policies and memoranda
setting forth defendant’s safety rules and regulations with respect to the passengers loading,
securing the load or operation of tractor trailers, and fatigued driving.

7. Please produce any and all sign-in sheets, attendance records or documents which
indicate the dates on which any driving. job, loading, securing or safety training was provided to

WARREN W. LYMAN by Defendant.

8. Please produce all policies or procedures of Defendant relating to accident or
injury investigation or reporting that were in effect on the date of the crash.

9. Please produce all the accident register to include the motor vehicle collision with
Plaintiff and all accidents three (3) years prior to Februag' 24, 2009.

10. please produce a complete and clearly readable copy of any and all guidelines,
policies. procedurcs, executives or administrator’s notices, directives. bulletins. publications and
manuals of any type or otherwise described written instructions in reference to the day-to-day
tractor trailer operating and safety procedures to be followed by their company personnel,
managers. supervisors, dispatchers and drivers. Specifically, any document relative to
disciplinary policies or procedures for late passenger dclivcry/arrivals. motor fleet safety or
failure to comply with the regulations in existence and effective on Februag: 24, 2009.

l l. Please produce the entire qualification file of WARREN W. LYMAN (regardless
of subject, form, purpose, originator, receiver. title or dcscription).

12. Please produce any job, driver, independent contractor or employment application
filled out or signed by WARREN W. LYMAN.

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 94 of 137 Page|D 99

l3. Please produce the entire driver investigative history file or its equivalent for
BRAND TRUCKING LTD.

l4. Please produce all inquires to and answers received from any organization in
reference to the driver’s license record of traffic violations and accidents directed to and/or
received by the Defendant or other organizations on behalf of Defendant, from state or federal

governmental agencies or other organizations, relative to WARREN W. LYMAN traffic and
accident records.

15. Please produce any and all documents reflecting any background check performed
on WARREN W. LYMAN with regard to his employment history or job references, including
letters of reference

16. Please provide any and all documents reflecting any background check performed
on WARREN W. LYMAN with regard to his driver’s record (including, but not limited to,
traffic tickets. collisions. and prior employment as a driver).

l7. Please produce all documents rcccivcd, obtained or filed by Defendant when
qualifying WARRF.N W. LYMAN in accordance with the Federal Motor Carrier Safety
Regu|ations

18. Please produce any and all documents reflecting any background check performed
by Defendant on WARREN W. LYMAN with regard to his criminal history.

l9. Please produce copies of all road or written test cards. medical cards, motor
carrier certification of driver qualification cards and atty other motor carrier transportation
related cards in the possession of Defendant regardless of card issuance date or origin. This

specifically includes cards, as previously described herein, issued by other motor carrier drivers
to WARREN W. LYMAN or his co-workers.

20. Please produce all road and written test certificates issued by Defendant or any

other motor carrier/u'actor trailer or organization to WARREN W. LYMAN regardless of the
date issued or the originator of such certificates

21. Please produce all actual driver’s motor carrier/tractor trailer written tests
administered to WARREN W. LYMAN including all answers.

22. Please produce the entire drug and alcohol file of WARREN W. LYMAN
including, but not limited to, pre-employment, post accident. random, reasonable suspicion, and
return to duty drug and alcohol testing results.

23. Please produce a copy of the job description of the position that WARREN W.
LYMAN was initially hired, employed or retained to perfomi for Defendant.

24. Please produce a copy of thejob description of the position or job that WARREN
W. LYMAN was performing at the time of the incident.

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 95 of 137 Page|D 100

25. Please produce a copy of any driver’s license issued to WARREN W. I.YMAN.
26. Please produce the entire personnel tile of WARREN W. LYMAN.

27. Please produce any and all evaluations of the job performance of WARREN W.
LYMAN.

28. Please produce any and all letters, writings, memoranda, or any other documents
which reflect or contain the resignation or termination of the employment or contractual
relationship of WARREN W. LYMAN with Defendant.

2‘). Please produce copies of each annual review of WARREN W. LYMAN`s driving
reeord.

30. Please produce a record of WARREN W. LYMAN`s violations, as required by
the cheral Motor Carrier Safety Regu|ations for the past 10 years.

31. Please produce copies of any documentation evidencing the completion or non-
completion of training programs. safety driving programs, and driver orientation programs by
WARREN W. LYMAN for Defendant.

32. Please produce any and all state safety audits for WARREN W. LYMAN for the
year of the collision and three years prior.

33. Please produce any and all long form DOT physicals for WARREN W. LYMAN.

34. Please produce all documents relating to any disqualification of WARRF.N W.
LYMAN made pursuant to any liederal Motor Carrier Safety Regulation.

35. Please produce any and all optical vision. or ophthalmic records concerning
WARREN W. LYMAN regardless of what person or entity created them.

3(). Please produce prior industrial. vehicular, cargo, hazardous materials incidents,
health or accident rcports, or other types of injury. sickness, accidents or loss reports or records
inclusive of cargo shortage or damage reports, along with all related documents to each such
sickness. incident or accident that relate to WARRIZN W. LYMAN.

37. Please produce any and all records of health insurance claims, disability claims,
sickness or doctors` excuses of WARRBN W. LYMAN for the five years prior to the collision
involving Plaintiff.

38. Please produce any correspondence related to the operation of any truck, tractor
trailor. or motor vehicle operated at any time by WARREN W. LYMAN (including letters of
warning, records of disciplinary or other actions taken against him, etc.) as required by the
Federal Motor Carrier Safety Regulations.

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 96 of 137 Page|D 101

39. Please produce any and all federal accident reports filed for WARREN W.
LYMAN the year of this collision and three years prior.

4(). Please produce any and all DOT inspection reports filed for BRAND
'I`RUCKING LTD at any time during the year Februa[y 24, 2009.

41. Please produce the latest petition or complaint filed in any lawsuit (other than this
lawsuit) against Defendant or Defendant’s employees, agents, servants, independent contractors,

or subcontractors, which alleges that any actions or omissions of` WARREN W. LYMAN caused
any damages

42. Please produce the latest petition or complaint filed in any lawsuit (other than this
lawsuit) against Defendant or Defendant's employees, agents, servants, independent contractors,

or subcontractors, which alleges that any actions or omissions of BRAND TRUCKING, LTD.
caused any damages.

43. Please produce all accident reports prepared by any law enforcement agency,
govcmmcntal agency. person or company concerning any vehicular collisions, accidents,
incidents, injuries or deaths involving WARREN W. LYMAN.

44. Please produce any other file kept concerning WARREN W. LYMAN by
Defendant not identified or requested specifically herein,

45. Please produce any and all memoranda, policies, contracts. letters, agreements or
documents which reflect the method by which the wages or earnings of WARREN W. LYMAN

were computed when he was employed by or contracting with Defendant in Februni_y 24a 2009.

46. Please produce any and all paychecks or checks for earnings given to WARREN
W. LYMAN for any work performed by him for o months prior to and including the date ot` the
crash. and for a period of two (2) months thereafter.

47. Please produce any W?. or l099 provided to WARREN W. LYMAN for any
wages, salary or compensation camed by him during the years 2007 to the present.

48. Please produce any and all cancelled checks of any kind paid to WARREN W.
LYMAN for 12 months prior and six months after the crash.

49. Please produce any and all payroll and benefit records for WARREN W.
LYMAN for five years prior to the collision to one year afier.

50. Please produce all leases and contracts that were in effect for the tractor trailer
being operated by WARREN W. LYMAN on the day of the crash.

51. Please produce any and all titles, contracts, letters, leases or payments reflecting
the first tennination or completion of any lease sitice the date of the crash, related to the tractor
trailer being operated by WARREN W. LYMAN on the day of the crash.

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 97 of 137 Page|D 102

52. Please produce any title related to the tractor trailer operated by WARREN W.
LYMAN on the day of the crash.

53. Please produce each rental or lease agreement related to the tractor trailer
operated by WARREN W. LYMAN on thc day of the crash.

54. Please produce all lease agreements, employment agreements, independent
contractor agreemciits, or any other agreements between WARREN W. LYMAN and Defendant.

55. lf the tractor trailer operated by WARREN W. LYMAN on the day of the crash
has been sold or leased since the incident, produce any and all titlcs, contracts, letters or

payments reflecting the first sale or lease of the tractor trailer flint was entered into after the
incident.

56. Please produce any and all assumed name (or "d/b/a") records filed in any clerk’s
office or governmental office in Florida concerning or by Defendant.

$7. Please produce any and all assumed name (or “d/b/a") records filed in any elerk's
office or governmental office in North Dakota concerning or by Defendant.

58. Please produce complete and clearly readable copies of any and all trip leases or
trip contracts involving WARREN W. LYMAN and his co-drivcrs along with all related
documentation issued to or created or received by Defendant. Specifically, any trip leases
negotiated between the related documentation. Related documentation consists of any
documents created or generated in reference to each trip lease(s) and in addition, driver’s daily
logs or record of duty status, driver’s daily condition reports, motor carrier/tractor trailer
certification of driver’s qualification and include other documents that relate to the billing and
payment l'or such movement ol` l`reight, or passengers or both, along with all other types ot`
documentation regardless of form or description that are relative to each occurrence involving
the services and activities of WARRl?.N W. LYMAN and/or his co-drivers.

59. Please produce complete and clearly readable copies of all maintenance files and
records (see Defiiiition “F“) from one year prior to the crash and for a period of six months
afterwards maintained by Defendant on the tractor trailer (see Definition “C”) involved in the
crash inclusive of any inspections repairs or maintenance done to thc tractor trailcr.

60. Please produce all documents prepared concerning all inspections performed on
the tractor trailer involved in this crash.

61. Please produce copies of all inspection reports for the vehicle which were
conducted by state or municipal law enforcement agencics. or any state or municipal statutes or

ordinances from February 25. 2008 throuin February 25. 2010.

62. Please produce any and all maintenance records, repair records, invoices, checks,
payments or billing records which reflect or manifest any maintenance, inspection, improveman
testing or repair of the tractor trailer since February 24l 2009.

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 98 of 137 Page|D 103

63. Please produce a copy of any vehicle inspection report made by WARREN W.
LYMAN during the month of Februai_'y 2009.

64. Please produce a copy of` any vehicle inspection report for the tractor trailer by
any person, company or agency during the months of February 2009 and March 2009.

65. Please produce receipts for all equipment maintenance for the tractor trailer since
February 25, 2008 throttin February 23, 2010.

66. Please produce any and all DOT and State inspections of the tractor trailer
involved in the crash for the year of the collision and one year prior.

67. Please produce the Permanent Unit File or its equivalent including, but not limited

to, records relating to the repairs, maintenance and costs for the tractor trailer involved in the
collision with Plaintiff.

68. Please produce complete and clearly readable copies of the maintenance files and
records (sec Definition “l"”) created from (at least one year prior to the accident) maintained by
Defendant on the tractor trailer (sec Dcfinition “H”) pulled by WARREN W. LYMAN.

69. Please produce all driver daily vehicle inspection reports (DVle) submitted by
any driver(s) from 30 days prior to the crash and for six months thereafter, in the possession of
Defendant. This specifically includes all of the driver daily condition reports, maintenance files
and records maintained by any other organization from who WARREN W. LYMAN or
Defendant may have borrowed. rented or leased the tractor trailer or wlio performed maintenance
services for or on behalfofWARREN W. LYMAN or Defendant.

70. Please produce complete and clearly readable copies of all driver’s record of duty
status or driver`s daily logs and 70/60 hour and 8/7 day summaries or otherwise described time
worked records created by WARREN W. LYMAN and/or any of his co-drivcr(s) for thc period
from (at least 60 days prior to the accident and for 30 days after the accident) in the possession of

Defendant. 'fhis includes all logs prepared by any co-driver(s) operating with WARREN W.
LYMAN from (at least 30 days prior to the accident).

71. Please provide all unofficial logs of WARREN W. LYMAN for the six months
before the collision involving Plaintiff and for 30 days after the collision.

72. Please produce any and all Seven Day Prior Forms or Eight Day Prior Forms for
WARREN W. LYMAN for the month of the collision.

73. Please produce the printout(s) from any commercial software program (e.g. JJ
Keller’s LogCliecker) or custoiiiized program used to record and audit WARREN W. LYMAN’s

log book entries for the one year preceding the Februag 24, 2009 motor vehicle collision with
Plaintiff, and for the date of the crash. and for three months thereafter.

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 99 of 137 Page|D 104

74. Please produce all cellular telephone records and bills for any cellular telephone
that was available to WARREN W. LYMAN on the date of the incident and for the 60 days prior
to the crash, that was in tlte name of` WARREN W. LYMAN on the date of the crash, or that was
in the vehicle on the date of the crash.

75. Please produce all email, l`ax and test messages sent by or to W/-\RREN W.
LYMAN to or front Defendant at anytime front January 25, 2009 through March 23, 2009.

76. Please produce any and all driver call-in records, fm<es, notes, logs or entail
indicating communications between Defendant and WARREN W. LYMAN on the date of the
crash. and including at any time From January 25, 2009 through March 23, 2009.

77. Please produce all telephone calling card transactions of WARREN W. LYMAN
at any time front January 25, 2009 through March 23. 2009.

78. Please produce all text messages related to the crash.

79. Please produce complete and clearly readable copies of any driver (sec Definition
“A") call-in records or otherwise described written or computer (all sereen) records indicating

any communications between Defendant and WARREN W. LYMAN.

80. Please produce complete and clearly readable copies of all initial or rough driver’s
trip check-in or financial settlement sheets along with all final trip accounting documents, and
computer generated documents or printouts showing expenses and payment(s) for serviee(s) or
salary paid to WARREN W. LYMAN in reference to WARREN W. LYMAN's trip(s). This
specifically includes any summary type documents showing all payments made to WARREN W.
LYMAN and/or his eo-drivers regardless of the purpose of payment or period of time payment
was made for.

81. Please produce any and all mileage logs and travel reimbursement records for
WARREN W. LYMAN for the months of January 2009. February 2009 and March 2009.

82. Please produce any and all loading and unloading receipts for WARREN W.
LYMAN front January 25, 2009 to March 23. 2009.

83. Please produce any and all food receipts for WARREN W. LYMAN for the seven
(7) days prior to and including the date of tlte crash.

84. Please produce any seltedule, calendar or day timer of WARREN W. LYMAN for
the 30 days prior to and including the date of the crash.

85. Please produce any and all credit card bills and receipts for WARREN W.
LYMAN for the month of the including the date of tlte crash.

86. Please produce any and all receipts for fuel for the tractor trailer for the seven (7)
days prior to and including the date of` the crash.

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 100 of 137 Page|D 105

87. Please produce any and all vouchers that were used by WARREN W. LYMAN
for the 30 days prior to the date of tlte crash, and including the date of the crash.

88. Please produce any and all documents, including any computer printouts, log,
record or report regarding the fuel consumption for the seven (7) days prior to and including the

date of the crash, of the tractor trailer, or any other vehicle which WARREN W. LYMAN was
operating during that time pcriod.

89. Please produce copies of any and all fuel tax reports of WARREN W. LYMAN
for the year of tltis crash.

90. Please produce any and all receipts for all bridges or toll road fees incurred or
paid by WARREN W. LYMAN or for the tractor trailer, for the seven (7) days prior to this crash
including the date of the crash, and the three (3) days following the date of the crash.

9l. Please produce complete and clearly readable copies ot` any and all motor carrier
or driver created trip f`ucl mileage and purchase reports or rccords. This specifically includes all
documents and computer generated documents, regardless of form or subject, received from any
source such as the organization know as ‘COMCHEK” or generated for or by Defendant
showing date, time and location of fueling or other purchases inclusive of case advances to
WARREN W. LYMAN and/or his co-workers while on the trips requested herein.

92. Please produce complete and clearly readable copies of WARREN W. LYMAN'S
trip reports and/or trip envelopes. daily loads delivered or picked up reports or any otherwise
titled or described work reports. work schedule reports, fuel purchased or monthly cargo
transported. time and/or distance traveled reports or work records excluding only those
documents known as “driver’s daily logs or driver’s record of duty status."

93. Please produce complete and clearly readable copies of all receipts for any trip
expenses or purchases made by WARREN W. LYMAN or his co-driver during a trip regardless
of type of purehase, such as fuel, weighing of vehicles, food, lodging, equipment maintenance,
repair or equipment cleaning, special or oversize permits, bridge and/or toll roads, loading or

unloading cost, and all otherwise described receipts regardless of the type of objects or services
purchased

94. Please produce complete and clearly readable copies of all cargo pickup and
delivery documents prepared by Defendant, any transportation brokers, involved shippers or
receivers, motor carriers operations/dispatch personnel, drivers, or other person or organizations
relative to the cargo transported and the operations of WARREN W. LYMAN.

95. Please produce complete and clearly readable copies of any and all written
requests, letters. memoranda instructions or orders, for transportation of cargo prepared by
Defendant, any transportation brokers, involved shippers or receivers, motor carrier
operations/dispatch or sales personnel, driver or other persons or organizations relative to the
operations and cargo transported by WARREN W. LYMAN.

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 101 of 137 Page|D 106

96. Please produce complete and clearly readable copies of all bills of lading and/or
cargo manifest prepared or issued by any sltippers, brokers, transporting motor carriers
personnel, receivers of cargo or Defendant. This specifically includes readable and complete
copies of` bills of lading, manifest. or other documents regardless of form or description, that
show signed receipts for cargo pickup and delivered along with any other type of document that

may show dates and times of cargo pickup or delivery that are relative to operations and cargo
transported by WARREN W. LYMAN.

97. Please produce complete and clearly readable copies of all equipment or cargo
loading, unloading or detention of equipment records along with any other documents showing
cargo pickup and/or delivery dates and times or delays and/or detention of equipment relative to

the operations of WARREN W. LYMAN.

98. Please produce complete and clearly readable copies of` all cargo transported
freight bills, Pros or otherwise described similar documents inclusive of all signed or unsigned

cargo pickup and delivery copies that indicate date and/or time of pick up or delivery of cargo by
WARREN W. LYMAN or his co-driver(s).

99. Please produce complete and clearly readable copies of` dispatch and/or
operational records indicating assignment of equipment and drivers to specific cargo pick up,
transportation and delivery, dates and times of pick up and delivery, movement of cargo,
shippers and receivers of cargo. and any other related operational records or documents,
regardless of` f`omt. This specifically includes all dispatch and operational type computer

generated documents and materials indicating tlte trips. cargo, movements or activities of
WARREN W. LYMAN.

100. Please produce complete and clearly readable copies of all accounting reeords,
merchandise purchascd. cargo transportation billings or invoices and subsequent payments or
otherwise described records indicating billings for transportation of cargo or payment for
services performed for Defendant by WARREN W. LYMAN and/or his co-driver(s).

l01. Please produce complete and clearly readable copies of all checks or otherwise
described negotiable instruments issued to WARREN W. LYMAN or his co-driver(s) (sec
Definition “B") given in payment as trip advances, loans. or for any other purpose inclusive of
checks issued for employee payroll, and/or for owner/operator or trip lessors services in the
possession of any of the Defendants. Specifically copies of both the “f`ront and back" of each
check and/or comchck issued to WARREN W. LYMAN and/or any of his co-drivers are
requested.

102. Please produce complete and clearly readable copies ot` any and all state fuel or
oversizc special permits and any related documents or requests issued to or by any state agency
to transport cargo over their territories regardless of the form of the permit. 'I`he receipt
acknowledging payment for the permit(s) issued by any governmental agency is specifically
requested that relate to the movements of WARR[;`N W. LYMAN and/or his co-driver(s) during
the requested time period.

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 102 of 137 Page|D 107

103. Please produce all weight or weigh station records related to the tractor trailer, or

any cargo carried by the tractor trailer. for the seven (7) days prior to this crash including the
date ol` the crash.

104. Please produce any and all maps. lists, memoranda or documents which set forth,
describe or define the route or trip WARREN W. LYMAN was on, or to which WARREN W.
LYMAN or the vehicle was assigned. on the day of the crash.

105. Please produce complete and clearly readable copies of any and all other
“operational or trip related documents” (sec Definition ‘°E”) created or received by the
defendants or any other persons or organizations regardless of form or description and not
delined herein, in the possession of Defendant and relative to the operations, activities,
movements. cargo and trips accomplished by WARREN W. LYMAN and/or his co-drivers
during the month of the incident.

106. Please produce complete and clearly readable copies of any and all created
electronic or satellite “vehicular movement recording documents or records” such as QualComm,
HighwayMaster. Ameriean Mobile Satellite Corp.. or any similar organization's records along
with any tractor trailer trip recorder computer generated documents, electronic control module
(ECM) tachograph charts. computer generated trip printouts (ECM) or any otherwise described
documents generated by whatever means. in reference to the physical movement and/or
geographical locations at a certain date and time of` the tractor trailer involved in the accident
from (at least 30 days prior to the accident).

107. Please produce all records of WARREN W. LYMAN for the seven (7) days prior

to the crash and for the day of the crash. Specifically, produce the supporting documents listed
below:

Bills of lading

Carrier pros

l~`reight bills

Dispatch records

Driver call~in records

Gate record receipts

Weight/scale tickets

Fuel billing statements and/or summaries
Toll receipts

lntemational registration plan receipts
lntemational fuel tax agreement receipts
Trip permits

Lcssor settlement sheets

Port of entry receipts

Cash advance receipts

Delivery receipts

Lumper receipts

lnterchange and inspection reports
Over/short and damage reports
Agricultural inspection reports

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Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 103 of 137 Page|D 108

Commercial Vehicle Safety Alliance reports
Accidcnt reports

Telephone billing statements

Credit card receipts

Driver fax reports

On-board computer reports

Border crossing reports

Custom declarations

Traftic citations

dd. Overweight/oversize reports and citations
ee. And/or other documents directly related to the motor carrier's operation which are

retained by the motor carrier in connection with the operation of its transportation
tractor traileriness.

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106. Please produce copies of` any and all satellite communications and email for the
day ot` the crash involving Plaintil`l` and seven (7) days priur, as well as all recorded ECM
(electronic control module), EDR (event data reeorder), and/or SDM (sensing and diagnostic
module) chronological data with reference to all data available, including but not limited to:

Trip distance

'I`otal vehicle driving time

I.oad factor

Vehicle speed limit

Maximum vehicle speed recorded
Number ot` hard brake incidents
Currcnt engine speed (rpm)
Maximum and minimum cruise speed limits
'l`otal vehicle driving distance
l-`ucl consumption (gal/hr)

idle time

Engine governed speed
Maximum engine speed recorded
Currcnt throttle position

Brakc switch status (on/ol`l)
Odometer

Trip driving time

Overall fuel economy (MPG)
Average driving speed

# of engine overspccds

# ol` vehicle overspccds

Currcnt vehicle speed (MPI'I)
Clutelr switch status

Clock

lake brake status

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lO7. Please produce any and all accident and/or incident reports and investigations
prepared by Defendant as a result of the crash other than the police report.

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 104 of 137 Page|D 109

108. Please produce any and all incident, accident or injury reports related to the crash

that were prepared by BRAND TRUCKING LTD. or by any employee, owner, or agent of
Defendant.

109. Please produce any and all incident, accident or injury reports related to the crash
that were prepared by any law enforcement agency.

llO. Please produce any and all incident, accident or injury reports or investigations
related to the crash that were prepared by any department ot` transportation, Nl ITSA or OSllA.

l l l. Please produce any and all incident, accident or injury reports related to the crash
that were prepared by any person. contpany, or agency. other than any report prepared by law

enforcement, or any department oi` transportation NHTSA, OSHA, or atty report prepared by
BRAND TRUCKING LTD. or Defendant.

112. Please produce any photographs taken ol'the tractor trailer operated by WARREN
W. LYMAN at the scene of the crash, or any time aher.

l 13. Please produce any photographie, media eoverage. film, videotape, moving
pictures, electronic image or recording, or any audiotape which depicts, includes or contains the
image ol` thc scene oi` the crash (you may exclude from your response hereto any item which you
have produced in response to any previous request herein).

l l4. Please produce any photograph. media coverage. film videotape. moving pictures,

electronic image or recording. or any audiotape which depicts, includes or contains the image of
the crash of its aftermath.

115. Please produce any photograph. tilm, videotape, moving pictures, electronic
imaging or recording, or any audiotape which depicts or contains the image ol` the tractor trailer
(you may exclude from your response hereto any item which you have produced in response to
any previous request herein).

116. Please produce any photograph. lilm, videotape, moving pictures, electronic
image or rccording, or any audiotape which depicts or contains the image of any property
damage resulting from the crash (you may exclude from your response hereto any item which
you have produced in response to any previous request herein).

l l7. Please produce any and all measurements related to the incident.

118. Please produce a copy of any traffic citation issued to WARREN W. LYMAN
related to the crash.

ll9. Please produce any indictment,judgment and sentencing, check, receipt, invoice,
plea papers, dismissal. prohation, deferred adjudication, or any other writing related to or
depicting how any criminal charges against WARREN W. LYMAN stemming from the crash
was rcsolvcd, dismisscd. terminated or paid.

Case 6:12-cv-01869-GAP-DAB Doeument 1-1 Filed 12/14/12 Page 105 of 137 Page|D 110

120. Please produce any and all email sent by, or to, Defendant (including its
employees or agents) concerning the crash, and any Plaintifl`, or witness. (You may exclude

from your response hereto any etnail sent between only Defendant and any attorney representing
Del`endant).

121. Please produce any and all entail sent by, or to, WARREN W. LYMAN
conceming the crash, and any Plaintil`f, witness, or Defendant.

122. Please produce all voice mail messages related to the crash that were created on
Februag 24, 2009.

123. Please produce all telephone records depicting telephone or cellular telephone
calls placed or received on BRAND TRUCKING LTD. which relate to the crash.

124. Please produce all call slips and telephone messages related to tlte crash that were
created on BRAND 'I`RUCKlNG LTD.

125. Please produce every “\vitness statement", ot` any person who was involved in tlte
crash. other than WARREN W. LYMAN.

126. Please produce every “witness statement”. ol` any person who perceived all or any
part of the crash, or who came to the scene thereof within three hours after the crash.

127. Please produce atty and all estimates. appraisals, invoices, drawings, diagrams,
photographs, videotapes, or checks related to any property damage which occurred as a result ol`
the incident to any building. vehicle or object other than tlte motorcycle being driven by Plaintii`l`.

128. Please produce atty and all estimates, appraisals, invoices, drawings, diagrams,
photographs videotapes, or checks related to any property damage which occurred as a result ot`
the crash to thc motorcycle being driven by Plaintil`f.

129. Please produce any correspondence letters, facsimiles. and entail Defendant has
received from the shipper ot` tlte cargo, or has sent to the shipper ol` the cargo, since the incident
which concerns tlte incident. the cargo being shipped, damage to the cargo, the methods by
which the cargo was loaded or secured, or atty condition which caused or contributed to cause
the crash.

130. Please produce atty release for any claim of property damage, personal injury or
death that stems from tlte crash made the basis of this lawsuit.

l3l. Please produce any checks. drat`ts. or other forms of payment related to any claim
for property damage, personal injury, or death that stems front the crash made the basis ol` this
lawsuit.

132. Please produce every item which was removed from the tractor trailer on
Februag 24, 2009.

Case 6:12-cv-01869-GAP-DAB Doeument 1-1 Filed 12/14/12 Page 106 of 137 Page|D 111

133. Please produce atty and all ittdentttity or insurance agreements uttder which any
person ntay be liable to satisfy part or all of` a judgment rendered in this action or to indemnify or
reimburse for payments made to satisfy atty judgment lterein.

134. Please produce atty and all insurance contracts which provide secondary or excess
coverage to Defendant for any risk related to the crash.

135. Please produce copies of all photographs, slides, motion pictures, videotapes,
surveillance reports or other information relevant to surveillance of Plaintil`t’s activities front tltc
date of tlte crash involving Plaintiff to tlte presettt.

136. Please produce a copy of each pritttary. umbrella and excess insurance policy, or
agreement, including tlte declarations page, for Defendant which was in effect at any time from
the date that treatment first began until notice was given and received that this lawsuit had been
filed which may make the respective insurance companies liable to satisfy all or part of any
judgment which may be rendered in this litigation including all non-waiver agreements,
reservation of rigltts letters, or other documents or communications regarding any contractual
obligations by you.

137. Please produce any and all documents reflecting payments to any person or legal
entity arising ottt of claims made against you arising ottt of the accident made the basis of this
suit, whether paid by you or any person or entity (including insurance) on your behalf.

138. Please produce all documents concerning atty bills, attorncy’s fees, court costs,

expenses, expert fecs. formal or informal. that reduce the amount of liability insurance available
to cover Plaintil`f.

139. Please produce copies of all applications and renewals for atty insurance policies
for the last ten (10) years.

140. Please produce any reservation ol` rights letter pertaining to the claim which forms
the basis of this lawsuit.

l4l. Please produce all documents, records, reports or memoranda regarding Plaintil`t`
t`rom persons or entities that gather claim information, i.e., insurance claims and workers
compensation claims, specifically including llarco National lnsuranec Company, and all similar
persons or entities.

142. A copy of any damage appraisal tttade ol` tlte tractor trailer (Defendant vehicle).
143. A copy of any movies, videotape or other reproduction of the accident scene.

144. Pureltase orders and bills of sale for the tractor trailer operated by Defendant
WARREN W. LYMAN at the time of tlte crash.

145. Defendant WARREN W. LYMAN’s personnel file at BRAND TRUCKING
LTD.

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 107 of 137 Page|D 112

l46. Any and all documents, electronic or otherwise, related to employment of
Defendant WARREN W. LYMAN with BRAND TRUCKING LTD.

147. Driver’s log, whether electronic or otlterwise.

148. Any and all electronic data stored within the Engitte Control Module (ECM) or
any similar device. This request includes but is not necessarily limited to GPS, fleet tracking
technology, and electronic positioning data, records and reports.

149. Any and all medical reports related to Defendant WARREN W. LYMAN
covering his entire employment with BRAND TRUCKING LTD.

150. Please produce a full and complete copy of each and every one of the items or
materials which was. in any way, form or manner. a part of each driver safety course, program,
presentation. class, lecture, or meeting presented by an officer. agent. representative employee,
or independent contractor of Defendant BRAND TRUCKING LTD at any time durittg the years
2008 to Februar_'y 24, 2009 to. or for, any of Defendant BRAND TRUCKING LTD`s then
officers. agents, representatives, or employees responsible for the management, maintenance,
operation. or driving of commercial motor vehicles, or the hiring, supervising, training,
assigning, or dispatching of drivers, The items and materials requested include, but are not
limited to. each of the following:

(This request includes any documents or records which contain or reflect the dates
each course was presented in that particular year, the names of each driver,
dispatcher, officers, agent. representative or employee of BRAND TRUCKING
L`l`l) who were present. and any records showing who tlte instructor was who
presented the course, its location and beginning and ending time. This request
also includes, but is not limited to any and all other books, documents,
conferences audits, audio recordings or presentations of any type, video
recordings or presentations of any type, hand-outs, tests, test answers, log books,
driver daily inspection reports. health infomtation, attendance cards, attendance
sheets, company policics, government documents, prescription information, drug
use information, sleep apnea information, insomnia information, illness
infortnatiott, careful look-out information, reaction time information, perception
time information, space management information, any information about
following too closely, speed management information, conspicuity information,
including but ttot limited to proper use of lteadlights, information about night
driving, information about night driving, information about proper use of brakes,
information about proper lane changing procedures, brochures, pamphlets, emails,
faxes, texts, personnel records, driver records, medical records, traffic tickets,
company procedurcs, company safety violations, individual driver safety reviews,
individual driver audits, newspapers magazines, joumals, mantmls, articles, web
pages, web sites, papers, speaker‘s notes or articlcs, movies, DVDs, CDs,
computer progratns, softwarc, digital information, medical information, notes,
regulations, laws, or PowerPoittt presentations used in atty manner.

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 108 of 137 Page|D 113

151. Please produce a full and complete copy of each and every one of tlte items or
materials which was in any way, form or tttanner, a part of each driver safety course, progrant,
presentation, class_. lecture, or meeting presented by an officer, agent, representative employee,
or independent contractor of Defendant BRAND TRUCKlNG LTD at any time during the year
2008 to February 24, 2009 to, or for, atty of Defendant BRAND TRUCKING LTD then
offtcers, agents, representatives, or employees responsible for tlte management, maintenance,
operation, or driving of commercial motor vehicles, or the hiring, supervising, training,
assigning, or dispatching of drivers. The items and materials requested include, but are not
limited to, each ofthe following:

(This request includes any document or records which contain or reflect the dates
each course was presented in that particular year, and the names of each driver,
dispatcher, ol`ftcers, agent, representative, or employee of BRAND TRUCKING
LTD. who were present. and any records showing who the instructor was who
presented the course, its location and beginning and ending time. This request also
includes, but is not limited to any and all other books, documents, conferences,
audits, audio recordings or presentations of atty type, hand-outs, tests, test
answers, log books, driver daily inspection reports, health information, attendance
cards, attendance sheets. company policies, government documents, prescription
irtfortttatiott, drug use information, sleep apnea information, insomnia
information, illness formation, careful look-out information, reaction time
infomtation, perception time information, space management information, any
infomtation about following too elosely. speed management information,
cottspicuity information, including but not limited to proper use of headligltts,
information about night driving, information about proper use of brakes,
information about proper lane changing procedures, brochures, pamphlets, e-
ntails, faxes, texts, personnel records, driver records, medical records, traffic
tiekets, company procedures, company safety violations, individual driver safety
reviews, individual driver audits, newspapers, magazines, joumals. manuals,
articlcs, web pages, web sites, papers, speaker’s notes or articles, ntovies, DVDs,
CDs, computer programs, sofiware digital information, medical information,
notes, regulations, laws, or Powerl’oint presentations used in any manner.)

152. Please produce a full and complete copy of each and every one of tlte items or
materials which was, in any way, fortn or manner, a part of each driver safety course, program,
presentation, class, lecture, or meeting presented by an of`ftcer, agent, representative employee,
or independent contractor of` Defendant BRAND TRUCKlNG LTD then officers, agents,
tepresentatives, or employees responsible for tlte tnanagement, maintenance, operation, or
driving of commercial motor vehicles, or the hiring, supervising, training, assigning, or
dispatching of drivers. The items and materials requested include, bttt are not limited to, each of
the following:

(This request includes any documents or records which contain or reflect tlte dates
each course was presented in that particular year, and the names of each driver,
dispatcher, officer, agent, representative, or employee of BRAND TRUCKING
LTD. who were present, and any records showing who the instructor was who
presented the course, its location and beginning and ending time. This request

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 109 of 137 Page|D 114

also includes, but is not limited to and all other books, documents, conferences,
audits, audio recordings or presentations of any type, hand-outs, tests, test
answers, log books, driver daily inspection reports, health information, attendance
cards, attendance sheets, company policies, government documents, prescription
information, drug use information, sleep apnea information, insomnia
information, illness information, careful look-out information, reaction time
information, perception time information, space management information, any
information about following too closely, speed management information,
conspicuity information, including but not limited to proper use of headlights,
infomtation about night driving, information about proper use of brakes,
information about proper lane changing procedures, brochures, pamphlets, emails,
faxes, texts, persotutel records, driver records,, medical records, traffic tickets,
company procedures, company safety violations, individual driver safety reviews,
individual drive audits, newspapers, magazines, joumals, manuals, articles, web
pages, web sitcs. papers, spcakcr’s notes or articlcs, movics, DVDs, CDs,
computer programs, sof`tware, digital information, medical information, notes.
regulations laws, or PowerPoint presentations used in any manner.)

153. Any and all contracts, agreements, policies of insurance and/or leases that were in

effect on February 24, 2009 that reference BRAND TRUCKING, LTD and WARREN W.
LYMAN.

154. Any and all contracts, agrccntcats, policies of insurance and/or leases that were in
effect on February 24, 2009 that reference BRAND TRUCKING, LTD and DIRECT
TRANSPORT LTD dba DTL.

155. Any and all eontracts. agreements, policies ofinsurance and/or leases that were in

effect on February 24, 2009 that reference WARREN W. LVMAN and DIRECT TRANSPORT
LTD dba DTL.

156. Any and all contracts, agreements, policies of insurance and/or leases that were in
effect on February 24, 2009 that reference BRAND TRUCKING, LTD. DIRECT TR.ANSPORT
LTD dba DTL. and WARREN W. I.YMAN.

157. Any and all contracts, agreements, policies of insurance and/or leases that were in
effect on February 24, 2009 that references BRAND TRUCK]NG, LTD.

158. Any and all contracts, agreements, policies of insurance and/or leases that were in
effect on February 24, 2009 that references DIRECT TRANSPORT LTD dba DTL.

159. Any and all contracts, agreements. policies of insurance and/or leases that were in

effect on February 24, 2009 that references WARREN W. LYMAN.

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 110 of 137 Page|D 115

160. Any and all contracts, agreements, policies of insurance and/or leases that were in
effect on February 24, 2009 that references the “Subject Tractor” referenced in the Complaint.

Dated: April 19, 2012

BY:

DELLECKER WlLSON KING
MeKENNA RUFFlER & SOS
A Limited Liability Partnership

@

W. Doug Martin

Florida Bar No. 0024248
719 Vassar Street
Orlando. Florida 32804
(407)244-3000

Attomey for Plaintiff

 

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 111 of 137 Page|D 116

lN THE ClRCUlT COURT OF THE ElGHTEEN'I`H JUDICIAL
ClRCUlT lN AND FOR SEMINOLE COUNTY, FLORIDA

KAREN D. GEHL,
l’laintii`f,
-vs- CASE NO.
BRAND TRUCKlNG, LTD., a For Proi`tt

Business Corporation, and
WARRF,N W. LYMAN, individually,

l)cfendants.
/

NOT|CE OF SERVlCE OF INTERROGATORIES TO DEFENDANT
BRAND TRUCK|NG LTD.

 

NOTlCE lS HERIZBY GlVlZN that the original Intcrrogatories to Defendant, propounded

by Plaintiff to BRAND TRUCK[NG. LTD., were served upon Defendant by service of process, to

be answered under oath, in writing. and within forty-five (45) days from service hereof, in
accordance with Rule 1.340, Florida Rulcs of Civil Proccdure.

Dated: April 19, 2012.

DELLECKER WlLSON KING McKENNA
RUFFIER & SOS
Limited Liability l’artncrsl\ip

BY:

W. Doug Martin

Florida Bar No. 0024248
719 Vassar Street
Orlando, Florida 32804
407/244-3000

Attomey for Plaintifl`

 

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 112 of 137 Page|D 117

IN THE CIRCUIT COURT OF THE EIGHTEEN'I`H JUDICIAL
CIRCUIT lN AND I"OR SEMINOLE COUNTY, FLORIDA

KAREN t). GEHL,
t»tainnrr,
_vs_ cAsE No.
BRAND TRUCKING, LTD., a For Prom

Business Corporation, and
\VARRF,N W. LYMAN, indivitlunlly,

Defendants.
/

Nortctz oF sEthcE or tNthRRocAToRlF.s 'ro DEFENDANT
WABR_IWLVM

 

NO'I`|CE IS HEREBY GIVBN that the original lntcrrogatories to Defendant, propounded
by Plainti|`f to WARREN W. LYMAN were served upon Defendant by service of process, to be
answered under oath, in writing, and within forty-five (45) days from service heneof, in accordance
with Rule 1.340. Florida Rules of Civil Proccdure.

Dated: Apn'l l9, 2012.

DELLECKER WlLSON KING McKF,NNA
RUFF|ER & SOS
Limited Liability Partnership

52_

BY:
W. Doug Martin
Florida Bar No. 0024248
719 Vassar Street
Or\ando, Florida 32804
407/244»3000
Attomey for Plaintiff

 

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 113 of 137 Page|D 118

IN THE CIRCUI'I` COURT OF THE EIGH'I`EEN'I`H JUDICIAL
CIRCUIT IN AND FOR SEMlNOLE COUNTY, FLOR|DA

CASE NO
KAREN D. GEHL,
Plaintiff,
.vs-

BRAND TRUCKING, LTD., a For Prol`tt
Business Corporation, and
WARREN W. LYMAN, individually,

Defendants.
/

SUMMONS
Tl-lE S'I`ATE OF FLORlD/\:
To Each Sheriff of the State:

YOU ARE l~lEREBY COMMANDF.D to serve this Summons and a copy of the Complaint,
Requesrf¢)r Admissions. Imerrogarories and Request la Proc!uce in this action on Defendant

Brand Trucking LTD
c/o Registered Agent
BRUCE BRAND

5617 19TH AVE N
FARGO, ND 58102-6918

Liaeh Defendant is hereby required to serve written defenses to the Complaint on W. Doug
Martin. Florida Bar Number 0024248, the Plaintifl's attomey, whose address is 719 Vassar Strect,
Orlantlo, Florida 32804 (407) 244-3000 within twenty (20) days aller service of this Summons on
that Defendant, exclusive of the date of scrvicc, and to file the original of the defenses with the
Clerk of this Court either before service on I’laintift‘s attomcy or immediately tltereatter. lf a
Defendant fails to do so, a default will be entered against that Defendant for the relief demanded in
the Complaint or Pctition.

IF YOU ARE A PERSON WlTH A DlSAB|Ll‘l`Y WHO NEEDS
ACCOMODATION lN ORDER TO PARTICIPATE lN TlllS PROCEEDlNG, YOU ARE
ENTITLED, AT NO COST TO YOU, TO TllE PROVIS[ON OF CERTA|N ASSISTANCE.
PI.EASF, CONTACT COURT ADMINISTRATION:

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 114 of 137 Page|D 119

COURT ADMIN|STRAT!ON AT THE SEMlNOLE CIVIL COURTHOUSE, 301 N. PARK
AVENUE, SUlTE 301, SANFORD, FL 32771-1292, (407)655-4227 WI'I`HIN 2 WORKING
DAYS OF YOUR RECEIPT OF THlS NOTlCE. lF YOU ARE HEARlNG OR VOICE
IMPAIRED, CALL 1-800-955-8771 or 711.

 

DATED on this day of April, 2012.
CLERK OF THE COURT
BY:
As Dcputy Clerk
(COURT SEAL)

DELLECKER WlLSON KING McKENNA
RUFFIER & SOS, A Limited Liability Partnership
W. Doug Martin

Florida Bar No. 0024248

Robert H. Dellecker

Florida Bar No. 03 79581

719 Vassar Street

Orlando. Florida 32804

407/244~3000

Attomeys for Plaintiff

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 115 of 137 Page|D 120

lN 'I`HE ClRCUlT COURT OF THE EIGHTEENTH JUDICIAL
CIRCUIT lN AND FOR SEMINOLE COUNTY, FLORIDA

KAREN D. GEHL,
Plaintiff,
-vs- CASE NO.

BRAND TRUCKING, LTD., a For Profit
Business Corporation, and
WARREN W. LYMAN, individually,

Dcfendants.
/

S U M M O N S
PERSONAL SERV|CE ON AN lNDIVlDUAL

To Each Sheriff of the State:

YOU ARE I~IEREBY COMMANDED to serve this Summons and a copy of the Complaint
or Petition in this action on Defendant:

Warren W. Lyman
14355 27'*' street sE
Ayr, Nl) 58007-9705

W_PQBI;A_NI

A lawsuit has been filed against you. You have twenty (20) calendar days after this
Summons is served on you to file a written response to the attached Complaint with the Clerk of this
Coun. A phone call will not protect you. Your written response, including the case number given
above and the names of the partics, must be filed if you want the Court to hear your side of the case.
If you do not file your response on time, you may lose the case. and your wages, money and
property may thereafter be taken without further waming from the Court. There are other legal
requirements You may want to call an attomey right away. If you do not know an attomey, you
may call an attorney referral service or a legal aid office (listed in the phone book).

1f you choose to file a written response yourself at the same time you file your written

response to the Court, you must also mail or take a copy of your written response to the
"Plaintiff/Plaintiff‘s Attomey" named below.

IMPORTANTE

Usted ha sido demandado legalmente. 'I`iene 20 dias, contados a partir del recibo de esta
notifieacion, para contestar la demanda adjunta, per escrito. y presentarla ante este tribunal. Una
llamada tclefonica no lo protcgcra. Si usted desea que el tribunal eonsidere su dcfensa, debe

presentar su respuesta por escrito, incluyendo el numero del easo y los nombrcs dc las partes
’895

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 116 of 137 Page|D 121

interesadas. Si usted no contesta 1a demanda a tiempo, pudicse perder el caso y podria ser
despojado de sus ingresos y propiedades, o privado de sus derechos, sin previo aviso del tribunal.
Existen otros requisitos legales. Si lo desea, puede usted consultar a un abogado inmediatamente.
Si no eonoce a un abogado, puede llamar a una de las oftcinas de asistencia legal que aparecen en la
guia telcfonica.

Si desca responder a la demanda por su cuenta, al mismo tiempo en que presenta su
respuesta ante el tribunal, debera usted enviar por correo 0 entregar una copia dc su respuesta a la
persona denominada abajo como "I’laintiff/Plaintiff‘s Attomey." (Demandantc o Abogado del
Demandanle).

En acuerdo con la ley relacionada con los americanos ineapacitados (Americans with
Disabilities Act), personas impedidas que nccesiten scrvicios cspcciales para participar en este
proceso debcn ponerse cn eontacto con la administracion del tribunal (Court Administration) al
siguientc tcléfono a mas tardar (2) dos dias antes del proccso, Orangc County 407-836-2303,
Seminole County 321-633-2171, Osccola County 407-343-2421. Los impedidos dc audicion (TDD
(800) 955-8771, o de voz (V) (800) 955-8771. y via Florida Relay Servicc.

lMPORTANT

Des poursuites judiciarcs ont cte cntreprises centre vous. Vous avcz 20 jours consecutifs a
partir de la date de l'assignation de cette citation pour deposer une response ecrite a la plainte ci~
jointe aupres de ce tribunal. Un simple coup dc telephone est insuffisant pour vous proteger. Vous
etes obliges de deposer votre reponse ecrite, avce mention du numcro de dossier ci-dessus et du
nom des partias nommecs ici, si vous souhaitcz que le tribunal entcnde votrc eause. Si vous ne
deposez pas votre reponse ecrite dans le relai requis, vous risqucz de perdne la cause ainsi que votre
salaire, votre argcnt, et vos bicns pcuvcnt ctrc saisis par la suitc, sans aucun preavis ulterieur du
tribunal. ll y a d'autres obligations juridiques et vous pouvez requerir les services immediate d'un
avocat. Si vous nc connaisscz pas d'avocat, vous pourriez telephoner a un service de reference
d'avoeats ou a un bureau d'assistauicejuridique (I`lgurant a l'annuaire de telephones).

Si vous ehoisissez de deposer voLB-mcme une reponse ecritc, il vous faudra egalement, en
memc temps que cette formalite. faire parvenir ou expedier une copic de votre reponse ecrite au
"PlaintiIT/Plaintiff‘s Attomcy" (Plaignant ou a son avocat) nomine ci~dcssous.

En accord avec la loi conccmant les americans invalides (Americans with Disabilities Aet),
les personnes invalides ayant besoin de services spéciaux pour participer a ce proeés doivent
eommuniquer. par téléphone, avcc l‘administration juridique (Court Administration), Orange
County 407-836.2303, Seminole County 321-633-2171, Osceola County 407-742-2421, au moins
(2) deux jours avant le procés. Toute personnc ayant des difficultés z`t entendte (TDD doit composer
(800) 955»8771 ou (V) (800) 955~8771 via Florida Relay Scrvice.

AMERICAN DlSABlLlTlES ACT OF 1990
Administrativc Order No. 10-18

lt` you are a person with a disability who needs any accommodation in order to partic|patc ln
this proceeding, you are cntitled, at no cost to you, to the provision of certain assistance.
Please contact the ADA Cnordinntor, Court Administrntion, 301 North Park Avenue,
Sant`ord, FL 32771, telephone number (407) 665-4227 at least 7 days before your scheduled

7895

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 117 of 137 Page|D 122

court appearancc, or immediately upon receiving this notification if the time before the
scheduled appearance is less titan 7 days; if you are hearing impaired, call 711.

Dated this day of April, 2012.

CLERK OF 'I`I-lE COURT

BY:
As Dcputy Clerk

 

(COURT SEAL)

W. Doug Martin

Florida Bar Number 0024248
DELLECKER WlLSON KING
McKENNA RUFFIER & SOS
A Limited Liability Partnership
719 Vassar Street

Orlando, Florida 32804

(407) 244-3000

Attomey for l’laintit`f

7895

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12:7 Page 118 of 137. Page|D 123

IN 'I'HE ClRCUfl` COURT OF THE EIGHTEENTH JUDlCIAL
CIRCUI'I` IN AND FOR SEMINOLE COUNTY, FLORIDA

KAREN D. GEHL,

Plaintiff,
-vs- CASE NO. lZ-CA-2139-08-L
BRAND TRUCKI'NG, LTD., a For Proftt

Business Corporation, and § ;;;
WARR.EN W. LVMAN. individually

Dcfendants.

_ \ ,\F\.l; 114 ~_`
v't..‘.?, ~'.

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Mo'rtoN FoR DEFAULT §§ ‘-'-j
Plaintiff moves for entry of a default by the clerk against Defendant BRAND TRUCKING,

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tenoo umwa '.\):~_z.-‘ r
stages

LTD, for failure to serve any paper on the undersigned or tile any paper as required by law.

l l-IEREB¥ CERTIFY that a copy hereof has been furnished by U. S. Mail this 2___9"' day of
May, 2012 to: Brand Trucking LTD c/o Registered Agent, BRUCE BRAND, 5617 19TH AVE
N FARGO ND 58102-6918 and Warren W. Lyman, 1435$27"‘Saeet813, Ayr, ND 58007~9705.

DELLECKER WlLSON KING MeKENNA
RUFFIER & SOS
A Limited Liability Pannership

BY;%,Q/”

W. Doug Martin

Florida Bar # 0024248
719 Vassar Street
Orlando, l-`I.. 32804-4920
(407) 244-3000
Attomeys for Plaintiff

 

Case 6 12 cv~01869 GAP DAB Document 1-1 Filed 12/14/12 Page 119 of 137 Page|D 124

[N THE CIRCUIT COURT OF THE EIGHTEENTH JUDICIAL
CIRCUIT IN AND FOR SEMINOLE COUNTY, FLORIDA Q-.,
KAREN D. GEHL

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w ;i=,+,a
§ c ..C¢-'"¢"r.»'.r
Plaintifr, ?:; "~ .L:;~£ ‘.
3 .~_. <" ,g
.vs. cAsI-: No 12 c¢§is¢).es-L,,
o 9
BRAND TRUCKING, LTD., a ror Prom
Business Corporation, and
WARREN W. LYMAN, individually

Defendants.

/

 

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A default is entered in this action against the Defendant Brand Trucking, Ltd., named in

the foregoing motion for failure to serve or file any paper as required by law
DATi-:D this ?>O*l'\ day of

 

mw ,2012.
MARYANNE MoRS,=_
k N 0 G`…O \ al Summo_nj. Clerk Offhe Cifclli[ COUI'i
n
\N\+V\ P;i“(iia»t+ 0+ gewth
mm met

-f'O CDL,\.Y-l-' ‘(:i i&

By

 

As Deputy Clerk

I l-IEREBY CERTIFY that a copy hereof has been h.imished by U. S. Mail thi
ol` May, 2012 to: W. Doug Manin, Esq. (Attorr\ey for Plaintil`t) Dellecker Wilson King Mc erma

.S §§ l l y
Rufiier & Sos, 719 Vassar Street, Orlando, FL 32804; and Brand Trucking LTD c/o ch,istcrcd
Agent, BRUCE BRAND. 5617 19TH AV]:`, N. FARGO ND 58102 6918

(/1~@&,0. §(\j@l@i@

\Case 6:12-cv-01869-GAP-DAB Do_Cument 1-17 Filed 12/14/12 Page 120 of 137 Page|D 125

lN Tl-IE ClRCUlT COUR'I` OFTHE ElG\'iTEENTH JUl)iCIAL
CIRCUlT lN AND FOR SEM|NOLE COUNTY, FLORIDA

CASE NO. lZ-CA~ZI$‘)-US-L

KAni-:N 1). GEHL, §§ § j_,_`¢_._
§ "; 53 ‘f:".
l’liiintil`l`. .(°E"_.l ;> ._-?-'j_;',"._
vs in o :ér'i;"_
‘ “"’ `-‘~.z:i
8 § Q§B,r§
BRAND 'rnuci<ii\'c, LTi)., a Fm~ mm pg ;_ ‘_-;-j>'.~"’
Business Corporzitinn, and _O co L`-"

\\’ARREN W. LYMAN, individ\inlly,

Defendnnts.
l

NOTlCE. OF F|LINC AFF|DAV|T

 

'lhc Plaintifl', K.AREN D. GEHL, by and through thc undersigned attomey hereby notifies

the Court and all interested parties ol' llic filing of the original /Wldai'r’r ofSe)'i'ice dated May l.
2012.

Date: May l4. 2012.

DELLECKER WlLSON KlNG
McKENNA RUFF|ER & SOS
A Limited Liability l’artnersliip

BY: IZ‘/"

\V. Doug Martin

Florida Bar No. 0024248
719 Vassar Street
Orlnnclo. Florida 32804
407-244~3000

Attomey |`or PlnintifT

Case ,6:12-Cv-01869-('3AP-DAB Document 1-_1 Filed 12/14/12 Page 121 01_137 Page|D 126 .

IN THE ClRCUlT COURT OF THE ElGHTEENTH JUDICIAL
CIRCUI'T IN AND FOR SEMINOLE COUNTY, FLORIDA

CASENO /£ mg/WW¢`

KAREN l). GEHL,
Piatnttrr. $,<_¢'» 3 . _
‘Z= § FJ_=Z-
4 ."., 1a
°vs' 0 ,' ~ :,`:.
5 g -:-;‘z;
BRAND TRUCK\NG, L'rt)., a For Pront 3 § ;'{'_
Business Corporatinn, and § _-__- . ‘<'~'.;Z‘
o ~ ; ;.-"'
b ,‘-3 ,l_~'r‘r’-

WARREN W. LYMAN, individually,

 

Defendants.
/
SUMMONS
'l`l-lE S'I`ATE OF FbORlDA'.

To Eacli Sheriffnl` the State:
YOU ARE. HEREBY COMMANDED to serve this Summons and a copy of the Complaint,
Reques/ for Admissi`ons, Imer)'ogalorie.i' and Requesl to I’roduce in this action on Defendant

Brand Trucking LTD
c/o Reglstered Agent

BRUCE BRAND

5617 19TH AVE N

FARGO, ND 58102-6918

E,ach Defendant is hereby required to serve written defenses to the Complaint on W. Doug

Martin. Florida Bar Number 0024248. the Plaintiffs attomey, whose address is 719 Vassar Street,
Orlnndo, Florida 32804 (407) 244-3000 within twenty (20) days after service of this Summons on
that Defendant, exclusive of the date of service, and to tile the original of the defenses with the
Clerk of this Court either before service on Plaintil`f‘s attorney or immediately thereal`ter. if a
Defendant fails to do so, a default will be entered against that Defendant for the relief demanded in

the Complaint or Petition.
WlTH A DlSABILITY WHO NEEDS

IF YOU ARE A PERSON
ACCOMODAT[ON lN ORDER TO PARTICIPATE lN 'l`HlS PROCEED!NG, YOU ARE
ENTITLED, AT NO COST TO YOU, TO THE PROVIS|ON OF CERTAIN ASS!STANCE.

PLEASE CON'I`AC`T COURT ADMINISTRATION:

JlC..¢i

CaSe 6;12?cv-01869-GAP-DAB -Document 1-1 Filed 12/14/12 .Page 122 of 1317 Page|D 127

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v ' /‘6~04`¢" d§;>'
ab Z>.
”Q~
coURT ADMINISTRATloN A'r THE sEMlNoLE cler couRTHOUsE, 301 N. P
AvENUE, SUlTE 301, sANFoR\), FL 32771-1292, (407)655
DAVS or YOUR RECEIPT oF THls No
IMPAIRED, CALL 1-8£§',955=8:1~74- 1. di --.
¢A"), ,\`n \~~.‘,: v’~
DATED on this.z§ H§oprdl, 2012. "\ `v gag a)’- ` '
\\._.-"""» .'¢~ "s
MAR¥ANNE MoRs€. th-:RK t»°..' ?»§'j..g_, .,"
CLERK oF Tth couR'r `

 

 

As Dcputy Clerk

(COURT SEAL)

DELLECKER WlLSON KINC McKENNA
RUFF[ER & SOS, A Limited Liability Partnership
W. Doug Martin

Florida Bar No. 0024248

Robert H. Dellecker

Florida Bar No. 0379581

719 Vassar Street

Orlando, Florida 32804

407/244-3000

Attomeys for Plai ntiff'

` Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 123 of 137 Page|D 128

IN 'I`HE ClRCUlT COURT OF 'I`IIE ElGl‘l'l`EEN'I`i~l JUDlClAL
ClRCUlT lN AND l"OR SEM|NOLE COUNTY, I~`LORlDA

CASE NO. lZ-CA-2139-08-L
KAREN D. GEHL,
Plaintiff,
vs.

BRAND TRUCK!NG, LTD.. a For Profit
Business Corporntion, and
WARREN W. LYMAN, individually,

Dcl`endants.
/

NOTlCE OF FILING AFFlDAVIT
The l’laintiiT, KAREN D. GEHL, by and through thc undersigned attorney hereby notifies
the Court and all interested parties ol` the filing ol` the original zwidaw°l ofService dated May 9,
2012.
Date: May l7. 2012.

DELLECKER WlLSON KlNG
MeKENNA RUFF|ER & SOS
A Limited Liability Partncrship

W. Doug Martin

Florida Bar No. 0024248
719 Vassar Street
Orlando. Florida 32804
407-244-3000

Attomey for l’laintii`l`

 

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 124 of 137 Page|D 129
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029 .

lN THE CIRCUIT COURT OF 'l`lll'§ ElGllTEENTH JU[)|C|AL
ClRCUlT IN AND FOR SEMINOLE COUNTY, FL()R")A

KAREN l). GEHL,
l’laintil`l` .
-vs- ' CASE No. /c;?€%“ 017/36 `&e<'

BRAND 'l`RUCKlNG, L'l'l)., a l"nr l’rol'lt
Business Corporatinu, and
WARREN W. LYMAN, individually,
Defendants.
/

 

PERSONAL SERVlCE ()N AN lNI)lVIDUAL

'l`o liach Sheril`l` ol`tl\e State:

YOU ARE HEREBY COMMANDED to serve this Summons and a copy ol`the Complaint
or Petition in this action on Defendant:
VOU MUST FI.LE TllE ORIGINAL

Warren W. Lyman l’.l-`.SI’ONSE WlTH THE CLERK
14355 27"' stroo¢ ss room 401 N somtooto county courtroom
)`yrg Nl) 58007'9705 hr

l’.O. Box 8099
lMI’OR'l`ANT Sanford, FL 82772~8099

A lawsuit has been lilcd against you. You have twenty (20) calendar days al`ter this
Summons is served on you to tile a written response to the attached Complaint with the Clerk ol` this
Court. A phone call will not protect you. Your written response, including the case number given
above and tl\e names ol`the parties, must be liled il` you want the Court to hear your side ol` the ease.
ll` you do not li|e your response on time. you may lose the case. and your wages, money and
property may thereafter be taken without further warning from the Court. There are other legal
requirements ¥ou may want to call an attorney right away. ll` you do not know an attomey, you
may call an attomey referral service or a legal aid ol`l`tee (listed in the phone book).

ll` you choose to lile a written response yourself at the same time you tile your written
response to the Court. you must also mail or take a copy ol` your written response to the
"I’laintil`l`/l’laintil`l‘s Attomey" named bclow.

IM l’()R'l`/\N'l`l‘]

Ustcd ha sido demandado legalmente. '|`iene 20 dias, contados a partir del recibo dc estu
notilicacion. para contestar la demanda adjunta. por escrito. y presentarla ante este tribunal. Una
llamadu telefonica no lo protegera. Si usted desca que el tribunal considere su dcl`cnsa, debc
presentar su respuesta por cscrito. incluycndo el numero del caso y los nombres de las partes

'P‘o‘-

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Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 126 of 137 Page|D 131
t ‘ - ;

interesadas. Si usted no contesta la demanda a tiempo, pudiase perder el case y podria ser
despojado de sus ingresos y propiedades, o privado de sus derechos, sin previo aviso del tribunal.
Existcn otros requisites legales. Si lo desea, puede usted consultar a un abogado lnrnediatamente.
Si no conoce a un abogado, puede llamar a una dc las olicinas de asistencia legal que aparecen en la
guia telel`onica.

Si desca responder a la demanda por su cucnta, al mismo tiempo en que presenta su
respuesta ante el tribunal, debera usted enviar por eorreo o entregar tma copia de su respuesta a la
persona denominada abajo como ”Plaintiff/Plaintil'i's Attomey." (Demandante o Abogado del
Demandante).

En acuerdo con la ley relacionada con los americanos incapacitados (Americans with
Disabilities Act), personas impedidas que nccesiten servicios especiales para participar en este
proceso dcbcn ponerse en contacto con la administracion del tribunal (Court Administmtion) al
siguientc telél`ono a mv tardar (2) des dias ames del proceso, Orange County 407-836-2303,
Seminole County 321-633-2171, Osceola County 407-343-242\. Los impedidos de audicion (TDD
(800) 955-8771, o de voz (V) (800) 955-8771, y via Florida Relay Service.

l PORT N'l`

Des poursuites judiciares ont ete entreprises contra vous. Vous avez 20 jours consecutifs a
partit- de la date de l'assignation de cette citation pour deposer une response ecn‘te a la plainte ci-
jointe aupres de ce tribunal. Un simple coup de telephone est insul'iisant pour vous proteger. Vous
etes obliges de deposer votrc reponse ecritc, avec mention du numcro de dossicr ci'dessus et du
nom des partias nommees ici, si vous souhaita que le tribunal entende votre eause. Si vous ne
deposez pas votne reponse ecrite dans le relai requis, vous risquez de perdre la cause ainsi que votre
salaire, votre argent, ct vos biens peuvent etre saisls par la suite, sans aucun preavis ulterieur du
tribunal. ll y a d'autres obligations juriditu et vous pouvez requerir las services immediats d‘un
avocat. Si vous ne connaissez pas d'avocat, vous pourria telephoner a un service de reference
d'avocats ou a un bureau d'assistancejuridique (iigurant a l'annuaire de telephones).

Si vous choisissez de deposer vous~meme une reponse ecrite, ll vous faudra egalement, en
memc temps que eettc formalitc, l`aire parvenir ou expedier unc copie de votne reponse ccrite au
"Plaintih`/Plaintifl‘s Attomey" (Plaignant ou a son avocat) nomrne ci-dessous.

En accord avec la loi concemant les americans invalides (Americans with Disabilities Act),
les personnes invalides ayant heroin de services speciaux pour participer a ce pieces doivent
communiqucr, par telephonc, avcc l'administration juridique (Court Administration), Orange
County 407-836'2303, Seminole County 321-633-2|71, Osccola County 407-742-2421, au mains
(2) deuxjours avant le pmeés. Toute personne ayant des difficultés a entendrc (TDD doit composer
(800) 955-8771 ou (V) (800) 955-877| via Florida Relay Service.

AMER|CAN DlSABlLITlES ACT OF 1990
Administrativc Order No. 10-18

if you are a person with a disability who needs any accommodation in order to participate in
this proceeding, you are cntitlcd, at no cost to you, to the provision of certain assistaan
Please contact the ADA Coordinator, Court Administration, 301 North Park Avenue,
Sanfnrd, FL 32771, telephone number (407) 665-4227 at least 7 days before your scheduled

789.'>

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 127 of 137 Page|D 132

court appenranec, or immediately upon receiving this notification ll` the time before the
scheduled appearance is less than 7 days; if you nrc hearing impaircd, call 711.

5“’/
Doredthis' _day oprril 2012 MAHYANNE monst~:, cLERK

CLERK OF 'I`HE COURT

YAs Dcputy Clerk

 

(COURT SEAL)

W. Doug Martin

Florida Bar Nutnber 0024248
DELLECKER WlLSON KlNG
MeKENNA RUFF|ER & SOS
A Limited Liability Pnrtncrsllip
719 Vassar Street

Orlnndo, Florida 32804

(407) 244-3000

Attomey for Plaintil`l`

7895

Case 6:12-cv-01869-GAP-DAB Document 1-1 Filed 12/14/12 Page 128 of 137 Page|D 133

IN THE CIRCUIT COURT OF THE EIGH'I'EENT|~I JUDICIAL
CIRCUIT l.'N AND FOR SEM]NOLE COUNT¥, FLORIDA

 

KAREN D.GEHL
Prointifr,
-vo- case No. rz_.cA~2139-qs.r.
gfl.' '\.\‘I.t(. ' .
BRAND muct<mo, LTD., or=orPront - § '~.§‘~'~
Business Corporation, and "* z;.§-§!:.
wARREN w. LYMAN, individually ‘é>’ § §
. n
Defendants. 8 § :¢
/ § __ 8 mci
g s §

MQT]ON FQR DEFAULT
Plaintif’l` moves for entry of a default by the clerk against Defendant Warren W. Lyman,

individually, for failure to serve any paper on thc undersigned or file any paper as required by law.

l HBREBY CERTIFY that a copy hereof has been furnished by U. S. Mail this L"_ day of
May, 2012 to: Brand Trucking LTD, c/o Registered Agent, BRUCE BRAND, 5617 19TH AVE
N, FARGO, ND 58102-6918 and Warren W. Lyman, 14355 27°' Street SE, Ayr, ND 58007-9705.

DELLECKER WlLSON KING McKENNA
RUFFIER & SOS
A Limited Liability Partnership

BY:/Z»

W. Doug Martin

Florida Bar # 0024248
719 Vassar Street
Orlando, PL 32804-4920
(407) 244-3000
Attomeys for Plaintif’f

 

Case 6:12-cv-01369-GAP-DAB Document 1-1 Filed 12/14/12 Page 129 of 137 Page|D 134

lN Tl~IE CIRCUI'I` COURT OF THE ElGl-iTEENTH JUDICIAL
ClRCUlT IN AND FOR SEMINOLE COUNTY, FLORIDA

KAREN D. GEl~lL
Plainlil`f,
-vs- CASE NO. l2-CA-2139-08-L
BRAND TRUCKING, LTD., a l"or Prol'il
Business Corporation, and

WARREN W. LYMAN, individually

Defendants.
/

DEFAULT
A default is entered in lhis action against the Defendant Warren W. Lyman, individually,

named in the foregoing motion for failure to serve or file any paper as required by law.

dayof MAY 31 2012

 

 

DATED this , .
MARYANNE MORSE
Clerk of the Circuit Court
By
As Dcputy Clerk
IHEREBY CERTIFY that a copy hereof has been furnished by U. S. Mail this day
of , 2012 to: W. Doug Martin, Esq. (Attorney for Plaintifl), Dellecker Wilson King

McKenna Ruflier & Sos, 719 Vassar Street, Orlando, FL 32804; and Warren W. Lyman, 14355

27"‘ saw 313 Ayr, Nl) 58007-<)705.
“~/l/l/l. j )A/W~SM

 

Case 6:12-cv-01369-GAP-DAB Document 1-1 Filed 12/14/12 Page 130 of 137 Page|D 135

IN THE ClRCUlT COURT OF THE EIGHTEEN'I'H JUDICIAL
CIRCUIT lN AND FOR SEMINOLE COUNTY, FLORIDA

 

KAR.EN D. GEHL
Plaintifi`,
.vs. cAsE No. tz§A-zlss.os§;a ,
’\ g V=‘~'Y.,§~,
BRAND TRUCKING,LTD.,aFor Proftt 'Z "'" 934:}
Business Corporation, and cea "' §é'r
WARRBN W. LYMAN, individually 8 § -»\z)`»_-‘_
-' r'
Defendants. g ci §§
l g 1~>

M.Qll£g_l_\£l?_lllu.l»l
Plaintiff moves for entry ofa default by the clerk against Defendant BRAND TRUCKING,
LTD, for failure to serve any paper on the undersigned or file any paper as required by law.

I HEREBY CERTIFY that a copy hereof has been furnished by U. S. Mail this _l_“_day of
Jmte, 2012 to: Brand Trucking LTD, c/o Registered Agent, BRUCE BRAND, 5617 19TH AVE
N, FARGO, ND 58102-6918 and Warren W. Lyman, 14355 27‘h Street SE, Ayr, ND 58007-9705.

DELLECKER WlLSON K.ING McKENNA
RUFFIER & SOS
A Limited Liability Partnership

BY: @`

W. Doug Martin

Florida Bar # 0024248
719 Vassar Street
Orlando, FL 32804-4920
(407) 244-3000
Attomeys for Plaintiff

Case 6:12-cv-01369-GAP-DAB Document 1-1 Filed 12/14/12 Page 131 of 137 Page|D 136

IN THE CIRCUI'I` COURT OI" THE ElGH'l`EEN'l`I~| JUDICIAL
CIRCUIT lN AND FOR SEMINOLE COUNTY, FLOR\DA

KAREN D. GEHL
Plaintif`i`,
-vs~ CASE NO. 12-CA-2139-08-I_,
BRAND TRUCK]NG, LTD., a For l’rol`lt
Business Corporation, and

WARREN W. LYMAN, individually

Defendants.
/

DEFAULT
A default is entered in this action against the Defendant Brand Trucking, Ltd., named in
the foregoing motion for failure to serve or file any paper as required by law.

DA'I`ED this l 5{‘ day of .lune, 2012.

Mm-'t mata mem
Clerk 01` the Circuit Coun

 

l HEREBV CER'I`IFY that a copy hereof has been furnished by U. S. Mail this l ~S'i"’ day
of June, 2012 to: W. Doug Martin, Esq. (Attomey for Plaintii`l), Dellecker Wilson King McKenna
Rui`fier & Sos, 719 Vassar Strect, Orlando, FL 32804; and Brand Trucking LTD, c/o chistcrcd
Agcnt, BRUCE BRAND, 5617 19TH AVE N, FARGO, ND 58102-6918.

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Case 6:12-cv-01369-GAP-DAB Document 1-1 Filed 12/14/12 Page 132 of 137 Page|D 137

IN THE CIRCUIT COURT OF THE

EIGHTEEN'I`H JUDICIAL CiRCUlT, IN AND FOR

SEMINOLE COUNTY, FLORIDA

KAREN D. GEHL,

VS.

Plaintiff,

BRAND TRUCK]NG, LTD.,
A For Profit Business Corporation, and
WARREN W. LYMAN, individually,

Defendants.
/

CASE NO: 12CA2]39-08G

DEFENDANT WARREN W. LYMAN’S
ANSWER AND AFFIRMATIVE DEFENSES
(EXEMPLAR FOR DEMONSTRA TION PURPOSES ONL Y)

Defendant WARREN W. LYMAN files this Answer to Plaintiff’s First Amended

Complaint and states:

1.

Defendant WARREN W. LYMAN admits that Plaintiff is seeking damages in

excess of 315,000 but denies that he is liable for or that Plaintiff is entitled to any such damages.

2.

3.

Without knowledge and therefore denied.
Without knowledge and therefore denied.
Without knowledge and therefore denied.
Without knowledge and therefore denicd.
Without knowledge and therefore denied.

Without knowledge and therefore denied.

Denied.

Without knowledge and therefore denied.

Ex ht'bt"l" `L}“ '

Case 6:12-cv-01369-GAP-DAB Document 1-1 Filed 12/14/12 Page 133 of 137 Page|D 133

10. Denied.

ll. Admitted that Defendant Warren W. Lyman operated a truck in Seminole County,
Florida on or about February 24, 2009. Otherwise, Defendant Warren W. Lyman denies the
remainder of the allegations in this paragraph and demands strict proof thereof.

12. Denied.

13. Denied.

COUNT l
CLAIM FOR NEGLIGENCE AGAINST DEFENDANT LYMAN

14. Defendant WARREN W. LYMAN restates his responses to paragraphs 1 through
13 above as if fully set forth herein.

15. Denied.

16. Denied.

COUNT ll
CLAIM FOR VlCARlOUS LIABILITY AGAlNS'l' DEFENDANT BRAND

17. Defendant WARREN W. L¥MAN restates his responses to paragraphs l through
13 above as if fully set forth herein.

18. Without knowledge and therefore denied.

19. Denied.

20. Without knowledge and therefore denied.

21. Denied.
COUNT 111
CLAIM FOR NEGLIGENCE AGAINST DEFENDANT BRAND
OWNERSIIIP OF 'I'RACTOR

22. Defendant WARREN W. LYMAN restates his responses to paragraphs l through

13 above as if fully set forth herein.

Case 6:12-cv-01369-GAP-DAB Document 1-1 Filed 12/14/12 Page 134 of 137 Page|D 139

13

Without knowledge and therefore denied.

.‘¢`>’

Denied.

25. Without knowledge and therefore denicd.

26. Denied.

COUNT IV
CIAIM FOR NEGLIGENT lllRING/RETENTION/ENTRUSTMENT AS TO
DEFENDANT BRAND

27. Defendant WARREN W. LYMAN restates his responses to paragraphs 1 through
13 above as if fully set forth herein.

28. Without knowledge and therefore denied.

29. Without knowledge and therefore denied.

30. Without knowledge and therefore denied.

31. Denied.

a. Denied.

b. Denied.

c. Denied.
32. Denied.

33. Denied.

34. Denied.
a. Denied.
b. Denied.
c. Denied.
d. Denied.
35. Denied.

Case 6:12-cv-01369-GAP-DAB Document 1-1 Filed 12/14/12 Page 135 of 137 Page|D 140

36. Denied.

Each and every remaining allegation of the Complaint not admitted herein is severally
denied.

DEFENSE_§ AND AFFIRMAT[YE DEFEN§ES

For its defenses and affirmative defenses, Defendant WARREN W. LYMAN would
show:

1. Plaintiff's Complaint fails to state a cause of action against WARREN W.
LYMAN,

2. At the time and place complained of, Plaintiff was guilty of negligence which was
the proximate and legal cause of any injuries claimed to have been sustained by Plaintiff; or,
plaintiff encountered a known danger and assumed the risk thereof, thus barring or reducing
proportionately all claims for damages against WARREN W. LYMAN,

3. At the time and place complained of, Plaintiff failed to use, or failed to properly
use, the available and operational seat belt and/or shoulder harness and other safety equipment in the
vehicle she was occupying; his failure to do so proximately caused or contributed to the injuries
complained of, thus barring or reducing proportionately all claims for damages against WARREN
W. LYMAN,

4. Any injuries or damages sustained by Plaintiff at the time and place alleged in the
Complaint were caused solely by the negligcnoe, fault, omissions or want of care on the part of a
person, persons, entity or entities for whose conduct WARREN W. LYMAN bears no
responsibility, and the provisions of Fla. Stnt. § 768.81 are applicable to any recovery by
Plaintiff against WARREN W. L¥MAN Said acts or omissions were the proximate cause of

Plaintiff’s alleged injuries and damages, thus barring or reducing proportionater all claims for

Case 6:12-cv-01369-GAP-DAB Document 1-1 Filed 12/14/12 Page 136 of 137 Page|D 141

damages against WARREN W. LYMAN, WARREN W. LYMAN reserves the right to amend
this affirmative defense prior to trial to identify other responsible parties or nonparties identified
through his discovery or investigation

5. The injuries and losses complained of by Plaintiff occurred either prior or
subsequent to the incident referred in the Complaint; alternatively, said injuries and losses are in
no way related to the incident referred to in the Complaint, thus barring or reducing
proportionately all claims for damages against WARREN W. LYMAN.

6. The injuries or damages complained of by Plaintiff do not meet the threshold
requirements of the "Florida Motor Vehicle No-l~’ault Law," Florida Statutes §§ 627.730 et. seq.

7. WARREN W. LYMAN is entitled to a set-off from any recovery against lt in the
amount of any settlement or other payment made to or on behalf of Plaintiff arising out of the
incident that is the subject of this lawsuit.

8. WARREN W. LYMAN is entitled to a set-off from any recovery against it to the
extent of any insurance payments paid or payable to or on behalf of Plaintiff, arising out of the
incident that is the subject of this lawsuit.

9. WARREN W. L¥MAN is entitled to a set-off from any recovery against it to the
extent of all collateral sources and all benefits received by or paid or payable on behalf of
Plaintiff, arising out of the incident which is the subject of this lawsuit.

10. Plaintiff failed to mitigate her damages, if any.

11. Plaintiff’s claims are barred in whole or in part by the terms of the Florida Motor

Vehicle No-Fault I_aw.

Case 6:12-cv-01369-GAP-DAB Document 1-1 Filed 12/14/12 Page 137 of 137 Page|D 142

12. lntervening or superseding acts occurred that were unforeseeable causes of the
injuries or damages alleged in the Complaint; such intervening or superseding causes bar or
reduce proportionately Plaintiff’s claim for damages.

13. WARREN W. LYMAN specifically reserves the right to amend and plead any
additional defenses and affirmative defenses that become known to it in the course of discovery.

DEMANR§QILHLBX_IEAL

WARREN W. LYMAN respectfully demands a trial by jury on all issues so triable as a
matter of right.

BW

l HEREBY CERTII"Y that a true and correct copy of the foregoing has been furnished by
U.S. mail to W. Doug Martin, Esq., and Robert H. Dellecker, Esq., Dellecker, Wilson, King,

McKenna, Ruflier, &. Sos, LLP, 719 Vassar Street, Orlando, Florida 32804 on this _ day of

, 2012.

 

Westley F. Lockwood, Esquire
Florida Bar No.: 0596213
BROMAGEN & RA'I'HET, P.A.
201 East Kennedy Boulevard
Suite 500

'I`ampa, Horida 33601-3390
'I`elephone: (813) 261-3870
Faesimile: (813) 261-3874

Attomeys for Defendant WARREN W. LYMAN

